      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 1 of 112




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
NATIONAL TREASURY                   )
EMPLOYEES UNION, et al.,            )
                                    )
                        Plaintiffs, )
                                    )
        v.                          )
                                    )                 Civil Action No. 25-0381 (ABJ)
RUSSELL VOUGHT                      )
in his official capacity as         )
Acting Director of the              )
Consumer Financial                  )
Protection Bureau, et al.,          )
                                    )
                        Defendants. )
____________________________________)


                                  MEMORANDUM OPINION

                                         “CFPB RIP”
                                  Elon Musk – February 7, 2025

     “The CFPB has been a woke and weaponized agency against disfavored industries and
                        individuals for a long time. This must end.”
                            Russell Vought – February 8, 2025

                         “That was a very important thing to get rid of.”
                          President Donald Trump – February 10, 2025

       The motion for preliminary injunction to be decided boils down to one question: should
the Court take action to preserve the the Consumer Financial Protection Bureau now, before the
case concerning its fate has been resolved? That is an extraordinary step, and before it can step in,
the Court must conclude that the plaintiffs are likely to succeed on their claims, that they would
suffer irreparable harm in the meantime if the Court lets the lawsuit run its course, and that an
injunction would be in the public interest.
      Case 1:25-cv-00381-ABJ            Document 87         Filed 03/28/25      Page 2 of 112




        The Court has made those findings, and the answer is an overwhelming yes: the Court can
and must act.
        The evidence presented in connection with the motion – the testimony of the agency’s
Chief Operating Officer and other witnesses, and the agency’s own documents, produced by both
sides – showed that Russell Vought, the Acting Director of the CFPB, ordered all employees to
stop work on February 10, 2025. As of that date, the defendants were fully engaged in a hurried
effort to dismantle and disable the agency entirely – firing all probationary and term-limited
employees without cause, cutting off funding, terminating contracts, closing all of the offices, and
implementing a reduction in force (“RIF”) that would cover everyone else. These actions were
taken in complete disregard for the decision Congress made 15 years ago, which was spurred by
the devastating financial crisis of 2008 and embodied in the United States Code, that the agency
must exist and that it must perform specific functions to protect the borrowing public. The
elimination of the agency was interrupted only because plaintiffs sought and obtained the Court’s
intervention on the day the overwhelming majority of the employees were going to be fired.
        That slowed, but did not deter, the defendants. The shut down activities continued for the
next two weeks, and it wasn’t until the Sunday afternoon before the Monday when the Court was
scheduled to hold a hearing that agency officials turned around and announced to the surprised
staff that they were supposed to have been performing their statutorily mandated duties all along.
        The testimony and the contemporaneous documents suggest that those last minute
communications were nothing more than window dressing, and that nothing has changed. The
defendants are still engaged in an effort to implement a Presidential plan to shut the agency down
entirely and to do it fast. Absent an injunction freezing the status quo – preserving the agency’s
data, its operational capacity, and its workforce – there is a substantial risk that the defendants will
complete the destruction of the agency completely in violation of law well before the Court can
rule on the merits, and it will be impossible to rebuild.
        It may be that defendants decided to authorize the resumption of some work and the
reactivation of some contracts in light of a belated, but genuine recognition that there were certain
duties that had to be performed to comply with the law while the agency was still open. The
material in the record and the chronology suggest, though, that the change of heart was more likely
a charade for the Court’s benefit. Either way, it’s purely temporary; the Court’s oversight is the
only thing holding the defendants back. If the Court denies the motion for interim relief, the RIF


                                                   2
      Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25      Page 3 of 112




notices that have already been prepared will go out before the ink is dry on the Court’s signature,
the employees will be back on administrative leave for just thirty days before they are gone, and
the defendants will pull the plug on the CFPB.
       This is precisely the sort of situation preliminary injunctions were designed to address. If
the defendants are not enjoined, they will eliminate the agency before the Court has the opportunity
to decide whether the law permits them to do it, and as the defendants’ own witness warned, the
harm will be irreparable.
                                         *       *       *

       On February 9, 2025, Plaintiffs National Treasury Employees Union (“NTEU”), National

Consumer Law Center (“NCLC”), National Association for the Advancement of Colored People

(“NAACP”), Virginia Poverty Law Center, Rev. Eva Steege, and the CFPB Employee Association

filed this action against the Acting Director of the CFPB, Russell Vought, and the CFPB itself.

See Compl. [Dkt. # 1]. Plaintiffs challenge decisions made and actions taken by the defendants to

carry out President Trump’s vow to have the Consumer Financial Protection Bureau (“CFPB”)

“totally eliminated.” See Am. Compl. ¶ 47, n.14, citing Joey Garrison (@joeygarrison), X (Feb.

10, 2025), https://x.com/joeygarrison/status/1889132023933022283?Mx=2.

       Pending before the Court is plaintiffs’ motion for a temporary restraining order, Pls.’ Mot.

for TRO [Dkt. # 10], which, with the parties’ consent, was deemed to be a motion for preliminary

injunction. See Order [Dkt. # 19]. This motion is fully briefed. Defs.’ Opp. to Pls.’ Mot. for

Prelim. Inj. [Dkt. # 31] (“Defs.’ Opp.”); Pls.’ Reply Mem. in Support of Pls.’ Mot. [Dkt. # 40]

(“Pls.’ Reply”). The Court has also had the benefit of briefs filed by three amici curiae:

twenty-two states and the District of Columbia, Br. of Amici Curiae States of N.Y., N.J., Ariz.,

Cal., Colo., Conn., Del., Haw., Ill., Me., Md., Mass., Mich., Minn., Nev., N.M., N.C., Or., R.I.,

Vt., Wash., Wis., and D.C. in support of Pls.’ Mot. for a Prelim. Inj. [Dkt. # 24] (“States’ Br.”);

non-profit Tzedek DC, Amicus Br. of Tzedek DC [Dkt. # 33]; and Br. of 203 Members of Congress


                                                 3
      Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25      Page 4 of 112




as Amici Curiae [Dkt. # 84] (“Members’ Br.”). For the reasons set out in detail below, plaintiff’s

motion will be granted, and the Court will enter an order to preserve the status quo while the case

moves forward on the merits.

                                  STATUTORY BACKGROUND

       The Consumer Financial Protection Bureau was created in response to a severe economic

crisis that gripped the nation. In 2008, “the subprime mortgage market collapsed, precipitating a

financial crisis that wiped out over $10 trillion in American household wealth and cost millions of

Americans their jobs, their retirements, and their homes. In the aftermath, . . . [t]hrough the

Treasury Department, the administration encouraged Congress to establish an agency with a

mandate to ensure that ‘consumer protection regulations’ in the financial sector ‘are written fairly

and enforced vigorously.’” Seila L. LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 205 (2020),

quoting Dept. of Treasury, Financial Regulatory Reform: A New Foundation 55 (2009). Congress

acted on these proposals, and as part of the Wall Street Reform and Consumer Protection Act,

commonly referred to as the Dodd-Frank Act, Pub. L. 111-203, 124 Stat. 1376 (July 21, 2010), it

established the CFPB to serve as “an independent financial regulator within the Federal Reserve

System.” Seila L., 591 U.S. at 206.

       The statute provides that the agency “shall regulate the offering and provision of consumer

financial products or services under the Federal consumer financial laws.” 12 U.S.C. §5491(a);

see generally, Title X, Dodd-Frank Act, also known as the Consumer Financial Protection Act of

2010, 12 U.S.C. § 5491 et. seq.

               Congress tasked the CFPB with “implement[ing]” and “enforc[ing]” a large
               body of financial consumer protection laws to “ensur[e] that all consumers
               have access to markets for consumer financial products and services and
               that markets for consumer financial products and services are fair,
               transparent, and competitive.” . . . Congress transferred the administration
               of 18 existing federal statutes to the CFPB, including the Fair Credit


                                                 4
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 5 of 112




               Reporting Act, the Fair Debt Collection Practices Act, and the Truth in
               Lending Act. . . . In addition, Congress enacted a new prohibition on “any
               unfair, deceptive, or abusive act or practice” by certain participants in the
               consumer-finance sector.

Seila L., at 206, citing 12 U.S.C. §§ 5511(a), 5481(12), (14); see also id. § 5581. 1

       As a result of the consolidation of functions accomplished by the statute, the CFPB is now

“the only federal agency authorized to supervise the nation’s largest banks for their compliance

with consumer financial protection laws. It also supervises nonbanks of all sizes in certain market

segments, like mortgage companies and payday lenders, as well as larger nonbank participants in

other consumer financial market segments, like credit reporting agencies, digital payment apps,

and debt collectors.” Members’ Br. at 13. “To date, the CFPB has returned more than $21 billion

improperly taken from at least 205 million consumers, in addition to at least $5 billion in civil

penalties made available to compensate consumers in cases where the business that took their

money is insolvent.” Id. at 12.

       The statute mandates that the CFPB maintain specific subject matter offices and units,

produce specific periodic reports, and provide testimony and reports to Congress.




1        See Members’ Br. at 2. “The CFPB was born out of the most severe economic and financial
crisis since the Great Depression. Congress thoroughly investigated the root causes of the 2008
crisis and determined that regulatory failures were largely to blame. Because responsibility for
consumer financial protection was dispersed across federal agencies, consumers were, at best, a
secondary consideration for regulators. After an exhaustive legislative process, Congress passed
the Dodd-Frank Wall Street Reform and Consumer Protection Act of 2010 . . .. One of the greatest
achievements of that bipartisan effort was to consolidate consumer financial protection in a single
agency, the CFPB, that would be a watchdog for consumers, armed with the legal authority
necessary to prevent another financial meltdown.” Id.

                                                  5
Case 1:25-cv-00381-ABJ         Document 87        Filed 03/28/25       Page 6 of 112




Required Offices and Positions

The CFPB is statutorily required to maintain:

      a Consumer Advisory Board to “advise and consult with the Bureau in the exercise
       of its functions . . . and to provide information on emerging practices in the
       consumer financial products or services industry,” 12 U.S.C. § 5494(a);

      a unit that has “a single, toll-free telephone number, a website, and a database” to
       centralize the collection and monitoring of and the responses to consumer
       complaints about consumer financial products or services, 12 U.S.C.
       § 5493(b)(3)(A);

      “a unit whose functions shall include providing information, guidance, and
       technical assistance regarding the offering and provision of consumer financial
       products or services to traditionally underserved consumers and communities,”
       12 U.S.C. § 5493(b)(2);

      “a unit whose functions shall include researching, analyzing, and reporting on” a
       number of specific issues, including “developments in markets for consumer
       financial products or services,” “areas of risk to consumers,” and “access to fair and
       affordable credit for traditionally underserved communities,” 12 U.S.C.
       § 5493(b)(1);

      “the Office of Fair Lending and Equal Opportunity” which “shall . . . provid[e]
       oversight and enforcement of Federal laws intended to ensure the fair, equitable,
       and nondiscriminatory access to credit for both individuals and communities that
       are enforced by the Bureau;” coordinate fair lending efforts with other agencies and
       regulators; and work with private industry, fair lending, civil rights, consumer and
       community advocates on the promotion of fair lending compliance and education,
       12 U.S.C. § 5493(c)(1);

      an “Office of Financial Education, which shall be responsible for developing and
       implementing initiatives intended to educate and empower consumers to make
       better informed financial decisions,” 12 U.S.C. § 5493(d);

      an “Office of Service Member Affairs, which shall be responsible for developing
       and implementing initiatives for service members and their families,”
       12 U.S.C. § 5493(e); and

      an “Office of Financial Protection for Older Americans . . . to facilitate the financial
       literacy of individuals” 62-years-old and older “on protection from unfair,
       deceptive, and abusive practices and on current and future financial choices,”
       12 U.S.C. § 5493(g)(1).




                                          6
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 7 of 112




       The statute also requires the CFPB to have “a Private Education Loan Ombudsman . . . to

provide timely assistance to borrowers of private education loans.” 12 U.S.C. § 5535(a). The

Ombudsman must “receive, review, and attempt to resolve informally complaints from borrowers

of loans . . . including, as appropriate attempt[ing] to resolve such complaints in collaboration with

the Department of Education and with institutions of higher education, lenders, guaranty agencies,

loan servicers, and other participants in private education loan programs.” Id. § 5535(c)(1).

       Required Research and Reports

       The statute requires the Bureau to produce research, reports, and information on specific

topics, including credit rates and credit cards, see 15 U.S.C. §§ 1646(a), (b); id. § 1632(d)(3);

market developments for consumer financial products or services and consumer access to those

products, 12 U.S.C. § 5493(b)(1); depository institutions and aggregate lending patterns, id.

§ 2809(a); and emerging risks to consumers, id. § 5512(c)(3). And it must make “[a]ll public data

assets published by the Bureau” publicly available and freely available for download. Id. § 5499.

       The CFPB Director and offices within the Bureau are also required to report to Congress.

See 12 U.S.C. § 5493(b)(3)(C) (requiring the Director to report annually to Congress on the

complaints received by the Bureau in the prior year regarding consumer financial products and

services, including information and analysis about complaint numbers, complaint types, and, as

applicable, information about resolution of complaints); id. § 5493(c)(2) (D) (requiring an annual

report from the Office of Fair Lending and Equal Opportunity); id. § 5493(d)(4) (requiring an

annual report from the Director on financial literacy activities and strategy to improve financial

literacy of consumers); id. § 5535(d) (requiring an annual report from the Private Education Loan

Ombudsman).      And the Director must report to the President and testify before Congress

semi-annually. Id. § 5496.



                                                  7
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 8 of 112




       Rulemaking, Enforcement, and Supervision

       In addition to these statutorily mandated activities, Congress gave the CFPB specific

rulemaking, enforcement, and supervisory authority. Congress granted the Bureau rulemaking

authority, see 12 U.S.C. § 5512, specifically permitting it to promulgate regulations that identify

“unfair, deceptive, or abusive” practices and establish disclosure requirements to aid consumers’

understanding of financial products and services. See id. § 5531(b); id. §§ 5532, 5533. Congress

also granted the Bureau enforcement authority, authorizing it to conduct investigations, hearings,

and adjudication proceedings, and to initiate civil litigation and refer criminal matters to the U.S.

Attorney General. Id. §§ 5561–67. And Congress granted the CFPB supervisory powers, id.

§§ 5514–16, authorizing it to examine and require periodic reports from financial institutions, id.

§§ 5514, 5515, including payday lenders, private education lenders, insured depository

institutions, and credit unions with more than $10 billion in assets. Id. § 5514(a)(1)(B), (D)–(E),

(b)(1); id. § 5515(b)(1).

       In addition, the Bureau is required by the statute to report on these authorized activities.

See, e.g., 12 U.S.C. § 5496(c) (requiring the Director’s semi-annual report to Congress to include

“(4) an analysis of complaints about consumer financial products or services that the Bureau has

received and collected in its central database on complaints during the preceding year; (5) a list,

with a brief statement of the issues, of the public supervisory and enforcement actions to which

the Bureau was a party during the preceding year; (6) the actions taken regarding rules, (7) ) an

assessment of significant actions by State attorneys general or State regulators relating to Federal

consumer financial law;” and “(8) an analysis of the efforts of the Bureau to fulfill the fair lending

mission of the Bureau”).




                                                  8
      Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25     Page 9 of 112




       The CFPB’s Funding

       The CFPB does not rely on annual appropriations for its funding. Seila L., 591 U.S. at 207.

Rather, it “receives funding directly from the Federal Reserve, which is itself funded outside the

appropriations process through bank assessments.” Id. at 207–08, citing 12 U.S.C. §§ 5497(a)(1),

(2)(A)(iii), 2(B) (“Each year, the CFPB requests an amount that the Director deems ‘reasonably

necessary to carry out’ the agency’s duties, and the Federal Reserve grants that request so long as

it does not exceed 12% of the total operating expenses of the Federal Reserve (inflation

adjusted).”). This arrangement was approved by the Supreme Court in CFPB v. Community

Financial Services Association of America, Ltd., 601 U.S. 416 (2024). 2

       The Bureau’s annual budget in recent years has exceeded 500 million dollars, Seila L.,

591 U.S. at 208, citing CFPB, Fiscal Year 2019: Ann. Performance Plan and Rep., p. 7, and in its

first five years alone, it “obtained over $11 billion in relief for over 25 million consumers,

including a $1 billion penalty against a single bank in 2018.” Id. at 206, citing CFPB, Financial

Report of the Consumer Financial Protection Bureau, Fiscal Year 2015, p. 3. The brief filed by

Members of Congress reports that the total is now more than $21 billion. Members’ Br. at 3, 12.

               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

Friday, January 31            President Trump fires CFPB Director Rohit Chopra. See Email
                              from CFPB Office of the Director (Feb. 3, 2025) [Dkt. # 23-1]
                              (“Feb. 3 Email”).




2      Given that circumstance, it is not clear that the February 26, 2025 guidance from Russell
Vought, in his capacity as Director of OMB (“tax dollars are being siphoned off to fund
unproductive and unnecessary programs that benefit radical interest groups while hurting
hard-working citizens”), has much bearing on the CFPB. See Mem. from Russell T. Vought,
Director, Off. of Mgmt. and Budget, and Charles Ezell, Acting Director, Off. of Pers. Mgmt., to
Heads of Exec. Dep’ts and Agencies (Feb. 26, 2025) [Dkt. # 70-2] at Page 1–7 of 7.


                                                9
    Case 1:25-cv-00381-ABJ   Document 87        Filed 03/28/25      Page 10 of 112




                       Effective date of appointment of Secretary of Treasury Scott
                       Bessent as CFPB Acting Director. See Feb 3 Email.

Monday, February 3     CFPB Office of the Director email to DL_CFPB_AllHands; DL_
                       CFPB_AllHands_Contractors

                              Subject: Instructions from Acting Director

                              Colleagues,

                              Secretary of the Treasury Bessent has been named
                              Acting Director of the CFPB, effective January 31,
                              2025. As Acting Director, Secretary Bessent is
                              committed to appropriately stewarding the agency
                              pending new leadership. In order to promote
                              consistency with the goals of the Administration,
                              effective immediately, unless expressly approved by
                              the Acting Director or required by law, all
                              employees, contractors, and other personnel of the
                              Bureau are directed:

                                 Not to approve or issue any proposed or final
                                  rules or formal or informal guidance.
                                 To suspend the effective dates of all final rules
                                  that have been issued or published but that have
                                  not yet become effective.
                                 Not to commence, take additional investigative
                                  activities related to, or settle enforcement
                                  actions.
                                 Not to issue public communications of any type,
                                  including publication of research papers.
                                 Not to approve or execute any material
                                  agreements, including related to employee
                                  matters or contractors.
                                 Not to make or approve filings or appearances by
                                  the Bureau in any litigation, other than to seek a
                                  pause in proceedings.

                              If you have any questions, please raise issues through
                              your existing management for consideration by the
                              Acting Director.

                              Thank you.

                       Feb. 3 Email.




                                        10
     Case 1:25-cv-00381-ABJ    Document 87       Filed 03/28/25      Page 11 of 112




Tuesday, February 4     Acting Director Bessent emails all CFPB staff and
                        contractors directing them “[n]ot to initiate supervisory
                        designation proceedings or designate any nondepository
                        institution for supervision.” Am. Compl. ¶ 37.

Thursday, February 6    Officials from the Department of Treasury notify CFPB officials in
                        the evening that two United States Department of Government
                        Efficiency (“DOGE”) Service officials would need access to
                        CFPB’s headquarters. First Decl. of Adam Martinez [Dkt. # 31-1]
                        (“First Martinez Decl.”) ¶ 6; Testimony of Adam Martinez, Tr. of
                        Evidentiary Hr’g (Mar. 10, 2025) [Dkt. # 73] (“Mar. 10 Tr.”) at 19.

                        Members of DOGE, including Christopher Young, enter CFPB
                        headquarters. Decl. of Daniel J. Kaspar, NTEU Director of Field
                        Operations [Dkt. # 14-1] (“Kaspar Decl.”) ¶ 6; Martinez Testimony,
                        Mar. 10 Tr. at 20.

Friday, February 7      CFPB management and DOGE personnel Christopher Young,
                        Jordan Wick, and Jeremy Lewin have a follow-up meeting. DOGE
                        representatives gain access to all non-classified CFPB systems.
                        Kaspar Decl. ¶ 6; First Martinez Decl. ¶ 7; Martinez Testimony,
                        Mar. 10 Tr. at 21.

                        Christopher Young of DOGE is officially detailed to CFPB.
                        Martinez Testimony, Mar. 10 Tr. at 21, 137–38. DOGE staff are
                        designated as senior advisors of CFPB. Martinez Testimony,
                        Mar. 10 Tr. at 144.

                        The “CFPB homepage at consumerfinance.gov – the launching pad
                        for most American consumers’ interactions with the CFPB – was
                        changed to a ‘404 - Site Not Found’ error message.” Third Decl. of
                        Erie Meyer, CFPB Chief Technologist [Dkt. # 38-9] ¶ 19.

                        Elon Musk posts “CFPB RIP,” accompanied by a tombstone emoji,
                        to his personal X account. Kaspar Decl. ¶ 6; Am. Compl. ¶ 39, citing
                        https://x.com/elonmusk/status/1887979940269666769.

                        CFPB General Counsel and Senior Advisor to the Director Seth
                        Frotman is terminated. Decl. of Seth Frotman [Dkt. # 38-13] ¶ 1;
                        see also Martinez Testimony, Mar. 10 Tr. at 125 (testifying that
                        Mark Paoletta joined the CFPB as Chief Legal Officer around this
                        date).

                        The President designates Director of the Office of Budget and
                        Management Russell Vought as Acting Director that evening. First
                        Martinez Decl. ¶¶ 9–10; Am. Compl. ¶ 38.



                                         11
    Case 1:25-cv-00381-ABJ   Document 87         Filed 03/28/25      Page 12 of 112




Saturday, February 8   8:50 a.m. Acting Director Vought sends email all CFPB employees.

                              From: Vought, Russell
                              To: _DL_CFPB_AllHands
                              Subject: Directives on Bureau Activities
                              Date: Saturday, February 8, 2025 8:50:28 PM

                              Dear Colleagues,

                              I am honored that President Trump designated me as
                              Acting Director of the Bureau on February 7, 2025.
                              As Acting Director, I am committed to implementing
                              the President’s policies, consistent with the law, and
                              acting as a faithful steward of the Bureau’s resources.
                              To that end, I am directing that, effective
                              immediately, unless expressly approved by the
                              Acting Director or required by law, all employees,
                              contractors, and other personnel of the Bureau shall:

                                 Not approve or issue any proposed or final rules
                                  or formal or informal guidance.
                                 Suspend the effective dates of all final rules that
                                  have been issued or published but that have not
                                  yet become effective.
                                 Not commence, take additional investigative
                                  activities related to, or settle enforcement
                                  actions.
                                 Not open any new investigation in any manner,
                                  and cease any pending investigations.
                                 Not issue public communications of any type,
                                  including publication of research papers and
                                  compliance bulletins.
                                 Not approve or execute any material agreements,
                                  including related to employee matters or
                                  contractors.
                                 Not make or approve filings or appearances by
                                  the Bureau in any litigation, other than to seek a
                                  pause in proceedings.
                                 Cease all supervision and examination activity.
                                 Cease all stakeholder engagement.

                              If you have any questions, please raise issues through
                              your existing management for consideration by the
                              Acting Director.

                              Thank you.


                                        12
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 13 of 112




                                      Russell T. Vought

                               See Email from Russell Vought (Feb. 8, 2025) [Dkt. # 23-2] (“Feb.
                               8 Email”).

                               Vought sends a letter to Federal Reserve Chair Jerome
                               Powell stating that the CFPB does not need funds for Third
                               Quarter FY 2025. Ex. G to First Martinez Decl. [Dkt.
                               # 31-1] at Page 22 of 22. 3

                               Vought posts on X: “The CFPB has been a woke &
                               weaponized agency against disfavored industries and
                               individuals for a long time. This must end.” See
                               @russvought, X (Feb. 8, 2025); Ex. F to Decl. of A. Roston
                               & A. Scible [Dkt. # 38-17] (“Roston/Scible Decl.”).

Sunday, February 9             Chief Operating Officer Adam Martinez emails all CFPB
                               employees and contractors.

                                      To: _DL_CFPB_AllHands
                                      Subject: Please Read: DC Headquarters Building
                                      Operating Status (2/10-2/14)
                                      Date: Sunday, February 9, 2025 1:39:00 PM

                                      (This message is for DC Headquarters Staff and
                                      Contractors)

                                      Dear Colleagues:

                                      The DC Headquarters Building will be closed this
                                      week (2/10-2/14). Employees and contractors are to
                                      work remotely unless instructed otherwise from our
                                      Acting Director or his designee.

                                      Thank you.
                                      Adam
                                      Adam Martinez
                                      Chief Operating Officer


3       Citations to filings with the court include the docket number of the filing, [Dkt. # __], pin
cites to page or paragraph numbers appearing in the original documents, and where available,
Bates numbers placed on a document by the parties at the bottom right corner. For filings
containing multiple documents in a single docket entry, the Court includes pin cites to the PDF
page numbers at the top right of the document placed on the filing by the court’s Electronic Case
Filing system: “at Page __ of __.”


                                                 13
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25       Page 14 of 112




                               Email from Adam Martinez (Feb. 9, 2025) [Dkt. # 23-3]
                               (“Feb. 9 Email”).

                               Plaintiffs file the instant lawsuit. Compl. [Dkt. # 1].

Monday, February 10            8:30 a.m. Vought sends email to all CFPB employees and
                               contractors.

                                      To: DL CFPB AllHands
                                      Subject: Additional Directives on Bureau Activities
                                      Date: Monday, February 10, 2025 8:30:43 AM

                                      Good morning, CFPB staff,

                                      As you have been informed by the Chief Operating
                                      Officer in an email yesterday, the Bureau’s DC
                                      headquarters building is closed this week.
                                      Employees should not come into the office. Please
                                      do not perform any work tasks. If there are any
                                      urgent matters, please alert me through Mark
                                      Paoletta, Chief Legal Officer, to get approval in
                                      writing before performing any work task. His email
                                      is [REDACTED]. Otherwise, employees should
                                      stand down from performing any work task. Thank
                                      you for your attention on this matter.

                                      Best,
                                      Russ Vought
                                      Acting Director
                                      Bureau of Consumer Financial Protection

                               Email of Feb. 10 [Dkt. # 23-4] (“Feb. 10 Email” or “stop work
                               email”). 4

                               Adam Martinez meets with the Office of Personnel Management
                               (“OPM”) regarding the mechanics for a Reduction in Force (“RIF”).
                               Martinez Testimony, Mar. 10 Tr. at 46, 126–27.


4       The exhibits introduced by the parties and counsel for both sides have referred to this email
as the “stop work” order or email, and the Court will refer to it in the same manner in this opinion.
See Pls.’ TRO Mem. [Dkt. # 14] at 12; Defs.’ Opp. at 34; Mar. 10 Tr. at 49, 56 (counsel for
defendants referring to Acting Director Vought’s “stop-work email” and “the stop-work order”);
Defs.’ Ex. 3 [Dkt. # 56-1] at page 5 of 116, CFPB_00005 (Chief Legal Officer Paoletta referring
to the email as “the stop work order”).


                                                 14
    Case 1:25-cv-00381-ABJ         Document 87        Filed 03/28/25     Page 15 of 112




                            8:45 a.m. In response to the stop work email, CFPB Chief
                            Information Officer Christopher Chilbert emails Adam Martinez to
                            clarify the level of support to be provided in light of the order.

                                   I want to clarify the level of support we should be
                                   providing based on this email. I think the minimum
                                   is:

                                       1) Onboarding new political leadership and
                                       providing them with necessary service desk
                                       support to them

                                       2) Performing security monitoring tasks for our
                                       networks

                                       3) Supporting US DOGE members with requests

                                       4) Perform any maintenance tasks needed to
                                       ensure that the HMDA application, Consumer
                                       Complaint Database operate, ServiceNow, and
                                       Microsoft365     platform  (email/SharePoint)
                                       continue to operate.

                                       5) Support any other requests from the Acting
                                       Director or new political leadership.

                                   I think this is the minimum, but I want to confirm
                                   before giving the team direction.

                            Defs.’ Ex. 1 [Dkt. # 56-1] at Pages 1–2 of 116, CFPB_00001–2. 5

                            8:54 a.m. Martinez responds to Chilbert and agrees: “That is all
                            correct. The USDS Team [also referred to as DOGE] will let you or
                            me know if any other work is needed.” Defs.’ Ex. 1 [Dkt. # 56-1]
                            at Page 1 of 16, CFPB_00001.

                            11:58 a.m. Chilbert replies to Martinez, requesting authorization to
                            create list of contractors necessary to support operational
                            emergencies. Defs.’ Ex. 1 [Dkt. # 56-1] at Page 1 of 116,
                            CFPB_00001.




5    Defendants’ exhibit list appears at [Dkt. # 70-3].


                                              15
    Case 1:25-cv-00381-ABJ    Document 87        Filed 03/28/25      Page 16 of 112




                       4:43 p.m. CFPB Assistant Director, Research Jason Brown tells
                       Chief Legal Officer Mark Paoletta that the Office of Research has
                       stopped work on publishing Average Prime Offer Rate (APOR).
                       Defs.’ Ex. 3 [Dkt. # 56-1] at Page 5 of 116, CFPB_00005.

                       7:15 p.m. Chief Legal Officer Paoletta replies to Brown: “The task
                       of doing the work to publish the Average Prime Offer Rate (APOR)
                       and publishing it are exempted from the stop work order.” Defs.’
                       Ex. 3 [Dkt. # 56-1] at Page 5 of 116, CFPB_00005.

                       President Trump tells a reporter that he intends to have the CFPB
                       “totally eliminated” and “we did the right thing. The CFPB was a
                       very important thing to get rid of, and it was also a waste. I mean,
                       number one, it was a bad group of people running it, but it was also
                       a waste.” See Alejandra Jaramillo, Trump confirms goal to “totally
                       eliminate” the Consumer Financial Protection Bureau, CNN
                       (Feb. 10, 2025), Ex. G to Roston/Scible Decl. [Dkt. # 38-17].

Tuesday, February 11   Approximately 85 CFPB probationary employees are fired. Decl. of
                       Peyton Diotalevi, NTEU National Counsel [Dkt. # 41-1] (“Diotalevi
                       Decl.”) ¶ 4; Kaspar Decl. ¶ 16; Martinez Testimony, Mar. 10 Tr. at
                       128; Testimony of Alex Doe, Tr. of Evidentiary Hr’g (Mar. 11,
                       2025) [Dkt. # 74] (“Mar. 11 Tr.”) at 45; see also Template of
                       Notification of Termination During Probationary Period, Pls.’ Ex. C
                       [Dkt. # 60-1] at Page 7 of 107.

                       10:27 a.m. CFPB Chief Financial Officer Jafner Gueye tells
                       deputies to identify which “contracts directly support a statutory
                       requirement, meaning that we would not be able to meet a statutory
                       requirement without this contract.” Pls.’ Ex. F [Dkt. # 60-1] at
                       Page 14–15 of 107.

                       11:10 a.m. Email from Consumer Response and Education
                       identifying contracts that directly support its statutory requirements
                       (attachment not provided). Pls.’ Ex. F [Dkt. # 60-1] at Page 14 of
                       107.

                       12:36 p.m. Adam Martinez emails Chief Legal Officer Paoletta and
                       James Bishop to introduce them to Chief Financial Officer Jafner
                       Gueye: “1. At your convenience he will be ready to provide you a
                       briefing on the Civil Penalty Fund including the contractor/vendor
                       that serves as the Bureau’s intermediary and the process for
                       disbursements of funds to consumers. 2. Jafnar is currently in
                       communications with the Federal Reserve regarding the Bureau’s
                       ability to return money to either Treasury or the Federal Reserve if
                       needed.” Pls.’ Ex. E [Dkt. # 60-1] at Page 12 of 107.



                                         16
    Case 1:25-cv-00381-ABJ      Document 87        Filed 03/28/25      Page 17 of 112




                         12:47 p.m. Email from Joshua Galicki to contracting officers with
                         subject line “Urgent Action: Contract Termination and Continuation
                         Notifications (Emails)” with instructions on how to issue contract
                         termination notifications. Galicki states, “We need to get these
                         Termination Notifications out ASAP.” Pls.’ Ex. A [Dkt. # 60-1] at
                         Page 2 of 107; see also Decl. of Charlie Doe [Dkt. # 38-4] (“Charlie
                         Doe Decl.”) ¶¶ 5–6 (stating the Bureau issued “an urgent directive
                         to the contracting department to cancel all of the agency’s contracts.
                         I am aware of only two exceptions to this initial directive: the
                         contract for storing litigation data and the database that houses
                         employees’ financial disclosure information”).

                         4:32 p.m. Chief Legal Officer Paoletta emails Chief Financial
                         Officer Gueye on behalf of Acting Director Vought, “Subject:
                         Cancellation of CFPB contracts,” directing “the cancellation of all
                         contracts in the following divisions: Enforcement (102 contracts),
                         Supervision (16 contracts), External Affairs (3 contracts), Consumer
                         Response (20 contracts), Office of Director (33 contracts), and
                         Legal Division (all except 2 contracts – FD Online Licenses and
                         litigation data)” and the contract for concrete repairs. Defs.’ Ex. 4
                         [Dkt. # 56-1] at Page 6 of 116, CFPB_00006; see also Martinez
                         Testimony, Mar. 10 Tr. at 162–64.

                         5:14 p.m. Josha Galicki emails contracting officers advising them
                         of the directive to terminate all Enforcement, Supervision, External
                         Affairs, Consumer Response, and Office of Director contracts. Pls.’
                         Ex. B [Dkt. # 60-1] at Page 5 of 107.

Wednesday, February 12   6:51 p.m. Adam Martinez emails Chief Financial Officer Gueye,
                         Jordan Wick, Christopher Young, and OPM Deputy Associate
                         Director, HR Strategy Jason Parman approving the Statement of
                         Work for “RIF Consulting Services,” under which CFPB is to pay
                         OPM initial funding of $171,925. Pls.’ Ex. II [Dkt. # 66-1] at Page
                         3–4 of 60.

Thursday, February 13    Plaintiffs file an amended complaint and motion for temporary
                         restraining order. Am. Compl. [Dkt. # 7]; Mot. for TRO [Dkt. # 10].

                         3:30 p.m. The RIF team, including Alex Doe, Adam Martinez, and
                         others meet with Jordan Wick, Jeremy Lewin, and OPM officials.
                         Alex Doe Testimony, Mar. 11 Tr. at 38. Jeremy Lewin and Jordan
                         Wick talk off screen with Acting Director Vought, and Wick tells
                         the group that they want formal RIF notices to go out no later than
                         February 14. Id. at 41–44.




                                           17
Case 1:25-cv-00381-ABJ    Document 87        Filed 03/28/25     Page 18 of 112




                   Approximately 130 CFPB term employees were fired. Diotalevi
                   Decl. ¶ 4; Martinez Testimony, Mar. 10 Tr. at 128; Alex Doe
                   Testimony, Mar. 11 Tr. at 45.

                   Post on X regarding tip line for the public to report “being pursued
                   by CFPB enforcement or supervision staff, in violation of Acting
                   Director Russ Vought’s stand down order.” Diotalevi Decl. ¶ 6;
                   Pls.’ Ex GG [Dkt. # 60-1] at Page 103 of 107.

                   Julie Barnard is terminated from her temporary excepted service
                   appointment as a Markets & Policy Fellow. She is also the Student
                   Loan Ombudsman. The stated reason for her termination is the
                   February 11, 2025 Executive Order. Pls.’ Ex. H [Dkt. # 60-1] at
                   Page 19–20 of 107; Decl. of Julia Barnard [Dkt. # 38-10] (“Barnard
                   Decl.”) ¶ 2.

                   5:01 p.m. Adam Martinez emails Michael Mahoney of OPM
                   attaching CFPB’s “request for an exception to the RIF 90-day rule
                   for competitive areas.” Pls.’ Ex. JJ [Dkt. # 66-1] at Page 7–8 of 60.

                          This memorandum serves as the Consumer Financial
                          Protection Bureau’s (CFPB) request for an exception
                          to the competitive area 90-day rule. . . . The CFPB
                          is responding to Executive Order Implementing
                          The President’s “Department of Government
                          Efficiency” Workforce Optimization initiative –
                          The White House dated February 11, 2025 and
                          the CFPB Acting Director’s work stoppage order
                          dated February 10, 2025.

                   Pls.’ Ex. JJ [Dkt. # 66-1] at Page 9–11 of 60 (emphasis added); see
                   also Martinez Testimony, Mar. 10 Tr. at 48–49 (confirming the two
                   justifications).

                   RIF team receives the templates from OPM for firing the 1200
                   employees “at night on the 13th.” Alex Doe Testimony, Mar. 11 Tr.
                   at 46–47.

                   10:10 p.m. Jeremy Lewin emails Adam Martinez that “[w]e owe
                   Acting Director Vought an update at 10am tomorrow.” Pls.’ Ex. JJ
                   [Dkt. # 66-1] at Page 6 of 60.

                   10:12 p.m. Martinez, Lewin, and others are informed that OPM
                   approved the exception request. Pls.’ Ex. JJ [Dkt. # 66-1] at Page 6
                   of 60.




                                    18
     Case 1:25-cv-00381-ABJ    Document 87        Filed 03/28/25       Page 19 of 112




Friday, February 14     12:55 a.m. Plaintiffs file their supporting memorandum and exhibits
                        for the motion for a temporary restraining order. Pls.’ Mem. in
                        Supp. for Mot. for TRO [Dkt. # 14] (“Pls.’ TRO Mem.”).

                        8:28 a.m. Adam Martinez emails [REDACTED] advising that the
                        request for an exception to the RIF ninety-day rule for competitive
                        areas was approved. Pls.’ Ex. JJ [Dkt. # 66-1] at Page 6 of 60.

                        8:30 a.m. RIF team including Adam Martinez meets to review OPM
                        templates. Alex Doe Testimony, Mar. 11 Tr. at 47.

                        10:00 a.m. RIF team including Adam Martinez meets with OPM.
                        Alex Doe Testimony, Mar. 11 Tr. at 47.

                        11:08 a.m. The Court sets a scheduling hearing for 2:00 p.m. that
                        afternoon. See ECF Notice of Hr’g (Feb. 14, 2025).

                        11:36 a.m. [REDACTED] emails Jason Parman of OPM HR
                        Strategy about the Exception Template: “Attached are templates of
                        Reduction in Force notifications with and without Severance Pay.”
                        Pls.’ Ex. MM [Dkt. # 66-1] at Page 21 of 60.

                        12:27 p.m. CFPB’s Office of Human Capital sends email:

                               On Monday, February 10th CFPB’s Acting Director
                               issued guidance for Bureau staff to pause work tasks.
                               In accordance with the Acting Director’s guidance
                               employees should exercise administrative leave until
                               otherwise instructed. For staff who have been asked
                               to work by the Acting Director, the Chief Legal
                               Officer, or another designee (i.e. through their
                               leadership chain, etc.) they should record that time as
                               they normally would. All time not in a working
                               status should be reflected in webTA under the
                               “Admin/Excused Absence” leave transaction
                               category.

                        Pls.’ Ex. J [Dkt. # 60-1] at Page 27 of 107.

                        12:38 p.m. Adam Martinez emails [REDACTED], forwarding a
                        12:34 email he sent to Chris Young, Jeremy Lewin, Jordan Wick,
                        copying Mark Paoletta and others:

                               My team and I had a productive conversation with
                               OPM this morning to work out any identified risks
                               and answer follow-up questions regarding today’s
                               actions and notifications to staff. OPM shared that


                                          19
Case 1:25-cv-00381-ABJ    Document 87        Filed 03/28/25       Page 20 of 112




                          typically during the 30-day notice, employees work
                          during this time to transfer any duties. Mark P. just
                          happened to call me, and I was able to ask for
                          clarification and expectations for the first phase of
                          notifications.

                          We are going to place all staff on administrative
                          leave for the 30-day notice period. This will provide
                          the flexibility for our new leadership team to call
                          back staff to fulfill closeout duties such as
                          enforcement cases. If there are pockets of staff who
                          we later determine do not need to be called back, we
                          can immediately offboard them (i.e., terminate
                          access) for the duration of the notice period. I will
                          provide you all notice right before the letters go out,
                          along with the final numbers. This will all be done
                          this afternoon.

                   Pls.’ Ex. KK [Dkt. # 66-1] at Page 13 of 60.

                   1:36 p.m. Adam Martinez receives email from [REDACTED]
                   notifying him of the hearing on plaintiffs’ motion for a temporary
                   restraining order in this case:

                          Hi Adam, Wanted to make sure you were aware there
                          is a hearing for a temporary restraining order or
                          preliminary injunction related to today’s activities
                          scheduled for 2pm today. While we will continue
                          preparing, it’s just a consideration when deciding
                          when to send out the notices.

                   Pls.’ Ex. LL [Dkt. # 66-1] at Page 15 of 60; Alex Doe Testimony,
                   Mar. 11 Tr. at 51.

                   Alex Doe was instructed that Adam “wanted me to reach out to
                   OPM and tell them that they needed to provide the attachments right
                   away and that we no longer had until close of business. . . . he wanted
                   me to forward my email to him so he could reach out to some of
                   their senior leadership and get those attachments quicker.” Alex
                   Doe Testimony, Mar. 11 Tr. at 52.

                   1:44 p.m. [REDACTED] sends email to OPM urgently requesting
                   materials for RIFs: “Thanks for everything you’re doing, but we
                   need the last set of attachments now. We cannot wait until COB.
                   We also need an answer on the attached question about the guidance.
                   Apologies, but we have been instructed we do not have until COB.”
                   Pls.’ Ex. MM [Dkt. # 66-1] at Page 17 of 60; Martinez Testimony,


                                     20
Case 1:25-cv-00381-ABJ      Document 87      Filed 03/28/25     Page 21 of 112




                   Mar. 10 Tr. at 135–36 (testifying that the people on this email are
                   members of the RIF team and that this email was not a mistake).

                   2:00 p.m. Court hearing begins.

                   2:27 p.m. [REDACTED] sends email attaching list of employees to
                   be fired. Pls.’ Ex. NN [Dkt. # 66-1] at Page 24 of 60.

                   3:07 p.m. OPM official emails Adam Martinez attaching the signed
                   February 14, 2025 Letter from OPM Associate Director, Workforce
                   Policy and Innovation Veronica Hinton approving the request for an
                   exception to the sixty-day notice requirement for a RIF.

                         The Office of Personnel Management (OPM) approves, with
                         one exception, the Consumer Financial Protection Bureau’s
                         (CFPB) February l3, 2025, request for OPM approval of an
                         exception to the 60-day notice period provided given to
                         employees selected for release through a reduction in force
                         (RIF). Your request indicates that a RIF is necessary due to
                         the impact of the Executive Order (EO) titled,
                         “Implementing     The     President’s    ‘Department      of
                         Government Efficiency’ Workforce Optimization Initiative”
                         (February 11, 2025), and the CFPB Acting Director’s work
                         stoppage order dated February 10, 2025.

                         OPM approves your request in accordance with 5 CFR
                         351.801 (b).

                   Pls.’ Ex. OO [Dkt. # 66-1] at Page 26, 28 of 60; see also Martinez
                   Testimony, Mar. 10 Tr. at 48.

                   4:57 p.m. Adam Martinez emails [READACTED] confirming that
                   “I’m dual hatted right now with Ops and OHC. I will be on the RIF
                   list but in next group.” Pls.’ Ex. PP [Dkt. # 66-1] at Page 30 of 60.

                   5:04 p.m. The Court enters the parties’ Consent Order, reflecting
                   the parties’ agreement that plaintiffs’ motion for a TRO will be
                   deemed a motion for preliminary injunction and that the agreement
                   would remain in place until the resolution of motion. The Order
                   provides that defendants shall not: delete, destroy, remove, or
                   impair any data, database, or other CFPB records; terminate any
                   CFPB employee, except for cause related to the specific employee's
                   performance or conduct; issue any notice of reduction-in-force to
                   any CFPB employee; or transfer, relinquish, or return any money
                   from the CFPB's reserve funds. Order. Order [Dkt. # 19]. The
                   Court sets a hearing on plaintiffs’ motion for a preliminary
                   injunction on Monday, March 3, 2025 at 10:00 a.m. Id.


                                     21
    Case 1:25-cv-00381-ABJ      Document 87        Filed 03/28/25      Page 22 of 112




                         Alex Doe “reache[s] out to Adam’s other senior advisor” at around
                         5:00 p.m. and advises that “RIFs [can] not occur until March 3rd.”
                         Alex Doe Testimony, Mar. 11 Tr. at 52–53.

                         7:00 p.m. to 10:00 p.m. “[E]mails go[ ] back and forth at 7:00, and
                         all the way up to near 10 o’clock about these [RIF] notices and fields
                         for them and what to code them under.” Alex Doe Testimony,
                         Mar. 11 Tr. at 54.

                         9:56 p.m. Email regarding materials for RIFs: “Hi you all. Here’s
                         the proposed coding for the separation actions. Can you please
                         review and approve for me? . . . [W]e will need to key these over the
                         weekend so they are there Tuesday morning.” Pls.’ Ex. QQ [Dkt.
                         # 66-1 at Page 32 of 60.

                         1:21 p.m. Adam Martinez emails Regional Office Staff and
                         Contractors that CFPB regional offices will remain closed the week
                         of February 17–21. Pls.’ Ex. K [Dkt. # 60-1] at Page 29 of 107.

Tuesday, February 18     8:15 a.m. Email from [REDACTED] to Adam Martinez and
                         Christopher Chilbert requesting authorization to repair the website’s
                         homepage and stating that DOGE personnel “damaged the website
                         by deleting the homepage.” Pls.’ Ex. L [Dkt. # 60-1] at Page 31 of
                         107; Decl. of Adam Scott [Dkt. # 38-6] (“Scott Decl.”) ¶ 2.

                         9:32 a.m. Christopher Chilbert responds that he does not have
                         authorization to reactivate the website: “My understanding is that
                         the decision to delete the homepage was made by Acting Director
                         Vought, and it was not an error made by the members of the DOGE
                         team.” Pls.’ Ex. L [Dkt. # 60-1] at Page 31 of 107; Scott Decl. ¶ 3.

Wednesday, February 19   10:12 a.m. Mark Paoletta emails Adam Martinez and Jafner Gueye:
                         “To follow up on my conversation with Adam just now, I am
                         directing you to not terminate or suspend any contracts without
                         specific authorization from Acting Director Vought or me.” Defs.’
                         Ex. 50 [Dkt. # 66-2] at Page 2 of 14, CFPB_00118.

                         The first RIF team meeting after Court’s February 14 Consent Order
                         is held, including Adam Martinez and OPM officials. Alex Doe
                         Testimony, Mar. 11 Tr. at 54. Martinez is “more focused on the
                         transfer of functions at that meeting . . . explaining that he had had
                         conversations with new leadership and the chief legal officer about
                         what the wind-down of an agency really meant, and that there were
                         . . . functions that would need to transfer, and OPM was pressing us
                         to identify where those would transfer and we did not yet have an
                         answer.” Id. at 55. “Q. Did he refer at this meeting to winding down
                         the Agency? A. He did. Q. What did you understand that to mean?


                                           22
    Case 1:25-cv-00381-ABJ     Document 87        Filed 03/28/25       Page 23 of 112




                        A. Closing of the Agency.” Id. at 54–56. “And he used that phrase,
                        ‘the closure of the Agency’? A. He did.” Id. at 57. Martinez said
                        or implied the plan was on pause because of the order. Id. at 57–58.

                        7:19 p.m. Mark Paoletta emails Adam Martinez, Jafner Gueye, and
                        Anthony Licata directing them to rescind contract termination
                        notices. Defs.’ Ex. 51 [Dkt. # 66-2] at Page 3 of 14, CFPB_00119.

                        President Trump announces in an interview that his administration
                        has “virtually shut down the out of control CFPB.” Lesley Stahl,
                        Why the Consumer Fin. Protection Bureau is being targeted by
                        Trump, DOGE, CBS News (Feb. 23, 2025), Ex. P to Roston/Scible
                        Decl. [Dkt. # 38-17].

Thursday, February 20   An “internal meeting” is held “with some human capital colleagues
                        that are not part of the RIF team . . . . And in that meeting, [Adam
                        Martinez] was a lot more specific about what exactly the plan was
                        for the Bureau.” Alex Doe Testimony, Mar. 11 Tr. at 58.

                        “[Martinez] said there would no longer be a CFPB. He said that we
                        were legitimately shutting down. He said that we would be wiped
                        out within 30 days. He said that the White House had instructed us
                        to cancel all of our committees and advisory boards and travel cards
                        and purchase cards and to only keep any contracts that were
                        necessary to effectuate the closure of the Agency within 30 days. . . .
                        Adam said there would be no positions to compete for. Q. No
                        positions to compete for, you understood that to mean because the
                        entire divisions would be eliminated? A. Because the Agency
                        would be eliminated. He was a lot more specific in that meeting that
                        was just the CFPB.” Alex Doe Testimony, Mar. 11 Tr. at 59.

                        “During meetings about the CFPB’s shut-down that took place
                        between Monday, February 18 and Tuesday, February 25, staff were
                        told by Senior Executives that the CFPB would be eliminated except
                        for the five statutorily mandated positions; that the CFPB would
                        exist in name only; and that, once this Court’s injunction was over,
                        everything would need to be either removed from the building or
                        destroyed. Staff were told by Senior Executives that the CFPB
                        would no longer have an employee location and that data could not
                        be stored at any CFPB location because there wouldn’t be any
                        locations left. Staff were told that no DHS, OIG, GAO, OMB,
                        Internal Controls, Congressional, or other compliance would be
                        necessary because the CFPB would ‘not exist’ and it would no
                        longer be ‘our problem.’” Decl. of Drew Doe [Dkt. # 38-5] (“Drew
                        Doe Decl.”) ¶ 7 .




                                          23
     Case 1:25-cv-00381-ABJ    Document 87        Filed 03/28/25     Page 24 of 112




                        “Senior Executives explained that the work stoppage on February
                        10 was characterized as a work stoppage to avoid the 10-day legal
                        limit on administrative leave.” Drew Decl. ¶ 8.

                        7:04 p.m. Jordan Wick emails Russell Vought and Mark Paoletta

                               Subject: More contracts to cut

                               Hi all, Please see attached for the next tranche of
                               contracts for which we recommend immediate
                               termination – they’re composed of the following:
                                 Consumer Credit Information Surveys and
                                    Panels, which will no longer be used
                                 Various support services (user research and
                                    testing, financial mgmt., internal controls, and
                                    identity access software), all of which we can do
                                    without
                               These contracts represent $8.4M in obligated value.
                               @Vought, Russell (CFPB), let us know if you
                               approve cancelling these and then the rest of the team
                               will proceed.

                        Defs.’ Ex. 52 [Dkt. # 66-2] at Page 5 of 14, CFPB_00121.

Friday, February 21     A CFPB Realty Officer sends an email stating that the “CFPB’s
                        main focus” is “moving out of [its] large headquarters building” on
                        “a very, very tight timeframe . . . (30 days).” The email also states
                        that the Bureau will move out “of the regional offices with San
                        Francisco being the first one.” Diotalevi Decl. ¶ 15.

                        11:15 a.m. Deputy General Counsel Sonya White emails Adam
                        Martinez. “Subject: Legal Assistance with Procurement Template
                        for Contract Termination” “Josh reached for a legal review on the
                        contract termination template. Confirming that LD is authorized to
                        assist?” Defs.’ Ex. 5 [Dkt. # 56-1] at Page 7 of 116, CFPB_00007.

                        11:30 a.m. Adam Martinez replies to Sonya White.

                               Hi Sonya – (+Mark P. and Dan for Situational
                               Awareness) Legal Division is authorized to support
                               all operational matters being exercised on behalf of
                               our new leadership and our regulatory/statutorily
                               requirements including:

                               Procurement/Contract Actions
                               Financial Management Actions
                               Human Capital Actions

                                         24
    Case 1:25-cv-00381-ABJ      Document 87        Filed 03/28/25     Page 25 of 112




                                Labor Relations Actions
                                Employee Relations Actions
                                Ethics Actions including vetting of new PAS/SCH
                                Cs
                                Technology and Infrastructure Support
                                Administrative Operations Actions (Security,
                                facilities, maintenance)
                                Data Governance/Administration
                                EEO Processing Counsel Support
                                Reasonable Accommodation Counsel Support

                                Mission related support should be coordinated
                                directly through Mark or Dan.

                         Defs.’ Ex. 5 [Dkt. # 56-1] at Page 7 of 116, CFPB_00007.

                         Twenty-two states and the District of Columbia file amicus brief in
                         support of plaintiffs’ motion for a preliminary injunction. States’
                         Br.

Monday, February 24      Defendants file opposition to the motion for preliminary relief,
                         attaching Declaration of Adam Martinez. Defs.’ Opp. [Dkt. # 31];
                         First Martinez Decl.

Tuesday, February 25     8:53 a.m. Senior Litigation Counsel Rebecca Smullin sends email
                         stating that her Consumer Sentinel Account, which has information
                         subject to litigation holds, is being deactivated. Defs.’ Ex. 8 [Dkt.
                         # 56-1] at Page 14 of 116, CFPB_00014.

                         1:25 p.m. Liane Fiano in the Office of Communications emails
                         LaShaun Warren and copies Adam Martinez and others. “I no
                         longer have access to Sprinklr, which is where [our] social media
                         backup records are maintained. We have hard copy exports for
                         Director Chopra’s account, but everything else lived within Sprinklr
                         and on our public channel. As the public channels were removed
                         unexpectedly, we may not be in compliance with our records
                         retention requirements.” Defs.’ Ex. 7 [Dkt. # 56-1] at Page 12–13
                         of 116, CFPB_00012–13.

                         Tzedek DC files amicus brief in support of plaintiffs’ motion for a
                         preliminary injunction. Tzedek DC Amicus Br. [Dkt. # 33].

Wednesday, February 26   10:14 a.m. Email regarding discontinuation of Citrix Virtual
                         Desktop: “The Citrix Virtual Desktop will be unavailable after
                         Friday, February 28, 2025, at 11:59 PM EST.” Pls.’ Ex. M [Dkt.
                         # 60-1] at Page 33 of 107. This is the program that allows


                                          25
    Case 1:25-cv-00381-ABJ     Document 87       Filed 03/28/25      Page 26 of 112




                        employees to securely log in to the CFPB system when they are not
                        at a CFPB computer. Diotalevi Decl. ¶ 20.

                        Russell Vought, in his capacity as OMB Director, issues memo:
                        Guidance on Agency RIF and Reorganization Plans Requested by
                        Implementing The President’s “Department of Government
                        Efficiency” Workforce Optimization Initiative. See Mem. from
                        Russell T. Vought, Director, Off. of Mgmt. and Budget, and Charles
                        Ezell, Acting Director, Off. of Pers. Mgmt., to Heads of Exec.
                        Dep’ts and Agencies (Feb. 26, 2025) [Dkt. # 70-2] at Page 1–7 of 7.

Thursday, February 27   OPM and RIF team meet. “[W]e discussed some guidance that
                        came out from Acting Director Vought, but in his OMB capacity. It
                        was giving him guidance about RIFs for federal agencies.” “[Adam]
                        said he would discuss it further with acting leadership and that he
                        would let us know – ‘us’ being the RIF team both at CFPB and at
                        OPM – that he would let us know if the plan changed. And that has
                        never – to this day has never happened.” Alex Doe Testimony, Mar.
                        11 Tr. at 60–61.

                        11:25 a.m. Email “Subject: Pickup of Personal Belongings and
                        Return of Equipment from the CFPB HQ: . . . We recognize that you
                        have personal property, work materials. and federal records in your
                        office or cubicle. To prepare to vacate the building, the Operations
                        team has packed up your personal belongings for pickup at 1700 G
                        Street.” Pls.’ Ex. O [Dkt. # 60-1] at Page 37 of 107.

                        4:18 p.m. Email from Adam Martinez to Research, Monitoring, and
                        Regulation (“RMR”)

                               Subject: Statutory/Legal Required Work
                               Date: Thursday, February 27, 2025 4:18:00 PM
                               Attachments: Directives on Bureau Activities.msg

                               Hi RMR Colleagues – Good afternoon.

                               Thank you for your patience as we continue through
                               transition and our new leadership’s review of the
                               Bureau.

                               On February 8 (email attached), our Acting Director
                               outlined several areas where work stoppage was
                               being implemented at the Bureau. He did exclude
                               areas approved by him or required by law. We want
                               to ensure that you are aware that statutorily required
                               work and/or work required by law are authorized.



                                         26
     Case 1:25-cv-00381-ABJ    Document 87       Filed 03/28/25      Page 27 of 112




                               Your teams are authorized to continue carrying out
                               these    responsibilities.  Any      actions     or
                               communications with outside parties must be sent to
                               Mark Paoletta, Chief Legal Officer and Daniel
                               Shapiro, Deputy Chief Legal Officer.

                               Should you have any questions at all, please feel free
                               to contact our Chief Legal Officer as directed by the
                               Acting Director. Alternatively, you are always
                               welcome to reach out to me if needed. I am happy to
                               share guidance provided to other leaders and
                               employees regarding authorized work, including my
                               own team.

                               Thank you for your support.

                               Adam
                               Adam Martinez
                               Chief Operating Officer

                        Defs.’ Ex. 16 [Dkt. # 56-1] at Page 34 of 116, CFPB_00034.

                        11:55 p.m. Plaintiffs file reply and supplemental declarations
                        disputing First Martinez Declaration. Pls.’ Reply [Dkt. # 40]; Pls.’
                        Suppl. Decls. [Dkt. # 38].

                        As of February 27, “[n]o member of the Escalated Case
                        Management [is] perform[ing] any work since at least the February
                        10th stop-work order.” Emory Doe Decl. [Dkt. # 48-3] ¶¶ 4–5.

                        RMR employees remain confused because Martinez’s February 27
                        email does not reference the February 10 stop work email of Vought:
                        “no work in my office has restarted.” Decl. of Greer Doe [Dkt.
                        # 48-5] (“Greer Doe Decl.”) ¶ 8.

Friday, February 28     8:54 a.m. Adam Martinez emails Gueye Jafnar and others, directing
                        them to reinstate the ETK (Entellitrack) contract. ETK is the
                        database and workstream for EEO, reasonable accommodation, and
                        anti-harassment/bullying cases, and are required to be proceed by
                        law.
                         This is in response to email highlighting “inability to access
                            EEO complaints”
                         “Some vendors that were asked to ‘turn back on’ operations
                            were able to, others cannot be back on so easily.”
                         “we will not be able to run statutorily required reports”



                                         27
Case 1:25-cv-00381-ABJ    Document 87         Filed 03/28/25      Page 28 of 112




                   Defs.’ Ex. 19 [Dkt. # 56-1] at Page 39–41 of 116, CFPB_00039–
                   41.

                   10:18 a.m. Deputy Associate Director and Acting Associate
                   Director, Research, Monitoring, and Regulations Janis Pappalardo
                   emails Adam Martinez, “In light of your e-mail and discussion
                   yesterday, my understanding is that we can resume all regular work
                   related to fulfilling statutory obligations, including regular
                   management activities. Is that correct?” Defs.’ Ex. 20 [Dkt. # 56-1]
                   at Page at 44 of 116, CFPB_00044.

                   10:20 a.m. Martinez replies to Pappalardo that her understanding
                   that “regular work related to fulfilling statutory obligations,
                   including regular management activities” can be resumed is correct.
                   Defs.’ Ex. 20 [Dkt. # 56-1] at Page 44 of 116, CFPB_00044.

                   10:33 a.m. Principal Deputy Assistant Director, Supervision Policy
                   & Operations Cassandra Huggins emails Martinez, “To be clear, the
                   Feb. 8 email directed us to cease all supervision and examination
                   activity. Am I correct that directive still stands?” Defs.’ Ex. 22 [Dkt.
                   # 56-1] at Page 51 of 116, CFPB_00051.

                   10:49 a.m. Text message telling Francis Doe to “stand down until
                   further notice.” Pls.’ Ex. S [Dkt. # 60-1] at Page 50 of 107; see Decl.
                   of Francis Doe [Dkt. # 48-4] (“Francis Doe Decl.”) ¶¶ 6–9 (Francis
                   Doe in RMR and two colleagues receives a direct text to their
                   personal cell phones, stating: “In response to Adam Martinez’s
                   email, John [McNamara] has instructed us to stand down until
                   further notice.” After further emails, declarant emailed Mr.
                   McNamara again, asking “To clarify, should I get started or wait for
                   guidance?” Mr. McNamara responded that I should “[w]ait for
                   guidance.” Having not received any further guidance, I continue to
                   remain unauthorized to perform any work. Despite Mr. Martinez’s
                   February 27 email, my understanding is that the stop-work order
                   issued on February 10th remains in effect.”).

                   10:58 a.m. Adam Martinez responds to Huggins’ 10:33 a.m. email:
                   “That is correct. If there are any reports to congress per statute or
                   anything like that, I’d recommend reaching out to Mark. Other
                   divisions are raising questions about reports or other statutory
                   requirements. I’m personally trying to be helpful to just ensure
                   people know they can ask questions or seek clarification, even it’s
                   just on operational issues.” Defs.’ Ex. 22 [Dkt. # 56-1] at Page 50–
                   51 of 116, CFPB_00050–51.

                   5:11 p.m. Assistant Director of Research Jason Brown emails
                   Research staff, telling them to resume “statutory work” – “We

                                     28
    Case 1:25-cv-00381-ABJ    Document 87       Filed 03/28/25     Page 29 of 112




                       stopped most of our statutory work, I know, not because of the
                       February 8 email, but because of the February 10 email. I clarified
                       this point with the COO.” Brown states that “the Research
                       environment not functioning as before.” Pls.’ Ex. Q [Dkt. # 60-1]
                       at Page 41 of 107.

                       203 Members of Congress file amicus brief in support of plaintiffs’
                       motion for a preliminary injunction. Members’ Br.

Saturday, March 1      1:59 p.m. Christopher Young sends Teams message to Adam
                       Martinez asking if they are “prepared to implement the RIF” if the
                       “judge lift[s] the TRO.” Defs.’ Teams Exchange Ex. [Dkt. # 70-1]
                       at Page 1–2 of 2, CFPB_00131–32.

Sunday, March 2        Defendants file Supplemental Declaration of Adam Martinez. [Dkt.
                       # 47-1] (“Second Martinez Decl.”).

                       Plaintiffs file Second Declaration of Matthew Pfaff [Dkt. # 48-2]
                       (“Second Pfaff Decl.”); Declaration of Emory Doe [Dkt. # 48-3];
                       Decl. of Francis Doe [Dkt. # 48-4]; and Declaration of Greer Doe
                       [Dkt. # 48-5].

                       3:33 p.m. Adam Martinez emails all CFPB employees and
                       contractors on behalf of Chief Legal Officer Mark Paoletta.

                              Subject: All Hands Message re: Work Required by
                              Law
                              Date: Sunday, March 2, 2025 3:33:06 PM

                              Message from Mark Paoletta, Chief Legal Officer

                              On behalf of Acting Director Vought, I am writing to
                              you to ensure that everyone is carrying out any
                              statutorily required work, as he set forth in his
                              February 8th email.

                              On February 8, 2025, you received an email from
                              Acting Director Vought directing you to halt several
                              classes of work unless “required by law” or expressly
                              approved by the Acting Director. On February 10,
                              2025, you received an email from Acting Director
                              Vought directing you to reach out to me for the
                              authorization required by the February 8 email.
                              These measures were intended to ensure that new
                              leadership could establish operational control over
                              the agency while ensuring that it would continue to
                              fulfill its statutory duties. Many of you understood


                                        29
    Case 1:25-cv-00381-ABJ    Document 87        Filed 03/28/25     Page 30 of 112




                              this and continued to perform functions required by
                              law and sought approval from me to perform work,
                              which I have promptly granted.

                              It has come to my attention, however, that some
                              employees have not been performing statutorily
                              required work. Let me be clear: Employees should
                              be performing work that is required by law and do
                              not need to seek prior approval to do so. If you have
                              any questions, please reach out to me immediately,
                              and I will promptly give you an answer and
                              authorization if warranted. If you are aware of other
                              employees that are needed to assist you in
                              performing a statutorily required task but are not
                              doing so, please raise this with me immediately.

                              Thank you for your attention to this matter.

                              Mark Paoletta
                              Chief Legal Officer
                              CFPB

                       Defs.’ Ex. 24 [Dkt. # 56-1] at Page 56 of 116, CFPB_00056.

Monday, March 3        8:45 a.m. Office of Supervision Examinations staff member Caitlyn
                       Sellers emails supervision staff, instructing them to “continue to
                       comply with the stop work order.” Pls.’ Ex. V [Dkt. # 60-1] at Page
                       58 of 107.

                       10:00 a.m. Court hears argument on plaintiffs’ motion for a
                       preliminary injunction. It sets an evidentiary hearing for Monday,
                       March 10, 2025. See Minute Entry (Mar. 3, 2025).

                       10:02 a.m. [REDACTED] emails Adam Martinez. “Hi, Adam,
                       Based on every email starting 2/10 the unambiguous guidance was
                       to stop all work tasks, no stipulation of statute requirements was
                       made. As of today, Consumer Complaint Database (CCDB) has not
                       had been refreshed with new data since 02/22/2025 and displays an
                       error banner . . . .” Pls.’ Ex. Z [Dkt. # 60-1] at Page 73 of 107.

                       11:33 a.m. CFO Gueye reply to Nykea Bolton email: “In general
                       we are very narrowly turning back contracts (or portions of
                       contracts) that directly support statutory requirements. . . .
                       Specifically can you outline for each contract what (statutorily
                       required) action will not be able to be accomplished at all without
                       the contract? I can’t stress enough that this needs to be as specific
                       as possible. We’ll need to be prepared to have someone on the team

                                        30
    Case 1:25-cv-00381-ABJ    Document 87        Filed 03/28/25      Page 31 of 112




                       defend this justification to external parties. All PCards across the
                       bureau have been cancelled. We’ve been authorized to reopen one
                       for the entire bureau with a very limited limit so we are triaging the
                       requests as they come in. I’m using the same criteria as above (i.e.
                       directly being indispensable to meet a statutory requirement).”
                       Defs.’ Ex. 29 [Dkt. # 56-1] at Page 98–99 of 116, CFPB_00098–99.

                       11:39 a.m. Chief Financial Officer Gueye replies to Chilbert email:
                       “[W]e’re getting a lot of requests to turn contracts back on. I will
                       send out guidance shortly but for your awareness we are not turning
                       back on every contract we’ve had. We’re taking a very narrow
                       approach: if without the contract the Bureau can’t meet a statutory
                       requirement then it will be considered for reactivation. Meaning that
                       a contract enhancing our ability to meet a statutory requirement is
                       not enough to get it back on. It needs to be the only way the bureau
                       can currently meet that requirement. Also as you’re providing
                       justifications please be prepared to have to defend those to external
                       patties. We’ve been routinely asked to provide for names of the
                       people providing the justification.” Defs.’ Ex. 38 [Dkt. # 56-1] at
                       Page 96 of 116, CFPB_00096; Martinez Testimony, Mar 10 Tr. at
                       85 (Martinez does not believe guidance has been sent out).

                       12:31 p.m. Email providing term employee with notification of
                       termination (approved on February 15) pursuant to “E.O. 14210 and
                       the stop work email from Russ Vought.” Pls.’ Ex. CC [Dkt. # 60-1]
                       at Page 89–90 of 107.

                       3:52 p.m. Regional Director, Midwest Region John Schroeder
                       emails supervision examiners asking them to “refrain from all work
                       activity other than ministerial tasks” pending further guidance,
                       forwarding Paoletta’s March 2 email. Pls.’ Ex. U [Dkt. # 60-1] at
                       Page 55–56 of 107.

                       Email notifying supervision staff that Martinez and Paoletta’s
                       March 2 emails do not authorize them to carry out activities
                       “required by law.” Pls.’ Ex. W [Dkt. # 60-1] at Page 63 of 107.

Tuesday, March 4       7:50 a.m. Email providing probationary employee with Notification
                       of Termination (approved on February 13) pursuant to “E.O. 14210
                       and the stop work email from Russ Vought.” Pls.’ Ex. BB [Dkt.
                       # 60-1] at Page 85–87 of 107.

                       8:38 a.m. Chris Chilbert sends email to Chief Financial Officer
                       Jafner Gueye and others request to pay for Google Analytics
                       platform, without which CFPB “will lose all historical data.” Pls.’
                       Ex. EE [Dkt. # 60-1] at Page 95 of 107.



                                         31
    Case 1:25-cv-00381-ABJ    Document 87        Filed 03/28/25     Page 32 of 112




                       8:45 a.m. Christopher Chilbert sends email to someone who has
                       asked to fix the homepage: “I believe it is important to restore the
                       home page as soon as possible, but that is not currently authorized.”
                       Pls.’ Ex. DD [Dkt. # 60-1] at Page 92 of 107.

                       8:58 a.m. Gueye sends email advising that there is a problem with
                       PCards, and that there is only one PCard exception, which has “a
                       very limited total limit.” Pls.’ Ex. EE [Dkt. # 60-1] at Page 94
                       of 107.

                       OPM and RIF hold team meeting, with Martinez no longer
                       attending. “On the 4th, it was mostly about a cost estimate for the
                       final phase after the 1200, doing, you know, reduction in force on
                       the rest of the positions.” Alex Doe Testimony, Mar. 11 Tr. at 61–
                       62.

                       White House issues statement that “President Trump ordered the”
                       CFPB “to halt operations.” The White House, “President Trump is
                       Making Government Work for You Again,” Pls.’ Ex HH [Dkt. #
                       60-1] at Page 105–107 of 107.

Wednesday, March 5     7:27 a.m. Email advising of indefinite postponement of mandatory
                       training. Pls.’ Ex. SS [Dkt. # 66-1] at Page 37 of 60.

                       10:01 a.m. Email from Cassandra Huggins emails regional
                       examiners directing them to prepare a report requested by Mark
                       Paoletta on their supervision examination activity. Pls.’ Ex. UU
                       [Dkt. # 66-1] at Page 42 of 60.

Thursday, March 6      OPM and RIF hold another team meeting on work OPM needs the
                       RIF team to do to help define competitive levels. Martinez is no
                       longer attending meetings. Alex Doe Testimony, Mar. 11 Tr. at 63.

                       1:08 p.m. Email regarding reporting on supervision activity and
                       return to administrative leave. Pls.’ Ex. WW [Dkt. # 66-1] at Page
                       53 of 60.

                       6:17 p.m. Bruce McNitt emails John McNamara about the impact
                       of contract cancellations on the Office of Markets. Pls.’ Ex. XX
                       [Dkt. # 66-1] at Page 55–56 of 60.

Friday, March 7        10:07 a.m. Email from head of Office of Students team indicating
                       that they are currently unable to perform required complaint-review
                       function. Pls.’ Ex. ZZ [Dkt. # 66-1] at Page 60 of 60.

Monday, March 10       The Court holds evidentiary hearing at which Adam Martinez
                       testifies. See Minute Entry (Mar. 10, 2025); Mar. 10 Tr.


                                        32
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 33 of 112




Tuesday, March 11              The Court holds evidentiary hearing at which Adam Martinez
                               concludes his testimony, and Alex Doe and Matthew Pfaff testify.
                               See Minute Entry (Mar. 11, 2025); Mar. 11 Tr.


                                            ANALYSIS

I.     THE COURT MAY EXERCISE SUBJECT MATTER JURISDICTION OVER
       THIS CASE.

       “[E]very federal court has a ‘special obligation to satisfy itself’ of its own jurisdiction

before addressing the merits of any dispute.” Dominguez v. UAL Corp., 666 F.3d 1359, 1362

(D.C. Cir. 2012), quoting Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986). As

an Article III court, this Court’s judicial power is limited to adjudicating actual “cases” and

“controversies.” Allen v. Wright, 468 U.S. 737, 750 (1984).

        A.     The Court has jurisdiction to decide Counts One, Three, and Four.

       In Count One, plaintiffs have alleged both statutory and constitutional violations, and it is

a fundamental proposition of constitutional law that “[i]t is emphatically the province and duty of

the judicial department to say what the law is.” Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177

(1803). Counts Three and Four are predicated on the APA. These are the claims that will underlie

this ruling, 6 and the Court has jurisdiction to hear them and to impose injunctive relief.

       While the decisions in this case implemented Presidential directives, the President is not

the defendant in this action: plaintiffs sued Russell Vought, in his official capacity as Acting

Director of the CFPB, and the agency itself. In Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579 (1952), the Supreme Court remedied the President’s wrongful seizure of the nation’s



6       Given that finding, and the fact that the relief to be granted will be predicated on those
counts, the Court need not address the merits of Count Two, which asserts that the firing of the
CFPB Director did not create a “vacancy” that could be filled under Federal Vacancies Reform
Act, 5 U.S.C. §3345, and that therefore, the appointment of defendant Vought as Acting Director
of the CFPB violated the Appointments Clause. U.S. Const. art. II, § 2, cl. 2.

                                                 33
      Case 1:25-cv-00381-ABJ            Document 87        Filed 03/28/25      Page 34 of 112




steel mills through an injunction to his subordinates, and that case continues to be cited for the

proposition that “courts have power to compel subordinate executive officials to disobey illegal

Presidential commands.” Soucie v. David, 448 F.2d 1067, 1072, n.12 (D.C. Cir. 1971).

       In Swan v. Clinton, 100 F.3d 973, 978 (D.C. Cir. 1996), the D.C. Circuit reiterated the

“bedrock principle that our system of government is founded on the rule of law.” And it explained

that therefore:

                  it is sometimes a necessary function of the judiciary to determine if
                  the executive branch is abiding by the terms of legislative
                  enactments. In most cases, any conflict between the desire to avoid
                  confronting the elected head of a coequal branch of government and
                  to ensure the rule of law can be successfully bypassed, because the
                  injury at issue can be rectified by injunctive relief against
                  subordinate officials.

Id. at 978 (internal citations and quotation marks omitted).

       These principles apply to cases raising constitutional questions as well as statutory

questions; “the court’s power to enjoin unconstitutional acts by the government . . . is inherent in

the Constitution itself.” Trudeau v. FTC, 456 F.3d 178, 190, n.22 (D.C. Cir. 2006), quoting

Hubbard v. EPA, 809 F.2d, 1 at 11, n.15 (1986). See also id. at 343 (“the ‘APA’s waiver of

sovereign immunity applies to any suit whether under the APA or not’”), citing Chamber of Com.

v. Reich, 74 F.3d 1322, 1328 (D.C. Cir. 1996). 7




7        See also Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491, n.2 (2010),
in which the Supreme Court recognized its power to hear challenges to the constitutionality of
governmental action on separation of powers principles, citing Correctional Servs. Corp. v.
Malesko, 534 U.S. 61, 74 (2001) (equitable relief “has long been recognized as the proper means
for preventing entities from acting unconstitutionally”); Bell v. Hood, 327 U.S. 678, 684 (1946)
(“[I]t is established practice for this Court to sustain the jurisdiction of federal courts to issue
injunctions to protect rights safeguarded by the Constitution . . . .”); and Ex parte Young,
209 U.S. 123, 149, 165, 167 (1908).

                                                   34
         Case 1:25-cv-00381-ABJ       Document 87      Filed 03/28/25      Page 35 of 112




          Count One alleges that the defendants’ actions to dismantle and shut down the CFPB are

unconstitutional because they exceed the executive’s authority and usurp the legislature’s

authority: “[t]he CFPB was established as a federal agency by Congress by statute, the Dodd

Frank Act, signed into law in 2010, and can be eliminated only by Congress.” Am. Compl. ¶ 79.

          This claim is likely to succeed as there is no mystery about what is going on as the

President and his delegees, Elon Musk and Russell Vought, have made their actions and intentions

clear.

          On February 6, officials representing the Department of the Treasury notified the CFPB

that individuals from United States DOGE Service would need access to the building that evening.

First Martinez Decl. ¶ 6. A follow-up meeting was held on February 7. Id. ¶ 7. On that date, the

President designated Russell Vought, Director of the Office of Management and Budget, to serve

as the Acting Director of the CFPB, id. ¶ 10; Feb. 8 Email, and by that evening, Musk had already

posted “CFPB RIP” and a tombstone emoji on his social media site X. Kaspar Decl. ¶ 6.

          On February 8, Vought suspended rulemaking, investigative, public communication, and

litigation activities, but also ordered that “effective immediately,” all CFPB employees shall

“cease all supervision and examination activity,” and “cease all stakeholder engagement.” Feb. 8

Email. By February 10, the day Vought ordered all employees to stop all work, President Trump

acknowledged that his goal was to have the agency “totally eliminated,” and he added that “we did

the right thing. The CFPB was a very important thing to get rid of, and it was also a waste. I

mean, number one, it was a bad group of people running it, but it was also a waste.” See Am.

Compl. ¶¶ 2, 47, n.14, citing @factpostnews, X (Feb. 10, 2025), https://x.com/joeygarrison/status/

18891320239 33022283?Mx=2.




                                                35
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 36 of 112




                1.     The constitutional claims are not barred by Dalton v. Spector.

       Defendants argue that this Court has no power to hear the constitutional claim that

underlies Count One, as it is nothing more than a statutory claim, and they cite Dalton v. Specter,

511 U.S. 462, 472 (1994), for that principle. But the holding in that case arose in a situation that

is not at all analogous to the situation here. In Dalton, the plaintiffs sought to enjoin the Secretary

of Defense from closing the Philadelphia Naval Shipyard. The President had made the decision

to do so pursuant to the Defense Base Closure and Realignment Act of 1990, 10 U.S.C. § 2687.

As the opinion explains in detail, the Act established an “elaborate selection process” that

concludes with a set of recommendations on the President’s desk:                the Secretary issues

recommendations for closure or realignment after he has given notice and an opportunity for public

comment; the Secretary submits the recommendations to Congress and to the Defense Base

Closure and Realignment Commission, an independent body whose members are appointed by the

President and confirmed by the Senate; and the Commission conducts hearings, resulting in the

transmittal of a report and recommendations to the President, who has the decision-making

authority. Id. at 464–65. The Act then sets out a timetable for the President’s approval or

disapproval of the recommendations and the submission of any certification of approval to

Congress. Id.

       The Court made quick work of the plaintiffs’ claims challenging the actions of the

Secretary and the Commission, finding that they could not be reviewed under the APA because

they were not “final agency actions;” they were simply recommendations to the President, who

had the ultimate decision-making authority. Id. at 476. The actions of the President could not be

reviewed under the APA because the President is not an “agency” under that Act. Id.




                                                  36
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 37 of 112




        Thus, the question of jurisdiction in Dalton boiled down to the issue of whether the

President exceeded his authority under the Act, and that, according to the Court, could not be

characterized as a constitutional question. First, it observed:

               Our cases do not support the proposition that every action by the President,
               or by another executive official, in excess of his statutory authority is ipso
               facto in violation of the Constitution. On the contrary, we have often
               distinguished between claims of constitutional violations and claims that an
               official has acted in excess of his statutory authority.

Id. at 472, citing, inter alia, Harmon v. Brucker, 355 U.S. 579, 581 (1958) (“In keeping with our

duty to avoid deciding constitutional questions presented unless essential to proper disposition of

a case, we look first to petitioners’ non-constitutional claim that respondent [Secretary of the

Army] acted in excess of powers granted him by Congress ”). 8 The Court then distinguished the

situation before it from what had been at issue in Youngstown:

               In Youngstown, the Government disclaimed any statutory authority for the
               President’s seizure of steel mills. The only basis of authority asserted was
               the President’s inherent constitutional power as the Executive and the
               Commander in Chief of the Armed Forces. Because no statutory authority
               was claimed, the case necessarily turned on whether the Constitution
               authorized the President’s actions. Youngstown thus involved the conceded
               absence of any statutory authority, not a claim that the President acted in
               excess of such authority. The case cannot be read for the proposition that
               an action taken by the President in excess of his statutory authority
               necessarily violates the Constitution.




8       The Court also cited Larson v. Domestic and Foreign Commerce Corp., 337 U.S. 682, 691,
n.11, (1949), which stated that sovereign immunity would not shield an executive officer from suit
if the officer acted either unconstitutionally or beyond his statutory powers. It commented that
there was a difference: “[i]f all executive actions in excess of statutory authority were ipso facto
unconstitutional . . . there would have been little need in Larson for our specifying unconstitutional
and ultra vires conduct as separate categories.” Id. Count One alleges that the decision to close
the agency is contrary to statute and the constitution; if the defendants do not defend on the grounds
that the President was exercising his constitutional authority, the Court may not need to reach the
constitutional question.


                                                 37
       Case 1:25-cv-00381-ABJ         Document 87         Filed 03/28/25      Page 38 of 112




Id. at 473 (citations omitted) (emphasis in original). Applying that reasoning, the Court found that

the respondents’ claim that the Secretary’s action was inconsistent with the Act was at bottom a

statutory claim. It held that “[w]here a statute, such as the 1990 Act, commits decisionmaking to

the discretion of the President, judicial review of the President’s decision is not available.” Id. at

477.

         That ruling does not serve as any sort of impediment here. While the government disputes

whether it is engaged in the elimination of the agency as a matter of fact, it is not suggesting that

doing so would have been an exercise of discretion authorized by the statute in question as the

Secretary’s actions were in Dalton. See Defs.’ Opp. at 28–29. Nor are plaintiffs solely alleging

that defendants in this case exceeded any statutory authority accorded to the agency under the

Dodd-Frank Act; their argument is that Acting Director Vought’s actions to close the agency on

behalf of the President violated both the separation of powers inherent in the Constitution and the

statute that created the CPPB and assigned it mandatory duties. See Am. Compl. ¶¶ 2, 9, 10, 76–

80, and 92.

        There are significant differences between the abrupt closure of a federal agency by the

executive and the implementation of the multi-layered administrative, executive, and

Congressional process that led to the closure of a shipyard. Therefore, it is telling here that the

Dalton Court took pains to emphasize that it was not repudiating Marbury v. Madison or the

“nearly two centuries of constitutional adjudication” that followed; the “conclusion that judicial

review is not available for respondents’ claim follows from our interpretation of an Act of

Congress, by which we and all federal courts are bound.” 511 U.S. at 477. Since there is no act

of Congress that empowers the President to shut down the CFPB in his discretion, Dalton does not




                                                 38
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 39 of 112




apply, and the Court has jurisdiction to perform its traditional duty and consider both the statutory

and constitutional claims.

               2.      The APA claims are properly predicated on discrete, final agency
                       action.

       Defendants argue that the Court lacks jurisdiction to consider the APA claims because, as

they characterize the complaint, plaintiffs are simply voicing a generalized grievance about agency

policy or management, and such claims are not cognizable under Lujan v. Defenders of Wildlife

Federation, 504 U.S. 555 (1992) and Norton v. S. Utah Wilderness Alliance, 542 U.S. 55 (2004)

(“SUWA”). See Defs.’ Opp. at 14–15 (“Plaintiffs’ claims and requested injunction present exactly

the type of wholesale challenge that the APA forbids. They do not seek judicial review of a

discrete agency action. Rather, they seek wholesale judicial review of Defendants’ management

of the CFPB.”); id. at 17 (“Plaintiffs are unlikely to succeed on their APA claims because they are

sweeping programmatic challenges unavailable under the APA.”). Defendants also pluck one

sentence from Biden v. Texas, 597 U.S. 785, 809 (2022), and repeat that “the APA does not permit

review of an ‘abstract decision.’” Defs.’ Opp. at 18, citing 597 U.S. at 809. But they do not

suggest that the holding of that case bears on this dispute in any other way. See Defs.’ Opp. at 18.

       Defendants’ repeated incantation of the words “programmatic” and “abstract” cannot

change the character of what is actually going on, and there is at least one discrete order before the

Court that is ripe for review.

       Plaintiffs’ claims under the Administrative Procedure Act are predicated on sections

706(2)(C) and 706(2)(A). Am. Compl. ¶¶ 90, 93. Section 706(2)(C) provides that “the reviewing

court shall . . . hold unlawful and set aside agency action . . . found to be in excess of statutory

jurisdiction, authority or limitations,” and (2)(A) directs the reviewing court to hold unlawful and




                                                 39
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 40 of 112




set aside agency action found to be “arbitrary, capricious, and an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. §§ 706(2)(C), (2)(A).

       Congress specified what it meant by these terms. According to the definitions section of

the statute, “agency action” includes “the whole or part of an agency rule, order, license, sanction,

relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C. §551(13). The word “order”

in that series is defined to mean “the whole or a part of a final disposition, whether affirmative,

negative, injunctive, or declaratory in form, of an agency in a matter other than rule making.” Id.

§ 551(6). There is no question that on February 10, 2025, Acting Director Vought ordered CFPB

employees to stop work. But was that order “final” such that it would be a reviewable agency

action? The statute further explains that when undertaking this review, “the reviewing court shall

decide all relevant questions of law, interpret constitutional and statutory provisions, and

determine the meaning or applicability of the terms of an agency action. Id. § 706 (“Scope of

Review”).

       The test to be applied when a court is ensuring itself of its jurisdiction to review agency

action was set out in Bennet v. Spear, 520 U.S. 154 (1997). “As a general matter, two conditions

must be satisfied for agency action to be ‘final’: First the action must mark the ‘consummation of

the agency’s decision-making process, . . . it must not be of a merely tentative of interlocutory

nature. And second, the action must be one by which ‘rights or obligations have been determined,”

or from which ‘legal consequences will flow.’” Id. at 177–78 (citations omitted).

       The thrust of defendants’ opposition to the pending motion is that Acting Director Vought’s

February 8 email was nothing more than the typical pause in regulatory and enforcement activities

that would mark the arrival of any new administration.

               Incoming Presidents of both parties have routinely issued directives that
               pause policy-related decision-making to allow the reevaluation of those


                                                 40
      Case 1:25-cv-00381-ABJ            Document 87         Filed 03/28/25         Page 41 of 112




                policies that were under consideration or under development but not
                finalized by the prior administration. Consistent with this practice, on
                January 20, 2025, President Trump ordered agencies across the government
                to freeze regulatory actions so that new agency leadership may reevaluate
                policies and enforcement priorities.

                In line with these principles, on February 8, 2025, Russell Vought, Acting
                Director of the Consumer Financial Protection Bureau e-mailed all CFPB
                staff to direct that, unless “required by law” or “expressly approved by the
                Acting Director,” staff were not to take substantive actions that might reflect
                policy decisions inconsistent with new leadership’s views on the best way
                to meet the agency’s statutory responsibilities.

                After this directive, Plaintiffs . . . filed the present motion.

Defs.’ Opp. at 1; see also Defs.’ Opp. at 28–29.

        The problem for the defendants is that this explanation is largely irrelevant, and it is

factually incorrect. It is true that plaintiffs filed their initial complaint the day after the February 8

directive. See Compl. [Dkt. #1]. But the February 13 motion for a temporary restraining order

was not filed at that time; it came after the February 10 stop work order and the actions that

followed in its wake. See Mot. for TRO [Dkt. #10]. And the February 8 email is not the basis for

plaintiffs’ request for interim relief, nor will it be the subject of this order. The Court’s concern is

February 10.

        Defendants do posit that the February 10 “Vought ‘stop work’ email” does not satisfy the

Bennett test either, but they do that by trying – unsuccessfully – to blur the obvious distinction

between what happened on Vought’s first day at the agency and what he did two days later, relying

on the arguments advanced concerning the February 8 email in their brief. See Defs.’ Opp. at 18

(“[T]he e-mail marks the initiation, not the consummation, of the agency’s decision-making

process. As described in more detail infra at 28–33, the Vought e-mail’s directive to pause some

agency activities reflects a decision by CFPB leadership that agency personnel should not advance

the prior administration’s policies until new leadership has an opportunity to reevaluate agency


                                                   41
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 42 of 112




priorities. That decision is thus ‘preliminary’ in nature and ‘not directly reviewable.’”) (internal

citation omitted).

       The record shows that the February 10 stop work order marked the end of whatever

decision-making process the Acting Director found to be necessary, and that it had immediate,

concrete legal consequences. While the February 8 “Directive on Bureau Activities” carved out

activities “expressly approved by the Acting Director or required by law,” the “Additional

Directives” issued on February 10 superseded those instructions with a straightforward,

unqualified statement: “[p]lease do not perform any work tasks.” The order did include the

information that if there were “urgent matters,” employees could “alert” the Acting Director

“through Mark Paoletta, Chief Legal Officer, to get approval in writing before performing any

work task.” Feb. 10 Email. 9 The email concluded by reiterating, “[o]therwise, employees should

stand down from performing any work task.” Id.

       The consequences were swift. As of February 10, agency employees understood that no

work meant no work. 10 See Martinez Testimony, Mar. 10 Tr. at 206. On February 11 and 12, all

eighty-five probationary employees were terminated. See, e.g., Alex Doe Testimony, Mar. 11 Tr.

at 45. On what grounds? The Notification of Personnel Action issued by the Office of Personnel

Management, headed by the very same Director, Russell Vought, cited only two sources of



9      As will be set out in more detail below, there were some requests for approval that were
granted, but those generally involved operational needs – keeping the lights on and the computers
running, or doing the work needed to effectuate the RIFs and contract terminations.

10     As of the day before, February 9, employees were informed that the CFPB headquarters
building would be closed, and the President had already announced on January 20, 2025 that
agencies in the executive branch “shall, as soon as practicable, take all necessary steps to terminate
remote work arrangements and require employees to return to work in-person at their respective
duty stations on a full-time basis.” Return to In-Person Work, https://www.whitehouse.gov/
presidential-actions/2025/01/return-to-in-person-work/.


                                                 42
     Case 1:25-cv-00381-ABJ           Document 87       Filed 03/28/25     Page 43 of 112




authority: the Executive Order 14210 of February 11 and “the stop work email from Russ Vought

Entitled ‘Additional directives on Bureau Activities’” dated February 10. See Notices of Personnel

Action, Pls.’ Ex. BB [Dkt. # 60-1] at Page 86 of 107; Pls.’ Ex. CC [Dkt. # 60-1] at Page 90 of 107.

In short, the February 10 work stoppage order had an immediate impact on probationary

employees’ legal rights and obligations. See id. at Pages 87, 91 of 107 (second page of Notices

explaining the contents of the first page and the employee’s rights).

       Also, on February 11, agency staff received direction to terminate contracts with outside

vendors, affecting the contractors’ rights and obligations, and a template for accomplishing this

task was circulated. Pls.’ Ex. B [Dkt. # 60-1] at 5 of 107; Template of Notification of Termination

During Probationary Period, Pls.’ Ex. C [Dkt. # 60-1] at Page 7 of 107.

       On February 12, with the probationary and term employees out of the way, the CFBP

entered into an agreement with OPM to receive “RIF Assistance.” Pls.’ Ex. II [Dkt. # 66-1] at

Page 3 of 60. The objective was to fire approximately 1175 employees as soon as possible, leaving

only a skeleton crew to oversee the functions associated with the RIF. Pls.’ Ex. JJ [Dkt. # 66-1]

at Page 10 of 60.

       To do that, it was necessary to ask OPM to exempt the CFPB from the ninety-day notice

period ordinarily required when an agency implements a RIF, which is supposed to give the

discharged employees an opportunity to compete for the positions that remain. Since it had already

been determined that there would be no open positions to fill, because the agency was shutting

down completely, the agency submitted a request for an exception to the ninety-day period on

February 13. Pls.’ Ex. JJ [Dkt. # 66-1] at Pages 9–11 of 60.

       What did the CFBP identify as the “circumstances” that would warrant giving notice less

than 90 days before a proposed reduction? It wrote: “[t]he CFPB is responding to Executive Order



                                                43
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25     Page 44 of 112




Implementing The President’s ‘Department of Government Efficiency’ Workforce Optimization

Initiative . . . dated February 11, 2025 and the CFPB Acting Director’s work stoppage order dated

February 10, 2025.” Id. at 11.

         Unsurprisingly, the Office of Personnel Management approved the request the next day,

again citing only two reasons: the Executive Order of February 11, and “the CFPB Acting

Director’s work stoppage order dated February 10, 2025.” Pls.’ Ex. OO [Dkt. # 66-1] at Page 28

of 60.

         Given this set of exchanges between the two departments operating under Russell Vought’s

direct control, the defendants’ suggestion that the document that both agencies referred to as a

“work stoppage order” was merely interlocutory, and not a “final order” from which legal

consequences flowed, is entirely unsustainable.

         And the consequences kept on coming. On February 13, “term” employees, who were

hired under a temporary/excepted appointment were terminated, and again, the Executive Order

and “the stop work email from Russ Vought” were identified as the justifications. See Pls.’ Ex.

QQ [Dkt. # 66-1] at Page 32–33 of 60.

         On February 14, the CFPB’s Chief Operating Officer Adam Martinez was informed by

OPM that employees typically work during the notice period, even if it has been truncated to thirty

days, so he asked Mark Paoletta, Director Vought’s legal advisor at both OPM and the CFPB, for

“clarification and expectations.” Pls.’ Ex. KK [Dkt. # 66-1] at Page 13 of 60.          After that

conversation, Martinez communicated that all staff would be placed on administrative leave for

the thirty-day notice period. See id. The Operations Manager of the CFPB Office of Human

Capital then disseminated instructions that “employees should exercise administrative leave until




                                                  44
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 45 of 112




otherwise instructed” – why? – “[i]n accordance with the Acting Director’s guidance” of

February 10. Pls.’ Ex. J [Dkt. # 60-1] at Page 27 of 107.

       Count Three specifically includes the issuance of the stop work directive as one of

defendants’ orders that constitutes final action under the APA. Given the facts set forth above, the

Court finds that the amended complaint presents at least one final, discrete agency action for the

Court’s review under the APA.

       However, that is not the only focus of the complaint. Defendants point to plaintiffs’

iteration of the series of steps taken by agency leadership, including the February 10 work stoppage

order, and plaintiffs’ description of those circumstances as an unlawful effort “to dismantle an

agency that Congress established,” Am. Compl. ¶ 9, see also, e.g., Am. Compl. ¶¶ 2, 4, 10, 80, 91,

92, 94, as an indication that the complaint amounts to nothing more than a “programmatic”

challenge that does not pass muster under the APA given the Supreme Court’s pronouncements in

Lujan and SUWA. Defs.’ Opp. at 15–16.

       But this lawsuit is not a challenge of any agency “program.” It does not challenge any

exercise of the agency’s discretionary authority to regulate activities within its purview or to

enforce particular statutory provisions. It is a challenge to the wholesale cessation of activities –

the decision to shut down the agency completely – which is not within the executive’s authority.

Defendants can hardly complain that the focus of the action is too broad; it was the Acting Director

who chose to paint with a broad brush, not plaintiffs.

       Defendants quote SUWA for the proposition that “the purpose of the APA’s discrete agency

action requirement is: ‘to protect agencies from undue judicial interference with their lawful

discretion, and to avoid judicial entanglement in abstract policy disagreements which courts lack




                                                 45
         Case 1:25-cv-00381-ABJ         Document 87         Filed 03/28/25      Page 46 of 112




both expertise and information to resolve.” Defs.’ Opp. at 16, quoting SUWA, 542 U.S. at 66–

67. 11

          None of those principles is at risk here. The decision to close an agency is not a theoretical

or hypothetical concept – it’s real. The agency is either open or it’s not. It is either responding to

calls from consumers or it’s not. There is nothing abstract about firing employees, cutting off the

funding stream, terminating contracts, or stopping all work; plaintiffs are not engaged in a “policy”

disagreement with the agency, but a battle for its existence. Therefore, in the Court’s view, even

if the February 10 work stoppage order does not satisfy the requirements of a “final order,” the



11       By introducing and editing the quoted language from the SUWA opinion in this manner,
defendants leave out the circumstances that were being discussed in that case, which are easily
distinguished from the case at hand. In SUWA, the petitioners were challenging an agency’s
“failure to act” under section 706(1) of the APA. 542 U.S. at 61–62. And while the Supreme
Court made it clear that like the actions that can be set aside under section 706(2), an agency action
that can be compelled under section 706(1) must be a discrete one, 542 U.S. at 63, it also went to
some lengths to liken section 706(1) to a writ of mandamus and explain that “a claim under 706(1)
can proceed only where a plaintiff asserts that an agency failed to take a discrete action that it is
required to take.” Id. at 64 (emphasis in original). See also id. at 65 (“The limitation to required
agency action rules out judicial direction of even discrete agency action that is not mandated by
law. . . .”) (emphasis in original).

        “With these principles in mind,” the Court then turned to one of the claims before it and
found that the statute the petitioners were seeking to enforce in that claim left the agency with a
great deal of discretion as to how to achieve the broad statutory objectives. Id. at 65–66. It was
in that context that the Court made the quoted remarks about “[t]he principal purpose of the APA
limitations we have discussed – and of the traditional limitations upon mandamus from with they
were derived,” and went on to express concern about the situation that would arise “if courts were
empowered to enter general orders compelling compliance with broad statutory mandates[,]” and
find that “the prospect of pervasive oversight by federal courts over the manner and pace of agency
compliance with such congressional directives is not contemplated by the APA.” Id. at 66–67
(emphasis added).

        Here, plaintiffs are not invoking the APA to compel compliance with any statutory
provision under section 706(1); while it will be prudent to ensure than any interim relief ordered
is enforceable without the Court’s taking on the problematic role of managing the agency’s
day-to-day operations, the cited section of SUWA does not bear on this Court’s subject matter
jurisdiction or the merits of plaintiff’s APA claims.


                                                   46
     Case 1:25-cv-00381-ABJ            Document 87      Filed 03/28/25     Page 47 of 112




APA claims in Counts Three and Four can be construed as challenging a final, concrete decision

to shut down the agency entirely. 12

       The fact that the effort was temporarily stymied or slowed down by the Court’s intervention

and entry of a consent order to freeze the situation does not mean that the decision is not yet

finalized or that it was ever abandoned. As will be explained in more detail below, notwithstanding

defendants’ considerable efforts to paper over what they were assiduously trying to accomplish in

one stroke before the Court ruled at the TRO hearing on February 14, their subsequent attempts to

deny what was afoot are at odds with the undisputed facts in the record and the documents

produced by both sides. Indeed, only two days after the agency’s Legal Officer – who like the

police chief in Casablanca who was “shocked, shocked” to find gambling going on – professed to

be surprised that some employees were not working, the White House posted a message on its

“Work for You Again” webpage boasting: “President Trump ordered the Consumer Financial

Protection Bureau – the brainchild of Elizabeth Warren, which funneled cash to left-wing

advocacy groups – to halt operations.” Pls.’ Ex HH [Dkt. # 60-1] (underlining in original). In




12     Count One could also be construed as being brought under section 706(2)(B) of the APA,
which authorizes the reviewing court to set aside agency action “contrary to constitutional right,
power, privilege, or immunity.” 5 U.S.C. § 706(2)(B).


                                                47
      Case 1:25-cv-00381-ABJ            Document 87        Filed 03/28/25       Page 48 of 112




sum, the impending closure of the agency is also an action that can be a subject of review under

the APA. 13

        B.      There are plaintiffs with standing to bring this action.

        “[T]o give meaning to Article III’s case-or-controversy requirement, the courts have

developed a series of principles termed ‘justiciability doctrines,’” which include standing,

ripeness, mootness, and the political question doctrine. Nat’l Treasury Emps. Union v. United

States, 101 F.3d 1423, 1427 (D.C. Cir. 1996), citing Allen, 468 U.S. at 750; Fla. Audubon

Soc’y v. Bentsen, 94 F.3d 658, 663 (D.C. Cir. 1996) (en banc) (standing is a necessary “predicate

to any exercise of our jurisdiction”). To establish Article III standing, a plaintiff must show that

it has “suffered an injury in fact” that “is fairly traceable to the challenged action of the defendant,”

and it must be “likely, as opposed to merely speculative, that the injury will be redressed by a

favorable decision.” Friends of the Earth v. Laidlaw Env’t Servs., 528 U.S. 167, 180–81 (2000),




13      Defendants have directed the Court to the memorandum opinion and order issued in Mayor
and City Council of Baltimore v. Consumer Financial Protection Bureau, Civ. No. MJM-25-458,
2025 WL 814500 (D. Md. Mar. 14, 2025). See Defs.’ Notice of Suppl. Auth. [Dkt. # 78] (pointing
out that “the court emphasized and explained that ‘[t]he distinction between discrete acts, which
are reviewable, and programmatic challenges, which are not, is vital to’ the APA’s ‘conception of
the separation of powers;’” and that “the Baltimore court rejected plaintiffs’ assertion that they
could ‘challenge a disembodied and unrealized [purported] decision to drain the CFPB of its
operating funds and reserves’”).

         The district court’s thoughtful analysis in that case does not bear on the resolution of this
one. The Baltimore lawsuit dealt solely with the funding of the agency, and in particular, Vought’s
February 8 letter to Jerome Powell and the fact that the CFO was communicating with the Federal
Reserve later that week about the possibility of transferring funds back to the Federal Reserve.
2025 WL 814500 at *12–14. Whether those circumstances were sufficiently final to be amenable
to judicial review does not aid in answering the questions addressed here: was the February 10
stop work order final, and has there been a reviewable decision to close the agency entirely?
Moreover, the court in Baltimore based its factual conclusions on what was taking place on the
declarations and documents before it; it did not have the benefit of the full evidentiary hearing held
in this case, which cast some of those declarations and documents in a distinctly different light.

                                                   48
     Case 1:25-cv-00381-ABJ             Document 87         Filed 03/28/25      Page 49 of 112




quoting Lujan, 504 U.S. at 560–61 (internal quotation marks omitted); see also Banner Health v.

Price, 867 F.3d 1323, 1333–34 (D.C. Cir. 2017).

          A plaintiff must show a personal interest in the dispute at all stages of litigation, Davis v.

Fed. Election Comm’n, 554 U.S. 724, 733 (2008), demonstrating standing “with the manner and

degree of evidence required at the successive stages of the litigation.” Lujan, 504 U.S. at 561.

When seeking a preliminary injunction, a plaintiff must show standing with specific facts

supported by affidavit or other evidence. See Elec. Priv. Info. Ctr. v. United States Dep’t of Com.,

928 F.3d 95, 104 (D.C. Cir. 2019) (holding that in the context of a preliminary injunction, courts

consider “whether the plaintiff has a substantial likelihood of standing – that is, whether the

plaintiff is likely to be able to demonstrate standing at the summary judgment stage”), quoting

Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015).

          While “plaintiffs must demonstrate standing for each claim that they press,” TransUnion

LLC v. Ramirez, 594 U.S. 413, 431 (2021), it is not necessary that each plaintiff in a case show

standing for each claim; a showing that one plaintiff has standing is sufficient. UAW-Lab. Emp.

& Training Corp. v. Chao, 325 F.3d 360, 362 (D.C. Cir. 2003) (“[UAW] clearly has standing, and

we need not consider whether the other plaintiffs do.”), citing Mountain States Legal Found. v.

Glickman, 92 F.3d 1228, 1232 (D.C. Cir. 1996). And plaintiffs need not await the harm to occur

before they can sue or obtain relief: “a person exposed to a risk of future harm may pursue forward

looking, injunctive relief to prevent the harm.” TransUnion LLC, 594 U.S. at 436, citing Clapper

v. Amnesty Int’l USA, 568 U.S. 398, 414, n.5 (2013); Los Angeles v. Lyons, 461 U.S. 95, 102

(1983).

          The six plaintiffs in this case include three member organizations – a union and an

association that both represent CFPB employees, and a membership-based advocacy group; two



                                                   49
        Case 1:25-cv-00381-ABJ           Document 87       Filed 03/28/25      Page 50 of 112




consumer advocacy groups; and the estate of an individual consumer who passed away during the

pendency of this case. See Am. Compl. ¶¶ 13–18. The Court finds that some of them have

presented specific facts supported by affidavit or other evidence to demonstrate that they have

standing, and therefore, it need not address them all at this stage.

                1.      Injury in fact

         An injury in fact is an invasion of a legally protected interest that is both (a) concrete and

particularized and (b) actual or imminent, as opposed to merely conjectural or hypothetical. Lujan,

504 U.S. at 560. An injury is particularized if it affects the plaintiff in a personal and individual

manner. Id. at 560 n.1.

                        (a)     Member Organizations

         The National Treasury Employees Union is a union that represents CFPB employees, Am.

Compl. ¶ 13; see Kaspar Decl. ¶ 2, and the CFPB Employee Association is an association of current

and former CFPB employees, including probationary employees who have already been fired.

Am. Compl. ¶ 18; Decl. of Christina Coll [Dkt. # 38-15] (“Coll Decl.”) ¶¶ 2–3. Defendants

contend that plaintiff CFPB Employee Association has not established standing. Defs.’ Opp. at

9–10.

         A union or other member organization can assert organizational standing on its own behalf,

associational standing on behalf of its members, or both. Equal Rts. Ctr. v. Post Properties, Inc.,

633 F.3d 1136, 1138 (D.C. Cir. 2011), citing Abigail All. For Better Access to Developmental

Drugs v. Eschenbach, 469 F.3d 129, 132 (D.C. Cir. 2006). An organization has standing on its

own behalf if it satisfies the same standing test that applies to individuals: an actual or threatened

injury in fact that is fairly traceable to the alleged illegal action and likely to be redressed by a

favorable court decision. Spann v. Colonial Vill., Inc., 899 F.2d 24, 27 (D.C. Cir. 1990). An



                                                  50
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 51 of 112




organization has associational standing if it can show that “(a) its members would otherwise have

standing to sue in their own right; (b) the interests it seeks to protect are germane to the

organization’s purpose; and (c) neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Int’l Bhd. of Teamsters v. Transp. Sec.

Admin., 429 F.3d 1130, 1135 (D.C. Cir. 2005), quoting United Food & Comm. Workers Union

Loc. 751 v. Brown Grp., Inc., 517 U.S. 544, 553 (1996) (internal quotation omitted).

       Actions by a defendant that “make it more difficult for” an organization “to accomplish

[its] primary mission . . . provide injury for purposes both of standing and irreparable harm.”

League of Women Voters of U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016); see also People for the

Ethical Treatment of Animals v. U.S. Dep’t of Agric., 797 F.3d 1087, 1093 (D.C. Cir. 2015) (“The

United States Supreme Court has made plain that a ‘concrete and demonstrable injury to [an]

organization’s activities – with the consequent drain on the organization’s resources – constitutes

far more than simply a setback to the organization’s abstract social interests’ and thus suffices for

standing.”), quoting Havens Realty Corp., 455 U.S. 363, 379 (1982) (holding that generalized

grievances or an abstract concern with a subject that could be affected by the case does not confer

standing, but a showing that alleged illegal action will increase the resources the group must devote

to programs independent of the lawsuit challenging the action does).

       The CFPB Employee Association has shown both organizational and associational

standing. The association’s membership is made up entirely of CFPB employees, “dedicated

public servants,” including probationary and term employees, and its purpose to advance CFPB

employees and the mission of the agency. Coll Decl. [Dkt. # 38-15] ¶¶ 2–3. Given that the

association’s existence depends on the existence of an agency workforce, the actions by defendants

to eliminate the CFPB would undoubtedly “make it more difficult for” the association “to



                                                 51
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 52 of 112




accomplish [its] primary mission.” League of Women Voters, 838 F.3d at 9. This is enough to

demonstrate an injury in fact to support organizational standing. See id.

       Moreover, the CFPB Employee Association has demonstrated associational standing.

Defendants terminated probationary and term CFPB employees en masse and without cause during

the week of February 10 and is poised to fire the remaining employees. Alex Doe Testimony,

Mar. 11 Tr. at 45; Alex Doe Decl. [Dkt. # 38-2] at 4. 14 Association members who have serious

health issues or have family members with serious health issues face the risk of concrete and actual

or immanent harm if they lose the health care coverage that comes with their jobs. See Coll Decl.

¶¶ 4–6 (identifying a fired term employee member, who recently learned that she could have a

chronic auto-immune condition and planned to have further medical testing in late March or early

April, expects that she will lose her CFPB health insurance during the critical stage of establishing

a treatment plan with her doctor); id. ¶ 7 (another member who is still employed but at risk of

termination is the insurance provider for the family; she has a spouse on full medical leave with

an ongoing serious medical condition and termination would result the inability to provide the

necessary medical care for them). These harms to its members are sufficient to demonstrate injury

in fact for the CFPB Employee Association.




14       The parties have both addressed the potential significance of the district court decision in
Maryland v. U.S. Dept. of Agric., No. JKB-25-0748, 2025 WL 800216 (D. Md. Mar. 13, 2025),
which ordered a number of federal agencies, including the CFPB, to reinstate probationary
employees and prohibiting further reductions in force without notice. Pls.’ Notice of Suppl. Auth.
[Dkt. # 80]; Defs.’ Response to Notice of Suppl. Auth. [Dkt. # 82] (attaching a declaration from
Adam Martinez, identified now as the Acting Chief Human Capital Officer of the CFPB, which
attests that the probationary employees have been reinstated). The Court appreciates the agency’s
compliance with a court order. But it does not find that the decision in a different case and a
different district, challenging a much broader set of executive actions, on grounds different than
those advanced here, being brought by the states as opposed to the organizations and individuals
found to have standing here, should control the interim management of this case, particularly given
the fact that the government has already appealed it, and the finality of it is uncertain.

                                                 52
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 53 of 112




       Defendants argue that in seeking a preliminary injunction, a plaintiff-association must

identify a particular member who has standing. Defs.’ Opp. at 37 n.11, citing Ranchers-Cattlemen

Action Legal Fund, United Stockgrowers of Am. v. U.S. Dep’t of Agric., 573 F. Supp. 3d 324, 334

(D.D.C. 2021).

       The Court is satisfied that the detailed descriptions of individual members’ circumstances

without their names are sufficient to show that at least one identified association member has

suffered an injury in fact, particularly given the personal medical information involved. 15

       Plaintiff National Association for the Advancement of Colored People, which is also a

membership organization, also has demonstrated the necessary injury in fact. The NAACPS’s

“mission is to achieve equality, political rights, and social inclusion by advancing policies and

practices that expand human and civil rights, eliminate discrimination, and accelerate the well-

being, education, and economic security of Black people and all persons of color.” Decl. of Keisha

D. Bross, Ex. 3 to Pls.’ TRO Mem. [Dkt. # 14-3] (“Bross Decl.”) ¶ 2. This includes working to

protect and educate its members on consumer financial protection issues, see Bross Decl. ¶¶ 3–7,

and the organization has provided evidence that this work has been harmed as a result of

defendants’ actions. The NAACP has been forced to cancel plans to provide CFPB resources at




15       NTEU’s members also have a personal stake in this matter. See Kaspar Decl. ¶ 18
(identifying an NTEU member whose spouse and child each received separate cancer diagnoses
with thirty days of each other and who faces imminent harm from the potential loss of health care
coverage and the inability to obtain life insurance coverage in the future); id. ¶ 22 (identifying one
employee who was very close to completing ten years in government prior to termination and will
likely lose eligibility for the Public Service Loan Forgiveness). But it is not necessary to address
defendants’ arguments that the district court lacks jurisdiction to hear challenges to employment
actions against members of NTEU, Defs.’ Opp. at 11–14, or that those claims constitute improper
“claim splitting” by the plaintiffs, id. at 7–9, at this time. While the actions against employees that
have been taken or threatened are among the facts alleged in the complaint, the Court need not
decide now whether it can or should address their legality when the case proceeds on the merits;
at this point, its focus is the closure of the agency as a whole.

                                                  53
     Case 1:25-cv-00381-ABJ         Document 87        Filed 03/28/25     Page 54 of 112




the association’s state-by-state conferences “to protect members in the respective state from

financial harm,” Bross Decl. ¶ 6, as well as an educational program offered with the CFPB for its

members on “housing discrimination, CFPB financial protection, and how to protect financial

rights.” Bross Decl. ¶ 7. These are actual harms that impede the work of the organization and

constitute an injury in fact. League of Women Voters, 838 F.3d at 9.

       Furthermore, NAACP members have suffered an injury in fact. Juanita West-Tillman is

an NAACP member who lost everything in the recent Altadena fire in California. Decl. of Juanita

West-Tillman [Dkt. # 38-14] (“West-Tillman Decl.”) ¶¶ 1–2. The CFPB had been providing direct

assistance to NAACP members who were victims of the California fires, including connecting

NAACP members with resources to help them get back on their feet, but this ended when the

CFPB stopped work in early February. West-Tillman Decl. ¶ 4. West-Tillman has been the target

of numerous financial scams and predatory schemes targeting fire victims, and she has “had a

difficult time determining what assistance was legitimate and what was fraudulent.” West-Tillman

Decl. ¶ 3. She planned to take advantage of and rely on CFPB’s assistance, but defendants’ stop

work order and other actions leave her and other NAACP members at risk of becoming victims of

financial predators. Id. ¶¶ 3–4. This is not mere speculation; it is a concrete, actual harm to

NAACP member West-Tillman.

                      (b)    Consumer Advocacy Organizations

       Plaintiffs National Consumer Law Center and Virginia Poverty Law Center have also

presented sufficient evidence to show they have suffered an injury in fact. The National Consumer

Law Center is both a customer of and a vendor to the Bureau. It researches, publishes, and

conducts presentations and seminars on matters that affect low-income consumers, and it relies

heavily on the CFPB’s reports and consumer database for that work. See Decl. of Richard Dubois,



                                               54
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25       Page 55 of 112




Ex. 6 to Pls.’ TRO Mem. [Dkt. # 14-6] (“Dubois Decl.”) ¶¶ 3–4, 10–13. 16 Losing this data will

undermine a key part of its mission and work, id., and this type of informational injury has long

been accepted as sufficient to confer standing. See Action All. of Senior Citizens of Greater Phila.

v. Heckler, 789 F.2d 931, 937–38 (D.C. Cir. 1986) (organization suffered cognizable injury when

government cut off “generous flow of information” on which it relied); Drs. for Am. v. Off. of Pers.

Mgmt., 2025 WL 452707, at *9 (D.D.C. Feb. 11, 2025) (“The denial of information these doctors

wish to use in their routine activities has inhibit[ed] . . . their daily operations and thereby caused

an injury both concrete and specific to the work in which they are engaged.”) (internal quotation

marks omitted) (alternations in original).

       Further, defendants’ termination of most of CFPB’s contracts, including its contract with

NCLC, is an injury in fact. The Bureau terminated its subscription to NCLC’s manual and

cancelled the three-part training series NCLC had been retained to provide to CFPB staff. See

Dubois Decl. ¶¶ 7–8 (“The CFPB’s contract is the largest single publications contract for NCLC

and significant[ly] assists in funding NCLC’s publications work.”); Feb. 11, 2025 Email from

CFPB Supervisory Contracting Officer Braden Sanner to NCLC, Pls.’ Ex. D [Dkt. # 60-1] at Page

10 of 107 (directing NCLC “to stop work on the subject contract immediately”). NCLC’s work

will increase as a result of defendants’ actions: in the absence of the CFPB, it will have to organize

more trainings and publish more materials; it will have to use more resources to support the legal

service providers that will have to handle the diverted consumer complaints; and it will have to




16      See 12 U.S.C. § 5493(b)(3)(A) (requiring the bureau to maintain a database of consumer
complaints and responses); 12 U.S.C. § 5499 (requiring all public data assets published by
the bureau to be made publicly available); see also 12 U.S.C. § 5493(b)(1), (3)(c), (d)(4); id.
§ 5496(c); 15 U.S.C. § 1646(a), (b); id. § 1632(d)(3); id. § 2809(a); and id. § 5512(c)(3) (requiring
reports from various units and the Director).


                                                  55
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 56 of 112




dramatically increase its advocacy in the states and redirect advocacy to multiple agencies and

litigation that would otherwise not be necessary. Dubois Decl. ¶ 15. This is injury in fact.

       The other consumer advocacy organization, the Virginia Poverty Law Center, works to

“break down systemic barriers that keep low-income Virginians in the cycle of poverty.” Decl. of

James Speer, Ex. 5 to Pls.’ TRO Mem. [Dkt. # 14-5] (“Speer Decl.”) ¶ 2. It relies on CFPB’s

Consumer Response unit to assist it in providing aid to consumers who call VPLC’s predatory

lending helpline, and “[i]f the complaint system goes away entirely or becomes so unreliable that

it cannot be depended upon, it will make fulfilling our consumer-protection mission much harder.”

Id. ¶¶ 9–10, 15–16, 24. This also constitutes injury in fact.

                       (c)     Individual Consumer

       Finally, at the time this action was filed, individual plaintiff Reverend Eva Steege was

engaged in receiving assistance from the CFPB when defendants stopped the Bureau’s work. At

the time, Steege was 83-years old and a Pastor of the Evangelical Lutheran Church. See Decl. of

Pastor Eva Steege, Ex. 2 to Pls.’ TRO Mem. [Dkt. # 14-2] (“Steege Decl.”) ¶ 1. She incurred

student loans when pursuing higher education at the Lutheran Theological Seminary. Id. ¶ 2.

When she submitted her February 13 declaration to the Court, Steege was in hospice care, and she

was only expected to live for another six months.     Id. ¶ 1–2. It was her hope to resolve the debt

and spare her family that burden after she died.      Id. ¶ 2. She had been trying to enroll in the

Public Service Loan Forgiveness Program to no avail, and contacted the CFPB for help. Id. ¶¶ 2–

3.

       On January 23, 2025, Steege met with CFPB employees and the Student Loan

Ombudsman, who explained that she qualified for not only loan forgiveness under the program,

but also a $15,000 refund of overpayments. Id. ¶ 4. Steege was scheduled to have a follow-up



                                                 56
      Case 1:25-cv-00381-ABJ            Document 87        Filed 03/28/25       Page 57 of 112




meeting on Monday, February 10, id., but after Vought issued the stop work order, and defendants

fired the Ombudsman, Pls.’ Ex. H [Dkt. # 60-1] (Barnard termination notice); Decl. of Julia

Barnard [Dkt. # 38-10] (“Barnard Decl.”) ¶ 2, the CFPB cancelled the meeting. Steege Decl. ¶ 7;

Barnard Decl. ¶ 14. Steege’s fear of leaving her surviving family members saddled with her

student loan debt came to pass on March 15, when she died. See Suggestion of Death [Dkt. # 83].

Now that her husband, Ted Steege, has been substituted as a plaintiff in her stead, Min. Order

(March 26, 2025) (granting motion to substitute), he has standing on his own behalf and on behalf

of her estate to pursue her claim. 17

                2.      Causation and Redressability

        “It is well established that ‘[c]ausation, or traceability, examines whether it is substantially

probable that the challenged acts of the defendant, not of some absent third party, will cause the

particularized injury of the plaintiff.’” Grocery Mfrs. Ass’n v. EPA, 693 F.3d 169, 176 (D.C. Cir.

2012) (alteration in original), quoting Fla. Audubon Soc’y v. Bentsen, 94 F.3d 658, 663 (D.C. Cir.

1996); see also Freedom Republicans, Inc. v. FEC, 13 F.3d 412, 418 (D.C. Cir. 1994) (“fair

traceability turns on the causal nexus between the agency action and the asserted injury”). Further,

plaintiffs must demonstrate that it is “‘likely,’ as opposed to merely ‘speculative,’ that their injuries




17      Defendants argue that the PSLF program is administered by the Department of Education,
see Defs.’ Opp. at 22–23, 38, but this is of no moment. The CFPB works hand-in-hand with the
Department to assist consumers trying to enroll in the PSLF; “[m]any of the issues that borrowers
like Pastor Steege face related to federal student loans are, in fact, related to the acts and practices
of private student loan servicing companies.” Barnard Decl. ¶¶ 11–12; see 12 U.S.C. § 5535(c)(2)
(providing that the student loan ombudsman works to “ensure coordination in providing assistance
to and serving borrowers seeking to resolve complaints related to their private education or Federal
student loans”) (emphasis added). And contrary to defendants’ assertion, see Defs.’ Opp. at 38,
Steege showed that her efforts to apply own were unsuccessful, and her time was indeed running
out. Steege Decl. ¶¶ 1–3. This is enough to establish injury in fact.


                                                   57
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25     Page 58 of 112




will be ‘redressed by a favorable decision.’” Lujan, 504 U.S. at 561, quoting Simon v. Eastern Ky.

Welfare Rights Org., 426 U.S. 26, 38 (1976).

       Defendants do not dispute that plaintiffs’ claimed injuries in fact are traceable to

defendants’ actions or that efforts to shut down the CFPB. The challenged actions – including the

stop work order from Vought, and the decision to shutter the Bureau, implemented by cancelling

CFPB contracts, terminating term and probationary employees, and preparing to execute

widespread RIFs – directly threaten the very existence of the CFPB Employee Association and

have placed its terminated employee members and their families at risk. They have caused the

NAACP to cancel planned trainings and programs and halted direct support Bureau staff were

giving to NAACP members trying to differentiate between legitimate financial support and

unscrupulous criminals preying on who were victims of the Altadena fires. They will cause both

NCLC and VPLC to expend more resources on their missions, and they have left Pastor Steege’s

heirs at risk of inheriting unresolved student debt. Nor do defendants dispute that a ruling from

this Court in plaintiffs’ favor would redress these injuries.

       Accordingly, Court finds that several plaintiffs have demonstrated that they meet the

requirements for Article III standing and that is has jurisdiction over this case. See TransUnion

LLC, 594 U.S. at 431; UAW-Lab. Emp. & Training Corp., 325 F.3d at 362.

II.    A PRELIMINARY INJUNCTION IS NECESSARY TO PRESERVE THE STATUS
       QUO.

       “A preliminary injunction is ‘an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.’” Sherley v. Sebelius, 644 F.3d 388, 392

(D.C. Cir. 2011), quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). “The

purpose of a preliminary injunction is merely to preserve the relative positions of the parties until

a trial on the merits can be held.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981). Rule 65


                                                 58
      Case 1:25-cv-00381-ABJ           Document 87         Filed 03/28/25      Page 59 of 112




authorizes a district court to issue interim relief to prevent irreparable injury and to preserve the

status quo while the district court assesses the merits of a case. Dellinger v. Bessent, No. 25-5028,

2025 WL 559669, at *3 (D.C. Cir. Feb. 15, 2025), citing Cobell v. Kempthorne, 455 F.3d 301, 314

(D.C. Cir. 2006) (“The usual role of a preliminary injunction is to preserve the status quo pending

the outcome of litigation.”) (cleaned up). A district court “ha[s] authority, from the necessity of

the case, to make orders to preserve the existing conditions and the subject of the petition” until it

can determine how to proceed, as “the law contemplates the possibility of a decision either way,

and therefore must provide for it.” Id. at *3, quoting United States v. Shipp, 203 U.S. 563, 573

(1906).

          “The standard for obtaining either a TRO or a preliminary injunction is identical.” Id.,

citing Gordon v. Holder, 632 F.3d 722, 723–24 (D.C. Cir. 2011). When considering a motion for

a preliminary injunction, the Court must consider whether the movant has met its burden of

demonstrating that: (1) it “is likely to succeed on the merits,” (2) it is “likely to suffer irreparable

harm in the absence of preliminary relief,” (3) “the balance of equities tips in [its] favor,” and

(4) an injunction serves the public interest. Winter, 555 U.S. at 20.

          For some time, the Court of Appeals adhered to a “sliding-scale” approach, where “a strong

showing on one factor could make up for a weaker showing on another.” Sherley, 644 F.3d at 392.

However, in Sherley, the Court explained that because the Supreme Court’s decision in Winter

“seemed to treat the four factors as independent requirements,” it had more recently

“read Winter at least to suggest if not to hold ‘that a likelihood of success is an independent, free-




                                                  59
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 60 of 112




standing requirement for a preliminary injunction.’” Id. at 393, quoting Davis v. Pension Benefit

Guar. Corp., 571 F.3d 1288, 1296 (D.C. Cir. 2009) (Kavanaugh, J., concurring). 18

       Whatever the status of the sliding scale analysis might be, the D.C. Circuit has clearly

stated that a failure to show a likelihood of success on the merits is sufficient to defeat a motion

for a preliminary injunction. See Ark. Dairy Coop. Ass’n, Inc. v. U.S. Dep’t of Agric., 573 F.3d

815, 832 (D.C. Cir. 2009); Apotex, Inc. v. FDA, 449 F.3d 1249, 1253–54 (D.C. Cir. 2006). As

another court in this district has observed, “absent a substantial indication of likely success on the

merits, there would be no justification for the Court’s intrusion into the ordinary processes of

administration and judicial review.” Navistar, Inc. v. EPA, Civil Action No. 11-cv-449 (RLW),

2011 WL 3743732, at *3 (D.D.C. Aug. 25, 2011) (alteration omitted), quoting Hubbard v. United

States, 496 F. Supp. 2d 194, 198 (D.D.C. 2007).

       Moreover, it remains the law in this Circuit that a movant must demonstrate irreparable

harm, which has “always” been a “basis of injunctive relief in the federal courts.” Sampson v.

Murray, 415 U.S. 61, 88 (1974), quoting Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 506–

07 (1959).

       The Court finds that a consideration of each of the factors supports the issuance of a

preliminary injunction in this case. The testimony before the Court and the declarations and

exhibits submitted by both sides have established that the requested relief is absolutely necessary



18      The Court of Appeals has not gone further to clarify whether the sliding scale approach is
inconsistent with Winter, and the manner in which courts should weigh the four factors “remains
an open question” in this Circuit. Aamer v. Obama, 742 F.3d 1023, 1043 (D.C. Cir. 2014). See
also League of Women Voters v. Newby, 838 F.3d 1, 7 (D.C. Cir. 2016) (“Because appellants
satisfy each of the four preliminary injunction factors, this case presents no occasion for the court
to decide whether the ‘sliding scale’ approach remains valid after Winter.”); Changji Esquel
Textile Co. v. Raimondo, 40 F.4th 716, 726 (D.C. Cir. 2022) (reiterating that the Court has not yet
decided the issue).


                                                 60
      Case 1:25-cv-00381-ABJ           Document 87         Filed 03/28/25     Page 61 of 112




to preserve the status quo so that the CFPB will still be standing when the Court reaches the merits

of this case.

     A.          Likelihood of Success of the Merits

                 1.      Plaintiffs are likely to succeed on their ultra vires and constitutional
                         claims in Count One.

          As defendants’ many citations to Article II of the United States Constitution imply, there

is an Article I. And Article I, Section 1 provides: “[a]ll legislative Powers herein granted shall be

vested in a Congress of the United States . . . .” U.S. Const. art. I, § 1.

          Article I, Section 8 lists the powers of Congress, including “[t]o regulate Commerce . . .

among the several States,” and “[t]o make all Laws which shall be necessary and proper for

carrying into Execution the foregoing Powers, and all other Powers vested by this Constitution in

the Government of the United States, or in any Department or Officer thereof.” U.S. Const. art. I,

§ 8. This power includes the authority to create new federal agencies and official positions. See

Buckley v. Valeo, 424 U.S. 1, 138 (1976) (under the Necessary and Proper Clause, “Congress may

undoubtedly . . . create ‘offices’”). As Chief Justice Marshall explained more than 200 years ago,

the framers included this provision “in a constitution, intended to endure for ages to come . . . to

be adapted to the many crises of human affairs.” M’Culloch v. State, 17 U.S. 316, 415 (1819)

(emphasis in original).

        Under the Constitution, the President does not have legislative authority. Instead, Article II

vests executive power in “a President of the United States of America,” who “shall take Care that

the Laws be faithfully executed.” U.S. Const. art. II § 3 (the Take Care Clause). The Supreme

Court has repeatedly emphasized the breadth of the President’s discretion to determine how this

should be done, but it has also drawn a clear demarcation between executing, or implementing, the

laws and making them in the first place.


                                                  61
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 62 of 112




               In the framework of our Constitution, the President’s power to see
               that the laws are faithfully executed refutes the idea that he is to be
               a lawmaker. The Constitution limits his functions in the lawmaking
               process to the recommending of laws he thinks wise and the vetoing
               of laws he thinks bad. And the Constitution is neither silent nor
               equivocal about who shall make laws which the President is to
               execute.

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952). After all, members of

Congress are democratically elected too.

       Congress exercised its legislative power in 2010 in response to a genuine, devastating

financial crisis. It created the Consumer Financial Protection Bureau and gave it a job to do:

               There is established in the Federal Reserve System, an independent bureau
               to be known as the “Bureau of Consumer Financial Protection”, which shall
               regulate the offering and provision of consumer financial products or
               services under the Federal consumer financial laws.

12 U.S.C. § 5491(a). The Dodd-Frank Act was quite specific about what that regulation would

entail, including: “establishing a single, toll-free telephone number, a website, and a database . . .

to facilitate the centralized collection of, monitoring of, and response to consumer complaints

regarding consumer financial products or services,” 12 U.S.C. § 5493(b)(3)(A); designating a

Private Education Loan Ombudsman within the Bureau “to provide timely assistance to borrowers

of private education loans,” id. § 5535(a); establishing an Office of Financial Protection for Older

Americans, id. § 5535(g)(3)(B), an Office of Service Member Affairs, id. § 5535(d)(2), and the

Office of Fair Lending and Equal Opportunity, id. § 5493(c); and researching, analyzing, and

reporting on market developments for consumer financial products and services and consumer

access to those products and services. See 15 U.S.C. §§ 1646(a), (b); id. § 1632(d)(3). In

accordance with the Constitution, these provisions mandating the existence of, and the functions

to be carried out by, the CFPB were enacted by the legislative branch and signed into law by the

President of the United States.


                                                 62
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 63 of 112




       Plaintiffs allege in Count One that defendants were intent on executing the current

President’s plan to eliminate the agency and to do so in a hurry, in violation of the statutory

imperatives of the Dodd-Frank Act and contrary to the constitutional limitations on executive

authority and the Take Care Clause. 19 Am. Compl. ¶¶ 75–80.

       It is fundamental to the separation of powers embodied in the Constitution that “[t]he

President’s power . . . must stem from either an act of Congress or from the Constitution itself.”

Youngstown, 343 U.S. at 585. Defendants do not even try to maintain that the Constitution or any

statute accorded the President the authority to dismantle the agency. Instead, in their February 24

opposition to the motion for preliminary injunction, they denied that it was happening at all, or

that there was any imminent risk of its happening in the near future if the Court declined to act.

               [O]n February 8, 2025, Russell Vought, Acting Director of the Consumer
               Financial Protection Bureau (“CFPB”), e-mailed all CFPB staff to direct
               that, unless “required by law” or “expressly approved by the Acting
               Director,” staff were not to take substantive actions that might reflect policy
               decisions inconsistent with new leadership’s views on the best way to meet
               the agency’s statutory responsibilities. As Acting Director Vought
               explained, he was “committed to implementing the President’s policies,
               consistent with the law, and acting as a faithful steward of the Bureau’s
               resources.”
                                              *       *       *



19      Plaintiffs characterize Count One as a claim seeking “non-statutory review of official and
agency action,” an effort to “enjoin[] and declare unlawful official action that is ultra vires.” Am.
Compl. ¶ 75. As a “weapon in the arsenal for attacking federal administrative action,” an ultra
vires claim requires the Court to determine whether defendants “plainly act[ed] in excess of [their]
delegated powers and contrary to a specific prohibition in the statute that is clear and mandatory.”
Fed. Express Corp. v. U.S. Dep’t of Commerce, 39 F.4th 756, 763 (D.C. Cir. 2022), quoting Nyunt
v. Chairman, Broad. Bd. of Governors, 589 F.3d 445, 449 (D.C. Cir. 2009). The count complains
that defendants overstepped both the constitutional and statutory limitations on their authority:
paragraph 76 invokes the Take Care Clause in Article II of the Constitution; paragraph 79 of the
amended complaint alleges that “[t]he CFPB was established as a federal agency by Congress by
statute, the Dodd-Frank Act, signed into law in 2010, and can be eliminated only by Congress”;
and paragraph 80 asserts that “[d]efendants’ actions to eliminate the CFPB exceed executive
authority, usurp legislative authority conferred upon Congress by the Constitution, defendant
Vought was not lawfully appointed, and his actions are ultra vires and should be enjoined.”

                                                 63
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 64 of 112




               Given . . . disruptive protests involving the CFPB’s own staff, CFPB
               leadership has closed the CFPB Headquarters Building and tightened staff
               supervision, making sure that they are focused only on aspects of the
               mission that are, in fact, urgently required by law, as determined by the
               Chief Legal Officer. Under this internal procedure, work requests have
               been approved to allow the CFPB to maintain its statutory obligations.

               Remarkably, the CFPB employee groups and other Plaintiffs now spin these
               actions and others as being part of a “coordinated campaign by the new
               administration to eliminate the” CFPB. But President Trump has nominated
               Jonathan McKernan . . . to be the new CFPB Director, and the Senate
               Banking Committee will hold a hearing on his nomination this week –
               actions that are inconsistent with Plaintiffs’ view of current events.
               Similarly, as Acting Director Vought noted in a letter to the Federal
               Reserve, the “Bureau’s new leadership will run a substantially more
               streamlined and efficient bureau[.]” The predicate to running a “more
               streamlined and efficient bureau” is that there will continue to be a CFPB.

Defs.’ Opp. at 1–2 (internal citations and footnote omitted) (alteration in original). This rosy

depiction of events, designed to assuage the Court, was accompanied by the February 24, 2025

Declaration of Adam Martinez, the Chief Operating Officer of the CFPB, First Martinez Decl.,

which was a carefully worded and highly selective account that was immediately contradicted by

a second series of declarations and exhibits submitted by the plaintiffs. The defendants’ witness

was then placed in the awkward position of submitting another declaration, in which he

acknowledged the accuracy of the facts set forth by plaintiffs’ declarants, including their accounts

of his own statements, but he still voiced the assurance that the agency was complying with its

statutory obligations. See Second Martinez Decl.

       The plaintiffs and the defendants have both provided the Court with numerous exhibits –

communications within the CFPB and with OPM and other third parties, such as contractors – and

there is no dispute as to their authenticity for purposes of this motion. In short, there is no dispute

as to the facts of what took place and what was said; the parties differ as to what it all means.




                                                  64
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 65 of 112




       It is now clear to the Court that the omissions from the first declaration rendered it to be

highly misleading, if not intentionally false. Defendants’ initial effort to persuade the Court in

their opposition that employees were hard at work on their statutory duties even after they were

ordered to stand down on February 10 has been shown to be unreliable and inconsistent with the

agency’s own contemporaneous records, and the defendants’ eleventh hour attempt to suggest

immediately before the hearing that the stop work order was not really a stop work order at all was

so disingenuous that the Court is left with little confidence that the defense can be trusted to tell

the truth about anything.

       After consideration of the record as a whole, then, including all of the declarations and

exhibits submitted by both sides, and the testimony introduced by both sides at the hearing, the

Court finds that it is likely that plaintiffs will succeed on the merits. The evidence reveals that:

the defendants were in fact engaged in a concerted, expedited effort to shut the agency down

entirely when the motion for injunctive relief was filed; while the effort to do so was stalled by the

Court’s intervention, the plan remains unchanged; and the defendants have absolutely no intention

of operating the CFPB at all. While the President is free to propose legislation to Congress to

accomplish this aim, the defendants are not free to eliminate an agency created by statute on their

own, and certainly not before the Court has had an opportunity to rule on the merits of the

plaintiffs’ challenge.

                               (a) The agency was in shut down mode as of February 10.

       In his first declaration, Adam Martinez characterized the February 3 email from the then

Acting Director of the CFPB, Secretary of the Treasury Bessent, and the February 8 email from

the current Acting Director, Russell Vought, as being consistent with typical practice during a

Presidential transition. See First Martinez Decl. ¶¶ 2, 3, 11 (“It is not unusual for these types of



                                                 65
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25     Page 66 of 112




steps to be taken at an agency at the beginning of a new administration and during the transition

period for new leadership.”). He described the February 10 email as a communication providing

both validation that the building was closed and “instructions regarding work tasks.” Id. ¶ 14. He

averred that “[s]ince the arrival of the Acting Director, the new leadership is engaging in ongoing

decision-making to assess how to make the Bureau more efficient and accountable. Our leadership

has worked to comply with statutorily required functions . . . . ” Id. ¶19. The declaration noted

that on Saturday, February 8, Vought’s first day on the job, the new Acting Director wrote a letter

to the Chair of the Federal Reserve Bank to say that the agency would not need any funds for the

third quarter of 2025. Id. ¶ 27, citing Ex. G to First Martinez Decl. It recounted that the agency

headquarters building was closed on February 9, see Feb. 9 Email, and Martinez asserted that

“[t]he closure of the CFPB’s Headquarters pursuant to the February 9 and 10 emails has not

prevented the CFPB from performing statutory functions.” First Martinez Decl. ¶ 20.

       But the declaration makes no reference to the fact that Vought’s February 10 email to all

employees contained the directive, “[p]lease do not perform any work tasks.” See Feb. 10 Email

(emphasis added).

       In fact, as Martinez acknowledged during his testimony, by February 10, the agency was

barreling full speed ahead in an effort to dismantle the agency completely by the end of the week.

At the hearing, primarily on cross-examination, Martinez described a succession of circumstances

that bore no resemblance to the impression his declaration had been drafted to convey. The work

stoppage order was issued on Monday the 10th, and according to Martinez, effective that day,

“most employees were taking administrative leave;” in fact, they were “told to take it.” Martinez

Testimony, Mar. 10 Tr. at 52. See also Feb. 14 email from Human Capital Operations Manager

with Updated Timekeeping Instructions, Pls.’ Ex. J [Dkt. # 60-1] at Page 27 of 107; Pfaff



                                                66
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 67 of 112




Testimony, Mar. 11 Tr. at 76 (testimony of Chief of Staff for the Office of Consumer Response:

“We closed our laptop lids and walked away.”). 20

       A meeting with OPM, the agency that was also under the control of Russell Vought, was

convened that same day, to plan and execute a full-scale Reduction in Force. See Martinez

Testimony, Mar. 10 Tr. at 128. At the meeting, Martinez explained to his team that the CFPB was

going to fire “the vast majority of its employees,” and that new leadership was asking that it be

accomplished “as quickly as possible.” Id. at 126–28. Agency employees who were still within

their one-year probationary period were fired that Monday, and those still within their two-year

probationary periods were fired by Tuesday the 11th. Id. at 45, 128. This affected approximately

75 to 85 people. Mar. 10 Tr. at 51; see also Diotalevi Decl. [Dkt. # 41-1] ¶ 4.

       Also on February 11, Mark Paoletta, who had been identified in the February 10 email as

the Chief Legal Officer of the CFPB, sent an email to Gueye Jafnar, the agency’s Chief Financial

Officer, Martinez, the Chief Operating Officer, and Jordan Wick, one of the DOGE employees

who by then had been deputized as an employee of the CFPB, saying:

               On behalf of Acting Director Vought, I have reviewed CFPB
               contracts and authorize and direct the cancellation of all contracts in
               the following divisions: Enforcement (102 contracts), Supervision
               (16 contracts), Consumer Response (20 contracts), Office of
               Director (33 contracts), and Legal Division (all except 2 contracts
               . . .). Further, on behalf of the Acting Director, I direct the
               cancellation of the contract for concrete repairs.




20      The new leadership found out almost immediately that the agency’s Office of Research
was responsible for calculating the Average Prime Offer Rate (“APOR”), an essential piece of data
for banks and mortgage lenders, and as of 7:15 p.m. on the evening of the 10th, Chief Legal Officer
Mark Paoletta directed that the work to publish it would continue. See Defs.’ Ex. 3 [Dkt. # 56-1]
at Page 4–5 of 116, CFPB_00004–5. But this did not interrupt the effort to close the agency down
in any way.


                                                 67
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 68 of 112




Defs.’ Ex. 4 [Dkt. # 56-1] at Page 6 of 116, CFPB_0006. See also Pls.’ Ex. A [Dkt. # 60-1]

(Feb. 11 “Urgent Action” email to contracting officers: “We need to get these Termination Notices

out ASAP.”). The record reflects that notices of cancellation started going out that day. See, e.g.,

Pls.’ Ex. D [Dkt. # 60-1] (Feb. 11 email to NCLC referencing the “blanket Stop Work Order” and

notifying the organization to stop work on the contract immediately). See also Charlie Doe Decl.

¶¶ 3–4 (“instructions to contracting officers did not reflect a change in policy direction, but rather

a wholesale termination of the contracts needed to keep the CFPB running,” and contracting

officers were told to work overtime to do so despite the work stoppage).

       While the CFO gave various offices the opportunity to identify those contracts that directly

supported a statutory requirement, “meaning that we would not be able to meet a statutory

requirement without [it],” Pls.’ Ex. F [Dkt. # 60-1], some of those contracts were terminated

anyway. See Decl. of Matthew Pfaff (“First Pfaff Decl.”) [Dkt. # 38-7] ¶ 27 (“I reviewed the list

of contracts managed by Consumer Response and determined that five contracts directly supported

a statutory requirement. All five contracts were nevertheless terminated for convenience . . . .”). 21

And the termination letters did not include instructions to vendors to preserve their data or records.

Mar. 10 Tr. at 174.

       By Thursday the 13th, 130 employees with “not to exceed” fixed terms had been told to

pack their bags. See Diotalevi Decl. ¶ 14; Mar. 10 Tr. at 52. 22 This included the employee who

served in the statutorily mandated position of Student Loan Ombudsman. Pls.’ Ex. H. Also by



21      Martinez testified on direct that there were some instances in which staff members were
able to contact Paoletta and request permission to reactivate; he characterized those as “a couple
of high-priority issues that would have been devastating had it stopped.” Mar. 10 Tr. at 77.

22     The workforce was also reduced as some employees accepted the “fork-in-the-road” early
retirement option. Mar. 10 Tr. at 51.


                                                 68
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25     Page 69 of 112




February 13, the agency had established a tip line through which banks and other stakeholders in

the community could report enforcement or supervision staff who were still asking them for

information. Diotalevi Decl. ¶ 6; Pls.’ Ex GG [Dkt. # 60-1]. 23

       On that Thursday, there was a lot of work to do to effectuate the RIF. Alex Doe’s Human

Capital team had been directed to help with the effort. The record contains her declaration, and

she testified at the evidentiary hearing as well. See Alex Doe Decl. [Dkt. # 38-2]; Mar. 11 Tr. at

33–67. She recounted that at a meeting on Thursday the 13th, Martinez explained that the agency

was in “wind-down mode,” and its statutory functions were going to be transferred to other

agencies. Decl. of Blake Doe [Dkt. # 38-3] ¶ 3; Second Martinez Decl. ¶ 3 (confirming Blake Doe

declaration as accurate); Mar. 11 Tr. at 39. The plan was to terminate the agency’s approximately

1200 employees by eliminating whole offices, divisions and units, and RIF notices were being

prepared that day. Mar. 11 Tr. at 40; Alex Doe Decl. ¶ 3. Jeremy Lewin, another DOGE

representative who had become a CFPB employee, told the group that they wanted the formal

notices to go out by the 14th. Mar. 11 Tr. at 41–42. According to Alex Doe, and as confirmed by

Martinez, the Bureau was to “reduce altogether” in a second step sixty to ninety days after that.

See Mar. 10 Tr. at 129–30 (Martinez describes that account as “absolutely correct” based on the

facts he had at the time). See also Pls.’ Ex. JJ [Dkt. # 66-1] (“CFPB Memo to Michael Mahoney,

OPM”) at Page 9–11 of 60 (identifying 1175 positions to be included in the first RIF). At

approximately 10:00 p.m. that evening, Jordan Wick reminded Martinez that Acting Director




23      That same day, the CFO was already in communication with the Federal Reserve regarding
the Bureau’s ability to return money to either Treasury or the Federal Reserve if necessary. See
Pls.’ Ex. E [Dkt. # 60-1].


                                                69
     Case 1:25-cv-00381-ABJ           Document 87       Filed 03/28/25     Page 70 of 112




Vought was expecting an update by 10:00 a.m. the next day. Pls.’ Ex. JJ [Dkt. # 66-1] at Page 6

of 60.

         To achieve the desired level of speed, it was necessary to ask OPM for an exception from

the usual ninety-day notice period, and to give the employees only thirty days, and that request

was submitted on Thursday. See CFPB Memo to Michael Mahoney, OPM, Pls.’ Ex. JJ. In that

document, the CFPB identified Vought’s stop work order as the extraordinary circumstance that

would justify such haste. Id. at Page 11 of 60. Martinez was informed via email that evening that

the request for the exception had been granted, and the formal approval was transmitted on

February 14. See Pls.’ Ex. JJ.

         On Friday morning, then, the team was awaiting the completion of the OPM documents

that would be attached to the RIF notices. The CFPB RIF team gathered at 8:30 a.m. to review

templates provided by OPM, and along with Martinez, they met with OPM at 10:00 a.m. Alex

Doe Testimony, Mar 11 Tr. at 47.

         Just after 12:00 a.m. that morning, though, the plaintiffs had filed an amended complaint

coupled with a motion for a temporary restraining order. Am. Compl. By approximately 11:00

a.m., the Court had set a scheduling hearing for 2:00 p.m. that afternoon. Martinez was notified

by email of this development at approximately 1:36 p.m.; the sender noted, “[w]hile we will

continue preparing, it’s just a consideration when deciding when to send out notices.” Pls.’ Ex.

LL [Dkt. # 66-1]. And, indeed, it was a “consideration.” As Alex Doe reported, members of the

termination team contacted OPM immediately and insisted that their counterparts speed up:




                                                70
      Case 1:25-cv-00381-ABJ         Document 87       Filed 03/28/25      Page 71 of 112




“Thanks for everything you’re doing, but we need the last set of attachments now. We cannot

wait until COB.” Pls.’ Ex. MM [Dkt. # 66-1] (emphasis added); 24 see also Mar. 11 Tr. at 52.

       The hearing began as scheduled, and while the lawyers were addressing the Court or

conferring with each other during a break that had been provided to see if they could work out a

short-term solution themselves, the RIF efforts proceeded apace. At 2:27 p.m., a list of the

employees to be fired was transmitted. Pls.’ Ex. NN [Dkt. # 66-1]. 25 But they didn’t get it done

in time.

       By 5:00 p.m., the Court had docketed a consent order negotiated by the parties, which

provided that until the Court ruled on plaintiffs’ motion, which was to be deemed a motion for

preliminary injunction, the defendants could not: delete, destroy, or impair any data, database or

other CFPB record; terminate any CFPB employee, except for cause related to the specific

employee’s performance or conduct; issue any notice of reduction-in-force to any CFPB

employee; or transfer, relinquish, or return any money from the CFPB’s reserve funds. Order (Feb.

14, 2025) [Dkt. # 19]. Nonetheless, the CFBP RIF team and OMB continued to exchange

documents and nail down the technical details as to how the necessary forms would be completed

until approximately 10:00 pm. Alex Doe Testimony, Mar. 11 Tr. at 54; see Pls.’ Ex. QQ [Dkt.

# 66-1] (“[W]e will need to key these over the weekend so they are there Tuesday morning.”).




24     See Martinez Testimony, Mar. 10 Tr. at 134–35 (Martinez confirms names redacted from
the exhibit were members of the termination team).

25     Thirteen employees of the Office of Director/Office of Civil Rights were excepted from
the proposed RIF because “[i]n a February 14, 2025, meeting with OPM staff CFPB clarified this
competitive area should be removed from the request.” Pls.’ Ex. OO [Dkt. # 66-1] at 28 of 60.

                                               71
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25      Page 72 of 112




       Martinez, who had provided a sworn declaration attesting to his personal familiarity with

the transition process for new administrations, had to acknowledge at the hearing that none of this

was normal.

               THE COURT: . . . [A]t the beginning of your testimony we talked about the
               initial email from the secretary of Treasury being [a] pretty normal, kind of
               transitional kind of email. And the first email from the Acting Director
               Vought also, generally, pretty typical. Would you say that sending out an
               order that says “Do no work” is typical?

               THE WITNESS: No.

               THE COURT: Would you say that canceling all the contracts before the
               analysis as to whether these are duplicative, worthwhile, not worthwhile is
               typical?

               THE WITNESS: No.

               THE COURT: Would you say that firing all probationary employees and
               two-year employees from the get-go is typical?

               THE WITNESS: No.

               THE COURT: Would you say that trying to implement a RIF without
               notice before the new director is even put in place is typical?

               THE WITNESS: No.

               THE COURT: And would you say putting the rest of the employees on
               administrative leave with an order to do no work is typical?

               THE WITNESS: No.

Mar. 10 Tr. at 121–22. He also conceded on cross examination that while he had stated in his

declaration that “new leadership” was working to comply with its statutory functions, “winding

down an agency would not be consistent with statutory obligations,” and that they were in fact

winding down during the week of February 10. Mar. 10 Tr. at 126.




                                                72
     Case 1:25-cv-00381-ABJ          Document 87       Filed 03/28/25      Page 73 of 112




                       (b)    The shutdown did not stop after the consent order was entered
                              on February 14; the efforts continued as if nothing had changed.

       The record also establishes that even with the consent order in place, the effort continued

over the next two weeks; the work stoppage remained in effect, and the shutdown was very much

alive, although temporarily stalled by the Court.

       Employees remained on administrative leave, and they were not performing their work

duties. See Second Pfaff Decl. [Dkt. # 48-2] ¶ 4 (“None of the activities listed in my original

declaration, including responding to escalated issues via the Escalated Case Management Team,

are currently happening.”).

       On February 18, Martinez was informed by the CFPB Chief Information Officer that the

unavailability of the agency’s home page online was no accident.

               My understanding is that the decision to delete the home page was made by
               Acting Director Vought, and it was not an error made by the members of
               the DOGE team.

Pls.’ Ex. L [Dkt. # 60-1].

         Furthermore, during the week of February 17, the RIF was still being planned and

discussed. Alex Doe, who had a poised and calm, but firm demeanor, and came across as

extremely credible, testified that the RIF team met again on Wednesday, February 19. Mar. 11 Tr.

at 54. Martinez was more focused on the transfer of functions at that meeting, “explaining that he

had had conversations with new leadership and the chief legal officer about what the wind-down

of an agency really meant, and that there were, you know, functions that would need to transfer,

and OPM was pressing us to identify where those would transfer and we did not yet have an

answer.” Alex Doe Testimony, Mar. 11 Tr. at 55.

               MR. GUPTA [counsel for plaintiffs]: Did he refer at this meeting to
               winding down the Agency?



                                                73
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 74 of 112




               DOE: He did.

               MR. GUPTA: What did you understand that to mean?

               DOE: Closing of the Agency. . . .

               MR. GUPTA: And he used that phrase, “the closure of the Agency”?

               DOE: He did.

Mar. 11 Tr. at 56–57.

       In the event there was any doubt about the intentions of the executive branch during this

period, on February 19, the President reiterated in an interview with CBS News that his

administration had “virtually shut down the out-of-control CFPB.” Ex. P to Roston/Scible Decl.

[Dkt. # 38-17], Lesley Stahl, Why the Consumer Fin. Protection Bureau is being targeted by

Trump, DOGE, CBS News (Feb. 23, 2025).

       Martinez supplied more details to agency staff during a meeting on Thursday, February 20.

Alex Doe testified:

               The next day we had an internal meeting with some human capital
               colleagues that are not part of the RIF team but we needed to loop them in
               . . . . And in that meeting, he was a lot more specific about what exactly the
               plan was for the Bureau. . . .

               Adam said there would no longer be a CFPB. He said that we were
               legitimately shutting down. He said that we would be wiped out within 30
               days. He said that the White House had instructed us to cancel all of our
               committees and advisory boards and travel cards and purchase cards and to
               only keep any contracts that were necessary to effectuate the closure of the
               Agency within 30 days. . . . Adam said there would be no positions to
               compete for.

               [MR. GUPTA]: No positions to compete for, you understood that to mean
               because the entire divisions would be eliminated?




                                                74
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 75 of 112




               [DOE]: Because the Agency would be eliminated. He was a lot more
               specific in that meeting that was just the CFPB.

Mar. 11 Tr. at 58–59. 26

       Just as Martinez’s second declaration confirmed the accuracy of Alex Doe’s, his testimony

was consistent with hers as well. He testified that there were meetings during the week of February

17 to talk about the RIF. His understanding was that “the vast majority of the workforce [would]

be terminated,” and he was talking with the acting leadership, whom he identified as Paoletta and

the DOGE personnel who had been designated as senior leaders of the CFPB, about who would

inherit the agency’s “administrative portfolio.” Mar. 10 Tr. at 142–44. He agreed that he told his




26     The declaration of another employee details what CFPB staff were told in similar terms:

               During meetings about the CFPB’s shut-down that took place between
               Monday, February 18 and Tuesday, February 25, staff were told by Senior
               Executives that the CFPB would be eliminated except for the five statutorily
               mandated positions; that the CFPB would exist in name only; and that, once
               this Court’s injunction was over, everything would need to be either
               removed from the building or destroyed. Staff were told by Senior
               Executives that the CFPB would no longer have an employee location and
               that data could not be stored at any CFPB location because there wouldn’t
               be any locations left. Staff were told that no DHS, OIG, GAO, OMB,
               Internal Controls, Congressional, or other compliance would be necessary
               because the CFPB would “not exist” and it would no longer be “our
               problem.”

Drew Doe Decl. [Dkt. # 38-5] ¶ 7; id. ¶ 10 (“One Senior Executive said that CFPB will become a
‘room at Treasury, White House, or Federal Reserve with five men and a phone in it.’”).

        Martinez did not vouch for the accuracy of Drew Doe’s account in his supplemental
declaration as he did for the declarations of Alex Doe and Blake Doe. But he did not dispute it
either. He offered that he was not aware of the identity of the “senior officials’ described and that
D. Doe “does not testify that those statements were premised on directive from Acting Director
Vought or the CFPB Chief Legal Officer.” The declaration also observed that D. Doe’s suggestion
that the agency was going to be reduced down to only five positions would be “inconsistent with
Acting Director Vought and the Chief Legal Officer’s directives.” Supp. Decl. of Adam Martinez,
[Dkt. # 47-1] ¶ 5.


                                                 75
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25      Page 76 of 112




colleagues at a meeting that week that entire divisions, offices and units were still going to be

abolished, and that “the impediment to going forward was this Court’s order on the 14th.” Mar.

10 Tr. at 145–46.

       Martinez confirmed that throughout that week, it was still the goal to dismantle the agency

“as fast as possible.” Mar. 10 Tr. at 149. Since the agency had received the requested approval

from OPM to provide its employees with only thirty days’ notice, he told his staff at the

February 20 meeting that the whole agency would be completely wiped out in thirty days. Mar. 10

Tr. at 150. He conceded at the March 10 hearing that he had no information about the fate of the

agency’s statutory functions, Mar. 10 Tr. at 149–50, and that but for the Court’s order, the agency

would already have been gone: the process to release the headquarters had begun, and the five

regional offices were being eliminated. Mar. 10 Tr. at 152–53. Martinez, who had been with the

agency since its inception, seemed to genuinely care about its mission, and as he saw it, once the

RIF was implemented, the situation would be irreparable; after the RIF, there would not be any

jobs the employees could compete for. Mar. 10 Tr. at 153.

       The paper record reflects a number of additional events occurring at a rapid-fire pace:

          On Thursday, February 20, Jordan Wick sent an email to Paoletta and Vought with the
           subject: “More contracts to cut.” (“Please see attached for the next tranche of contracts
           for which we recommend immediate termination – they’re composed of the following:
           . . . Consumer Credit Information Surveys and Panels, which will no longer be
           used . . . Various support services (user research and testing, financial mgmt., internal
           controls, and identity access software), all of which we can do without.”). Defs.’ Ex. 10
           [Dkt. # 66-2], CFPB_00121.

          A February 21 email from a CFPB Realty officer stated that as of that date, the “CFPB’s
           main focus was ‘moving out of [its] large headquarters building’ on a ‘very very tight
           time frame . . . (30 days).’” Diotalevi Decl. ¶ 15. The Bureau was also moving out of
           its regional offices, beginning with San Francisco. Id.

          Also on February 21, the Chief Information Officer wrote to Martinez that the FDIC
           was asking about the status of the agency’s statutorily required data collection under
           the Home Mortgage Disclosure Act, and stated “[w]e are doing our best effort to


                                                76
     Case 1:25-cv-00381-ABJ           Document 87       Filed 03/28/25      Page 77 of 112




           support the data collection, but it is at risk due to several contracts being terminated.
           We’ve requested that three of them be turned on, at least temporarily.” Defs.’ Ex. 6
           [Dkt. # 56-1] at Page 9 of 116, CFPB_0009.

          Notwithstanding the fact that the building was closed, on February 26, employees were
           informed that they would lose their ability to work remotely in two days. See Pls.’
           Ex. M [Dkt. # 60-1] (“The Citrix Virtual Desktop will be unavailable after Friday,
           February 28, 2025, at 11:59 PM EST.”). This is the program that enables employees
           to log in securely when they are not at a CFPB computer. Diotalevi Decl. ¶ 20.

          And on Thursday, February 27, employees were told that it was time to pick up their
           belongings for good. See Pls.’ Ex. O [Dkt. # 60-1] (“Subject: Pickup of Personal
           Belongings and Return of Equipment from the CFPB HQ . . . We recognize that you
           have personal property, work materials, and federal records in your office or cubicle.
           To prepare to vacate the building, the Operations team has packed up your personal
           belongings for pickup at 1700 G Street.”).

          By March 3, purchase cards were cut off. See Defs.’ Ex. 29 [Dkt. # 56-1], CFPB_0098.

       It was not until February 27, two weeks after the Court’s order concerning the deletion of

data, that the Chief Information Security Officer instructed agency staff to identify whether CFPB

data or records were at risk of being deleted due to contract terminations, Feb. 27 Email, Defs.’

Ex. 18 [Dkt. # 56-1] CFBP_00037, and a number of offices responded to express concerns about

the loss of data needed for litigation or EEO compliance and uncertainty about whether it was too

late to revive the contracts. See, e.g., Feb. 28 Email, Defs.’ Ex. 19 [Dkt. # 56-1] CFBP_00041;

Mar. 10 Tr. at 179–81. The testimony also revealed that GSA’s cut-off of purchase cards hampered

the agency’s ability to pay its bills and preserve historical data. See Mar. 10 Tr. at 183–84.

       The defendants have highlighted a number of emails to suggest that after the blanket orders

relating to work and contracts were issued on February 10 or 11, agency leadership circled back

and took steps to approve certain activities or reactivate specific contracts related to statutorily

mandated activities. The Court acknowledges that the new leadership relented in some

circumstances when its employees insisted that the agency was legally required to complete some

aspects of its work, see, e.g., Feb. 27 email from Paoletta to Office of Fair Lending, Defs.’ Ex. 13

                                                77
     Case 1:25-cv-00381-ABJ           Document 87       Filed 03/28/25      Page 78 of 112




[Dkt. # 56-1], CFPB_00029 (approving certain work, although the email contained the caveat,

“[a]ny action or communication to an outside party should be sent to me and Daniel Shapiro for

review and approval before being transmitted”), or when they discovered – after the notices to

terminate contracts had already been sent – that certain contracts clearly supported statutory

functions. See Feb. 20 Email, Defs.’ Ex. 51 [Dkt. # 66-2], CFPB_00120.

       These appropriate steps by the new leadership are a matter of record, but the Court cannot

find that they reflect that the ship changed course, or that the administration ever abandoned its

plan to shut the CFPB down. If anything, the scramble to revive legally required activities serves

to underscore how complete the shutdown was as of February 10, and how little thought and

attention was given to any particular contract or agency activity before it was eliminated. See Mar.

10 Tr. at 71–72 (“THE COURT: So is it fair to say that there’s thought going into it but only after,

it’s like shoot first and ask questions later? MARTINEZ: That’s what it felt like.”).

       Also, a close examination of the materials in the record reveals that the approvals were

narrow and grudging, and primarily related to operations – databases, phones, facilities, and human

resources – but not the staffing or outward facing communications that had been in place to serve

consumers directly. In other words, when it was doing anything, the agency was largely doing

what was statutorily mandated to manage itself internally:         responding to FOIA requests,

maintaining records, complying with regimens governing employment and accommodating

disabled employees. See, e.g., Feb. 21 Email from Martinez to Sonya White, Defs.’ Ex. 5 [Dkt.

# 56-1] CFPB_00007 (“Legal Division is authorized to support all operational matters being

exercised on behalf of our new leadership and our regulatory/statutory requirements, including:

Procurement/Contract Actions, Financial Management Actions, Human Capital Actions, Labor

Relations Actions, Technology and Infrastructure Support, Administrative Operations Actions



                                                78
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 79 of 112




(Security, Facilities, Maintenance), Data Governance/Administration, EEO Processing Counsel

Support, Reasonable Accommodation Counsel Support,” but “mission related support should be

coordinated directly through Mark or Dan.”) (emphasis added); see also Feb. 27 Email, Defs.’

Ex. 26 [Dkt. # 56-1], CFPB_00062 (specifying that External Affairs team has been “1) reviewing

contracts for termination, (2) terminating the advisory councils and (3) prepping and packing 1700

G Street due to the termination of the lease, a few other things: unless otherwise directed, we will

abide by the guidance issued and will continue to raise items that are statutorily mandated”).

       It is also notable that when the agency solicited information about contracts that needed to

be revived to fulfill statutory directives, those communications were not particularly inviting.

Employees were admonished that the agency was taking a “very narrow approach,” and that “if

you’re providing justifications, please be prepared to defend those to external parties.” See, e.g.,

Mar. 3 Email, Defs.’ Ex. 29 [Dkt. # 56-1] CFPB_00098–99 (“In general we are very narrowly

turning back contracts (or portions of contracts) that directly support statutory requirements. . .

Specifically can you outline for each contract what (statutorily required) action will not be able to

be accomplished at all without the contract? I can’t stress enough that this needs to be as specific

as possible. We’ll need to be prepared to have someone on the team defend this justification to

external parties. All PCards across the bureau have been cancelled. We’ve been authorized to

reopen one for the entire bureau with a very limited limit so we are triaging the requests as they

come in.”). If that wasn’t sufficiently chilling, the CFO added, “[w]e’ve been routinely asked to

provide for names of the people providing the justification.” Mar. 3 Email, Defs.’ Ex. 38 [Dkt.

# 56-1] CFPB_00096.

       Meanwhile, the effort to identify additional contracts to cancel remained underway. Defs.’

Ex. 52 [Dkt. # 66-2] CFPB_00121. And while the Chief Financial Officer stated, “[w]e’re getting



                                                 79
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 80 of 112




a lot of requests to turn contracts back on. I will send out guidance soon for your awareness,”

Mar. 3 Email, Defs.’ Ex. 38 [Dkt. # 56-1] CFPB_00096, the Chief Operating Officer, Martinez,

testified that he did not believe that any such guidance had been provided. Mar. 10 Tr. at 85. 27

       In the weeks after February 14, while limited activities related to the shutdown continued

to move forward, and while the basic operational support needed as the agency tottered on its last

legs was being provided, most staff members were complying with the February 10 directive and

not performing their ordinary work to advance the mission of the agency.              On Thursday,

February 26, plaintiffs submitted a declaration from Matthew Pfaff, the Chief of Staff of the Office

of Consumer Response, “the unit responsible for ‘the centralized collection of, monitoring of, and

response to consumer complaints,’ as well as sharing data, as required by 12 U.S.C.

§5493(b)(3)(A)-(D).” 28 First Pfaff Decl. ¶ 1. He took issue with the representations in the first

Martinez declaration, and he reported that Consumer Response complied with the Acting

Director’s February 10 direction that staff “not perform any work tasks.”

               As a result of this compliance, the operations related to the Consumer
               Complaint Database are not continuing. And many of the contracts needed
               for work related to the Consumer Complaint database have not remained
               intact and operational.




27      It turned out that reactivating contracts was easier said than done. See Feb. 28 Email, Defs.’
Ex. [Dkt. # 56-1] CFBP_00040 (“Some vendors that were asked to ‘turn back on’ operations were
able to, others cannot be back on so easily.”).

28      “When individuals or their representatives submit a complaint to the CFPB, the complaint
is submitted to and included in a case management system. This case management system allows
consumers, companies, and the CFPB to securely share information and engage in the complaint
process. This case management system is also how both the CFPB and companies can deliver
timely responses to consumers as required by law. Information from the case management system
populates other systems to meet data sharing requirements with federal and state agencies, as well
as with the public via the Consumer Complaint Database. People – both federal employees and
contractors – make this entire operation run successfully.” First Pfaff Decl. ¶ 8.


                                                 80
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 81 of 112




Id. ¶ 9 (internal quotations omitted) (emphasis in original). He averred that on February 13, he

prepared a list of the teams within Consumer Response that “align to specific statutory

obligations,” and that as of the 27th, none of those teams had been activated to work. “As a result,

the complaint handling operation has experienced a significant disruption”:

               Complaints referred by congressional offices, states, and most federal
               agencies are not being review and sent to companies. These complaints
               require federal staff to review and process.

               Complaints about companies that are not yet participating in the complaint
               program are not being addressed. These complaints require federal staff
               review and a manual invitation to participate in the program. . . .

               Incomplete complaints are not being processed or worked by anyone. These
               complaints require federal staff to conduct outreach to consumers for
               additional information. . . .

               Complaints are not being “monitored.” Consumer Response has a team of
               subject matter experts who monitor complaints to ensure that consumers are
               receiving timely, accurate, and complete responses to their complaints.
               Subject matter experts also monitor complaints for emergent issues across
               market and at companies. This ongoing monitoring provides a necessary
               check on the complaint program to ensure that consumers receive
               meaningful responses. Without this work, company responses are likely
               declining in quality. . . .

               Escalated issues are not being addressed. Consumer Response’s Escalated
               Case Management team responds to consumers who are facing imminent
               foreclosure, may be a risk to other or themselves, and other sensitive issues.

               Complaint systems, including the case management system and systems for
               sharing data, are not being maintained. Complaint systems require federal
               and contractor staff to monitor and respond to issues affecting system
               health. Automatically generated error notices indicate the system has
               already experienced problems. If these errors are not addressed, at some
               point, the system will break entirely. Additionally, companies that receive
               complaints through this system have received error notices that they are
               unable to export complaints out of the system, which will impede their
               ability to review and respond to complaints.

               Stakeholder support tickets are not being resolved. Consumer Response
               receives hundreds of support tickets every month from company,
               congressional, and government stakeholders. Support tickets range from
               companies trying to remedy potential privacy concerns to resetting


                                                81
     Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 82 of 112




               passwords. These tickets are not being reviewed and resolved, which is
               almost certainly frustrating the ability of stakeholders to complete their
               work. . . .

               Complaints submitted by servicemembers and their families are not being
               monitored. It is my understanding that no one from the Office of
               Servicemember Affairs has been activated to work.

               Student loan complaints are not being reviewed and informally resolved.
               The Student Loan Ombudsman role is vacant. Mr. Martinez seemingly
               suggests that the CFPB Ombudsman is an appropriate substitute.

               Audits and quality controls have halted. Consumer Response maintains an
               audit function that ensures complaint processes and procedures are being
               followed, and vendors are appropriately interacting with members of the
               public.

               Activities to monitor and safeguard the system to prevent bad actors from
               misusing it have stopped.

First Pfaff Decl. ¶¶ 12–13, 15, 17, 19–21, 23–26.

       It was not until after that, on Thursday, February 27, that “the Chief Legal Officer activated

work related to compliance with the agency’s critical statutory responsibilities in the area of the

Office of Consumer Response.” Second Martinez Decl. ¶ 8. During the 17 days when that work

had been prohibited, though, 16,000 unanswered complaints had accumulated. Pfaff Testimony,

Mar. 11 Tr. at 74; see also Mar. 3 Email, Pls.’ Ex Z [Dkt. # 60-1] at Page 73 of 107.

       Late that afternoon, Adam Martinez circulated an email to the Office of Research,

Monitoring, and Regulations concerning “Statutory/Regulatory Work,” which hearkened back to

Acting Director Vought’s February 8 instructions and omitted any reference to the February 10

stop work:

               Thank you for your patience as we continue through transition and our new
               leadership's review of the Bureau.




                                                82
     Case 1:25-cv-00381-ABJ          Document 87       Filed 03/28/25      Page 83 of 112




               On February 8 (email attached), our Acting Director outlined several areas
               where work stoppage was being implemented at the Bureau. He did exclude
               areas approved by him or required by law. We want to ensure that you are
               aware that statutorily required work and/or work required by law are
               authorized.

               Your teams are authorized to continue carrying out these responsibilities.
               Any actions or communications with outside parties must be sent to Mark
               Paoletta, Chief Legal Officer and Daniel Shapiro, Deputy Chief Legal
               Officer.

               Should you have any questions at all, please feel free to contact our Chief
               Legal Officer as directed by the Acting Director. Alternatively, you are
               always welcome to reach out to me if needed. I am happy to share guidance
               provided to other leaders and employees regarding authorized work,
               including my own team.

Feb. 27 Email, Pls.’ Ex. P [Dkt. # 60-1] at Page 39 of 107; Defs.’ Ex. 16 [Dkt. # 56-1] at Page 34

of 116, CFPB_00034. Similar emails were sent to the Office of Supervision, and External Affairs.

Defs.’ Exs. 23 and 18 [Dkt. # 56-1] at Pages 55 and 37 of 116, CFPB_00055 and CFPB_00037.

       Agency employees immediately recognized the communication as a change, see, e.g.,

Feb 28 Email, Pls.’ Ex. R [Dkt. # 60-1] at Page 44 of 107 (email stating “[t]he other offices in

RMR have received notification from their management that Adam Martinez changed his guidance

and we are now allowed to work on statutorily mandated work”), and they saw through the effort

to pretend that the February 8 directions had never been superseded. See Feb. 28 Email, Pls.’

Ex. Q [Dkt. # 60-1] at Page 41 of 107 (email from Assistant Director of Research Jason Brown

directing his staff to resume work, but emphasizing, “[w]e stopped most of our statutory work, I

know, not because of the February 8 email, but because of the February 10 email. I clarified this

point with the COO”); see also Mar. 3 Email, Pls.’ Ex. Z [Dkt. # 60-1] at Page 71 of 107 (“Based

on every email starting 2/10, the unambiguous guidance was to stop all work tasks, no stipulation

of statutory requirements was made. As of today, Consumer Complaint Database has not been

refreshed with new data since 2/25/05.”). Martinez was promptly deluged with requests to start


                                               83
      Case 1:25-cv-00381-ABJ          Document 87          Filed 03/28/25   Page 84 of 112




working again. Mar. 10 Tr. at 97; see also Feb. 28 Email, Defs.’ Ex. 20 [Dkt. # 56-1] CFPB_00044

(seeking clarification that they “can resume all regular work related to fulfilling statutory

obligations. . . .”) (emphasis added). And yet, shortly after some employees learned they had been

reactivated, they received instructions to ignore the new guidance until further notice. See Pls.’

Ex. S [Dkt. # 60-1] (“In response to Adam Martinez’s email, John has instructed us to stand down

until further notice.”); see also Francis Doe Decl. ¶ 6.

       As the emails were circulating within the agency, no one had any illusions about the RIF

waiting in the wings. See Mar. 1 Teams Exchange [Dkt. # 70-1] at Page 1 of 2, CFPB 00131

(message from Chris Young to Martinez “just trying to get a sense of our status,” and inquiring,

“[s]hould the judge lift the TRO on March 3rd, are we prepared to implement the RIF?”).

       As Alex Doe testified on March 11, the RIF team met with OPM and Martinez again on

the February 27th.

               [W]e discussed some guidance that came out from Acting Director Vought,
               but in his OMB capacity. It was giving him guidance about RIFs for federal
               agencies. . . .

               [Adam] said he would discuss it further with acting leadership and that he
               would let us know – “us” being the RIF team both at CFPB and at OPM –
               that he would let us know if the plan changed.

               And that has never – to this day has never happened.

Mar. 11 Tr. at 60.

                       (c)     Paoletta’s March 2 email suggesting that employees were
                               supposed to be working all along has little evidentiary value.

       As the March 1 email to Martinez reflects, agency leadership was well-aware that a hearing

on the pending motion for preliminary injunction – which had been supported by declarations

swearing that as of February 10, work had been stopped – was scheduled to take place Monday,

March 3 at 10:00 am. At 4:18 on the afternoon of Sunday, March 2, the agency’s Chief Legal


                                                 84
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 85 of 112




Officer was moved to address “all hands” who were still on deck. Like Martinez, Paoletta invoked

the February 8 email as if it was still the operative document. But his email also included a

stunning mischaracterization of the February 10 order:

               On behalf of Acting Director Vought, I am writing to you to ensure that
               everyone is carrying out any statutorily required work, as he set forth in his
               February 8th email.

               On February 8, 2025, you received an email from Acting Director Vought
               directing you to halt several classes of work unless “required by law” or
               expressly approved by the Acting Director. On February 10, 2025, you
               received an email from Acting Director Vought directing you to reach
               out to me for the authorization required by the February 8 email. These
               measures were intended to ensure that new leadership could establish
               operational control over the agency while ensuring that it would continue to
               fulfill its statutory duties. Many of you understood this and continued to
               perform functions required by law and sought approval from me to perform
               work, which I have promptly granted.

               It has come to my attention, however, that some employees have not been
               performing statutorily required work. Let me be clear: Employees should
               be performing work that is required by law and do not need to seek prior
               approval to do so. If you have any questions, please reach out to me
               immediately, and I will promptly give you an answer and authorization if
               warranted. If you are aware of other employees that are needed to assist you
               in performing a statutorily required task but are not doing so, please raise
               this with me immediately.

               Thank you for your attention to this matter

Mar. 2 Email, Defs.’ Ex. 25 [Dkt. # 56-1] CFPB_00058 (emphasis added).

       Paoletta’s description of the February 10 order cannot be squared with the plain language

of the Vought directive, nor is it consistent with the manner in which the February 10 order was

understood by the staff, implemented by the agency, or used to justify massive layoffs.

              After being ordered to “stand down from performing any work task,” the employees
               stood down.

              Probationary and term employees were fired in accordance with the February 10
               order.



                                                85
     Case 1:25-cv-00381-ABJ          Document 87       Filed 03/28/25      Page 86 of 112




              The remaining agency employees were placed on administrative leave in
               accordance with the order.

              The agency called for the immediate cancellation of contracts because of the order.

              The agency justified the need for a shortened notice period before a RIF of just
               under 1200 employees by pointing to the order.

              Employees would remain on administrative leave for that thirty-day period in
               conformance with the order.

              The agency cancelled meetings with consumers in need of assistance, including
               Pastor Steege, because of the order.

       The fact that Paoletta expounded upon the February 10 order for the first time almost three

weeks after it was issued, and the fact that he suddenly did so on a weekend afternoon immediately

before the Court was scheduled to hear the case, support an inference that the March 2

characterization was not what the order was intended to mean all along. Also, Paoletta’s new spin

on the order does not make sense: if the February 8 directive authorizing the performance of

statutory duties was supposed to remain in force, there would have been no need to issue the

February 10 email at all.

       Furthermore, Paoletta insults the reader’s intelligence when he feigns surprise that few

employees were working. See Mar. 10 Tr. at 204 (Martinez testified that as of the date the email

was sent, “honestly, I knew there was a good portion of the agency that was not working”).

Furthermore, Martinez testified that the stop work order was never rescinded. Mar. 10 Tr. at 184.

       Defendants’ suggestion that the plaintiffs and agency staff simply misread or

misunderstood the February 10 email is belied by the fact that when the CFPB, under the direction

of its Acting Director, Russell Vought, provided Vought’s OPM with the justification for

accelerating a RIF of all but the employees needed to implement the RIF, it pointed to that very

“work stoppage order.” See Pls.’ Ex. OO [Dkt. # 66-1] at Page 28 of 60. It is also belied by the



                                               86
     Case 1:25-cv-00381-ABJ           Document 87       Filed 03/28/25      Page 87 of 112




February 10 email sent to Martinez by the Chief Information Officer Christopher Chilbert, Feb. 10

Email, Defs.’ Ex. 1 [Dkt. # 56-1] CFPB_0001, twenty minutes after Vought’s email was received.

He identified the minimum level of support his office should be providing “based on this email,”

and it involved supporting DOGE and the new leadership, providing security monitoring for the

networks, and making sure that the agency’s essential technology was operational.             Id. at

CFPB_00002. The CIO even found it necessary to ask whether it would be “an acceptable work

task” to “identify a list of contractors who would be necessary to support operational emergencies.”

Id. at CFPB_00001.         See also Feb. 27 Email, Defs.’ Ex. 21 [Dkt. # 56-1] CFPB_00047

(Enforcement Division staffer seeking confirmation that even though she had been directed to

work with contracting officers to ensure that data was being preserved, that work was authorized

by the Acting Director).

       There are multiple other emails in the record that also reveal the employees’ confusion and

their trepidation about asking to perform work tasks. See, e.g., Feb. 27 Email, Defs.’ Ex. 12 [Dkt.

# 56-1] CFPB_00026 (from a Senior Enforcement Attorney and Military Affairs Liaison: “I’ve




                                                87
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25    Page 88 of 112




written previously on other issues; please do not take this email as insubordination. I request

permission to perform the following urgent work tasks . . . .). 29

       The defendants’ attempt to intimidate the employees was on full display in the courtroom

when Pfaff, the head of the Office of Consumer Response, was subjected to a cross examination

that insinuated that the shutdown of the statutorily required consumer complaint system – the

heartbeat of the agency subscribed to by more than 70 stakeholders, Members of Congress, and

state regulators, and the only existing means within the federal government to resolve the over

350,000 consumer complaints per year – was his fault. The witness handled this audacious attempt

to blame the closure of the most important office in the agency on him with aplomb:

               MR. HOLLAND (counsel for defendants): In your first declaration, do you
               recall in paragraph 9 characterizing this email as directing staff not to
               perform any work tasks and to stand down from performing any work task?


29      See also Monday, Mar. 3, 10:02 a.m. email from Cassandra Huggins of Supervision
comparing Martinez’s Feb. 27 email with Vought’s Feb. 8 email and asking, “Please confirm that
the message you sent is not intended to authorize the reinstatement of supervision/examination
activity despite the fact that the Bureau is required by law to conduct these activities.” Defs.’
Ex. 33 [Dkt. # 56-1] at Page 82 of 116, CFPB_00082. Martinez encourages Huggins to
communicate with Paoletta, but states, “you are correct that the email sent out yesterday does not
change the specific work stoppage in the bullet points issued on 8 February.” Id. After Paoletta
sends out the new instructions on Sunday afternoon, Huggins reaches out to him for clarification
as to whether Vought’s Feb. 8 order prohibiting all supervision and examination activity remained
in force. Defs.’ Ex. 44 [Dkt. # 56-1] CFPB_00113. Approximately two hours later, she informed
her concerned staff about the current status of her inquiries. Defs.’ Ex. 45 [Dkt. # 56-1] at Page
115 of 116, CFPB_00115; Pls.’ Ex. W [Dkt. # 60-1] at Page 63 of 107 (“We have requested and
received clarification that their message was not intended to authorize the reinstatement of
supervision/examination activity, . . . .”) (emphasis in original). Notwithstanding the rampant
confusion generated by his own email, Paoletta immediately took Huggins to task. See Mar. 4,
4:51 p.m. Email, Pls.’ Ex. FF [Dkt. # 60-1] at Pages 98–100 of 108 (“I am writing to raise
significant concerns regarding an internal agency communication you apparently sent yesterday
that directly contradicts an email from me . . . . [P]rovide your answer to me by 6 pm today.”).
Huggins responded: “I am attaching, as requested, the email that I sent to Supervision staff. I did
not provide this email to the media, and I do not know who did. I did not intend to undermine the
new administration's ability to supervise agency staff- my only intention was to ensure that our
staff did not act against the direction in the February a email from Acting Director Vought to cease
all supervisory and examination activity.” Id.


                                                 88
      Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25     Page 89 of 112




                PFAFF: Correct.

                MR. HOLLAND: But the email says more than that, doesn't it?

                PFAFF: The email says to get approval in writing before doing any work
                tasks. It also says, “Please alert me through Mark Paoletta if there are any
                urgent matters.”

                MR. HOLLAND: “If there are urgent matters please alert me through Mark
                Paoletta,” right?

                PFAFF: Yes.

                MR. HOLLAND: Despite that directive, you did not contact Mark Paoletta
                for consumer response approval to address all of the urgent and piling-up
                consumer complaints; isn't that right?

                PFAFF: I understood “urgent” to mean something out of the nonordinary
                course of business.

                MR. HOLLAND: You didn't think that, like, someone not being able to
                have their, like, imminent foreclosure complaint addressed was urgent?

                PFAFF: I consider it urgent, but I would – I would remind you that 1013
                creates an obligation on the director to create the unit that over sees the
                handling of complaints.

Mar. 11 Tr. at 94. 30

        All in all, Paoletta’s claim in the March 2 email that the stop work order was something

other than a clear order to cease agency actions across the board proved to be unsustainable. And

the evidence showed that emails purporting to get things up and running again could not be taken

on face value, either, as the employees found out that being reactivated on paper did not mean they

could actually do the work.

                THE COURT: We’ve [got an] email from the head of Research,
                Monitoring, and Regulation on March 3rd, after they were all told on March


30    Counsel asked additional questions pointedly blaming the work stoppage on other
employees instead of the Acting Director. Mar. 11 Tr. at 95.


                                                89
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25       Page 90 of 112




               2nd not only should you be doing statutory-authorized, but you don’t have
               to ask. He said we would do it, but we lost our people. We lost our
               contractors and we lost our data.

               On February 27, after he said everybody do your statutory-authorized work,
               the Consumer Response Center said, yeah, but we need the people.

               MARTINEZ: Right.

               THE COURT: We can’t do it without people. Office of Fair Lending said
               we can’t do what we did do without talking to people, but we have to get
               permission to talk to people.

               MARTINEZ: Right.

               THE COURT: So, just saying statutory-authorized doesn’t really answer
               the question, does it?

               MARTINEZ: No.

Mar. 10 Tr. at 76–77. See also Mar. 3 Email, Pls.’ Ex. Y [Dkt. # 60-1] (listing the challenges faced

by Research, Monitoring, and Regulation in resuming its work, including inter alia, “[l]oss of

personnel. The firing of much of our staff impacts our ability to complete assignments as planned.

. . ;” “[l]oss of IT. Several contracts that have supported our work have been cancelled. . .;” [and]

“[l]oss of data. Several of our data contracts have been cancelled. . . .”).

                       (d)     The suggestion in the Chief Operating Officer’s March 2
                               supplemental declaration that the situation had changed with
                               the arrival of new “adults in the room” is not persuasive, since
                               the agency has been managed by the same people all along. The
                               agency is still at risk, and Martinez lacks personal knowledge of
                               any facts to support his “hope” that it is not.

       There was additional drafting for the Court’s consumption on Sunday, March 2. Since

plaintiffs had filed supplemental declarations casting doubt on Martinez’s first declaration with

their February 27 reply, see Pls.’ Suppl. Decls. [Dkt. # 38-1–17], defendants docketed a second

declaration from Martinez in response at 4:33 p.m. See Second Martinez Decl. This time, the

agency had Martinez admit that the accounts submitted by plaintiffs’ declarants were “not


                                                 90
      Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25     Page 91 of 112




inaccurate,” and he agreed that in fact, he had referred to the “closure of the agency” during the

week of February 10. Id. ¶ 3. But he attributed that information and those events to DOGE:

               Prior to Russell Vought’s designation as Acting Director of CFPB, agency
               staff had received guidance from DOGE-associated personnel consistent
               with those statements, which I believed at the time to reflect the position of
               agency leadership, and continued to believe reflect agency leadership’s
               position for a brief time thereafter.

Id. ¶ 3. Martinez maintained that “new leadership,” though, was taking a more methodical

approach, “taking time to assess, listen, and explore the state of the Bureau.” Id. ¶ 4.

       The contradiction at the heart of these statements is apparent from the face of the

declaration, which also reminds the Court that Vought became Acting Director on February 7 –

before the actions that took place the week of February 10. Id. Yet the Chief Operating Officer

tried to maintain: “[r]ather than a closure of the agency, Acting Director Vought’s new leadership

has focused on running a substantially more streamlined and efficient bureau, refocusing its

priorities, and ‘right sizing’ of the agency.” Id.

       Martinez’s suggestion that it was all a misunderstanding that got cleared up when new

leadership stepped in was undermined by exhibits showing that current leadership was the engine

behind the shutdown in the first place, and that Vought or Paoletta was involved in every step

along the way. After the plaintiffs’ second round of declarations blew huge holes in his assertions,

Martinez was forced to concede on the stand that when it came to anything other than the

operations under his purview, he did not have personal knowledge about what was actually going

on.

       When asked about the statement in paragraph 22 of his first declaration that “operations

related to the consumer complaint database [were] continuing,” he explained he was only talking

about operations – “what the minimum requirement was to ensure that the site didn’t go down or



                                                     91
      Case 1:25-cv-00381-ABJ            Document 87         Filed 03/28/25       Page 92 of 112




if the public could still access some form of complaint . . .[;] what was necessary to keep the

database going” and “to keep the lights on.” Martinez Testimony, Mar. 10 Tr. at 196.

                 THE COURT: So in that paragraph 22 of your first declaration where you
                 talked about the Bureau’s maintaining the toll-free number, the website, the
                 database, operations related to the database are continuing, contracts needed
                 for work related to the database have remained intact and operational, all
                 you were intending to convey was the operations side? Again, not the
                 programming.

                 MARTINEZ: That is correct.

Id. at 197–98.

                 THE COURT: Assuming it’s open, is it fair to say that [the hotline] [is]
                 only as good as the response to what people leave on the hotline? . . . [I]t’s
                 great that the hotline is always open, it needs to be opened, it’s statutorily
                 authorized and required. But how it’s working is a question that’s different
                 from whether it’s open.

                 MARTINEZ: Correct. I don’t have the inside knowledge to know who
                 picks up the phone and who provides advice or what they do on the back
                 end of that.

Id. at 91–92. After Martinez could not answer questions about not only Consumer Response, but

also the Research Division and the Office of Markets, see id. at 224–28, counsel for plaintiffs

asked, “So in general . . . just to be really clear, and that way I’ll stop asking you specific questions,

all of the offices in the mission side of the organization, you don’t have insight into what’s

happening on the ground?”

                 MARTINEZ: I have no insight. I usually don’t have insight into those
                 specific groups. Again, those groups have historically, over the last four
                 years, reported to the chief of staff. That’s an entirely different
                 programmatic SME, subject matter expert, responsibility.

Id. at 228.

        Martinez also explained on cross examination that when it came to his conversations with

Paoletta about reinstating contracts, his knowledge was limited to “a small number of technology



                                                   92
     Case 1:25-cv-00381-ABJ           Document 87       Filed 03/28/25     Page 93 of 112




contracts[;]” “[t]he only contracts that I know that I reviewed were some that I reviewed

specifically with Mark Paoletta, who needed some guidance about operational contracts.” Id.

at 171–72.

       Martinez was asked about the statement in paragraph 19 of his new declaration that “[o]ur

leadership has worked to comply with statutorily-required functions”:

                 MS. BENNETT: So when you said that, your information . . . it’s just based
                 on what Mark Paoletta told you, right?

                 MARTINEZ: Yes, yes.

                 MS. BENNETT: It’s not based on any insight into the mission side of the
                 agency, right?

                 MARTINEZ: Not at all.

                 MS. BENNETT: Okay. And, in fact, at that time, if you know, most of the
                 functions were not up and running, right?

                 MARTINEZ: That’s what I know now.

Id. at 187–88.

       The Court does not need to find, and it is not inclined to find, that Martinez intentionally

lied. His second declaration and his sworn live testimony during the hearing acknowledged the

truth of what the plaintiffs’ witnesses were saying, and once on the stand, he freely admitted what

he did not know. At times, he appeared anguished by both the demise of the agency and by his

being cast in the role of agency spokesman; there were multiple painful pauses when you could

see the battle between his conflicting loyalties to his new employers and to the truth playing out

on his face, and he grimaced or turned red before he answered. He had the demeanor of an abused

wife brought to court by her husband to drop the charges.

       Moreover, Martinez’s testimony established that he has no idea what the leadership of the

agency is planning beyond firing all of the employees. He is well aware that even though there

                                                 93
      Case 1:25-cv-00381-ABJ            Document 87        Filed 03/28/25      Page 94 of 112




was no RIF on February 14, the RIF team is still meeting. See id. at 231–32. And he agreed with

plaintiffs’ counsel summary: “[s]o you are saying . . . not that the plan to terminate the vast

majority of the employees is off the table, but that . . . they are taking into account the procedural

requirements in a way that they may not have before?” MARTINEZ: “Yes.” Id. at 232. When

asked if it was his testimony that Acting Director Vought and Paoletta “do not currently intend to

wind down the agency,” he did not answer the question directly.

                 MARTINEZ: My understanding is that they have recognized that there are
                 statutory requirements that need to be fulfilled within the agency, but I don’t
                 know how many people, I don’t know what functions. I have no knowledge
                 of what their thinking is right now in terms of capacity or size of the agency.
                 But, yes, my understanding is that they are committed to fulfilling the
                 statutory requirements of the Agency.

                 MS. BENNETT: Okay. But you have no idea what that means to them,
                 right?

                 MARTINEZ: I have no idea what that means. I will find out once we’re
                 building out this report that needs to go to OMB with regards to the
                 reduction in force across the federal government. But I have no idea as of
                 right now what they’re thinking. . . .

                 THE COURT: And you don’t know whether that means . . . they recognize
                 that they will be fulfilled by the CFPB or if finding a home in some other
                 agency does the trick?

                 THE WITNESS: Correct.

                 THE COURT: You don’t know what they’re thinking on that?

                 THE WITNESS: I have no idea.

Id. at 229–30.

       Martinez did have a good understanding of the impact Paoletta’s March 2 missive had on

the surprised agency employees.

                 THE COURT: . . . [T]hen it’s 3:30 p.m. on the Sunday before the last
                 hearing when [Paoletta] goes: Do your statutorily-required work and you



                                                   94
     Case 1:25-cv-00381-ABJ           Document 87          Filed 03/28/25    Page 95 of 112




                don't have to ask anybody for permission first. So up until that point they
                still had to ask for permission?

                THE WITNESS: That was my understanding of what people were doing,
                yes.

                THE COURT: And what happened after that – it went out Sunday, it looks
                like on Monday, while we were all here in court, a lot of the supervisors are
                saying, well, wait, what do you mean? Do I have to ask permission? Do I
                not have to ask permission? There was a little bit of confusion going on in
                the building. Is that fair to say?

                THE WITNESS: There was a lot of confusion in the building.

                THE COURT: Would you say there’s still a lot of confusion in the
                building?

                THE WITNESS: I would say, from a lot of accounts, there’s still a [lot] of
                confusion about what’s going on.

                                              *        *      *

                BY MR. ROSENBERG [counsel for defendants]: Would you say that
                there’s less confusion today than there was a couple week ago as to what
                functions –

                THE WITNESS: There’s less confusion today. I think there’s hope. I have
                hope for the future. I think that people are – I think people want to go back
                to work and they want to do the work they were hired to do.

                THE COURT: So sitting here right now, you think there’s still people not
                working?

                THE WITNESS: It would not surprise me if there were people still not
                working.

                THE COURT: I think I asked you this earlier: You can’t tell me how many
                people have come off administrative leave to do this statutorily-authorized
                work that everybody is committed to having them do.

                THE WITNESS: I cannot answer that, ma’am.

Id. at 66–68.




                                                  95
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 96 of 112




       On re-direct examination the next morning, the witness returned to his theme of the salutary

effects of having adults in the room, but that did not amount to much after follow-up questioning.

                MARTINEZ: . . . If there’s anything positive out of any of this, it’s that we
                have a better understanding and an inventory of what the cause and effect
                could be in the future for turning off specific contracts and the devastation
                it could have on the Agency. So we have a lot more information today than
                we had before that. And all of this is happening through adults at the table
                that were able to interact with that understands how government is supposed
                to run and is savvy enough to know the consequences of not following
                normal government protocol, which, in my opinion, is the public, its
                accountability with the public, obviously with the court system, but
                Congress as well.

                THE COURT: But I thought you told me yesterday that while this is not
                being done in as rushed a fashion . . . [t]he end game is to end up with no
                CFPB, and the very important functions, they will go somewhere else.

                MARTINEZ: That was the week of the 10th.

                THE COURT: Well, I thought the week of the 10th was just no CFPB. But
                I thought you’re saying, they’re still talking about how do we get rid of the
                employees – we’re going to keep the contracts we need until this is done,
                but how do we get this down so that whatever has to be gone to some other
                agency can go, but we’re not going to be here?

                MARTINEZ: The week of the 10th, that was absolutely correct. But the
                other question –

                THE COURT: All right. Well, yesterday I got the distinct impression that
                you were saying they’re doing it in a much more methodical fashion, but
                that’s the goal.

                MARTINEZ: The goal, as I understand – I don’t have what the end goal is
                for this team right now.

                THE COURT: Okay. So you don’t know. . . .

                MARTINEZ: I don’t know. I don’t know. I – what I know is that we have
                OMB guidance that we’ve been directed to follow, and I don’t know what
                they’re going to mandate as part of that. I just – I have absolutely no clue
                what the end result is for the Bureau.

Id. at 23–25.



                                                 96
      Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 97 of 112




       At end of his testimony, then, all that was left of Martinez’s ability to attest that the agency

would continue to do its work was a “hope,” and a hope grounded in little or no information.

                       (e)     The Court cannot stay its hand based on defendants’ assurances
                               that statutorily mandated work is being performed, because
                               defendants now claim that they do not know what that means.

       In its opposition, and throughout the hearings on the motion, the defense was adamant that

no injunction was needed since employees had repeatedly been instructed that they could, and

should, perform statutory mandated duties, and that was what was happening. At the conclusion

of the evidentiary hearing, the Court asked if that was the case, why would the defendants object

to the provision in plaintiffs’ proposed interim order that the agency should not interfere with,

prohibit, or suspend the employees’ performance of those mandated duties?

               THE COURT: I’m saying something about their claims makes me want to
               have interim relief, and you’re telling me, “There is nothing to see here,
               Judge, because we are all in on statutorily required duties.” What is
               offensive about an order confirming that?

               MR. ROSENBERG: There is ambiguity as to what the scope of those
               statutorily required duties are.

Id. at 115. This took the Court by surprise, and counsel tried to backpedal a little bit.

               THE COURT: So you’re saying that every one of these emails is
               ambiguous that you’ve been showing me all day, and the order that was
               issued on February 27th and the order that was issued on March 2nd are
               ambiguous?

               MR. ROSENBERG: No.

Id. at 116. But then he reiterated, “[i]t’s too broad to know. It’s vague.” Id. at 117.

               THE COURT: Does the director – acting director of the Consumer
               Financial Protection Bureau, today, know what the statutorily required
               duties are? And did Mr. Paoletta know when he sent out the emails that you
               have asked me to rely on and to comfort me that the statutorily required
               duties are under control, does that have meaning for you or does that not
               have a meaning for you?



                                                 97
      Case 1:25-cv-00381-ABJ            Document 87         Filed 03/28/25      Page 98 of 112




                 MR. ROSENBERG: It has a meaning in the sense that the Agency’s
                 operations are broad.

Id. As counsel explained it, it was up to the employees to tell the leaders of the agency what its

duties were. Id. 31

       The frustrating exchange on this subject ended with the following:

                 THE COURT: . . . [T]he fact that you all agreed to something that became
                 a court order . . . had a direct and immediate effect on the dismantling of
                 this agency, your own witness testified to that, your own documents
                 demonstrate that. But the conversation hasn’t ended. It’s continued. So,
                 the question is: What is the appropriate thing to order? And it seems to me
                 that you’re saying the term “statutory obligations” is too broad and not
                 enforceable. . . . [Y]ou’re also saying I don’t have the authority to do it, but
                 if I think I have the authority to do it under the unique circumstances of this
                 case, are you telling me you don’t know what they mean?

                 MR. ROSENBERG: Yes.

Id. at 123–24.

       With that, what little was left of the defendants’ contention they were intent on doing what

the law required them to do collapsed like a balloon at the end of the Macy’s Thanksgiving Day

Parade. The defendants cannot expect the Court to be comforted by their recent announcement to

employees that they should perform their statutory functions when they are simultaneously




31     See also Mar. 11 Tr. at 120:

                 MR. ROSENBERG: . . . that’s part of the problem . . . the statutory
                 functions that plaintiffs have identified appear to be literally everything that
                 the Agency does.

                 THE COURT: . . . [Y]ou used the term more often than they did. This term
                 is taken straight from the February 27 email . . . and then the March 2nd
                 email, which was actually sent to someone saying . . . , “How can you dare
                 defy my clear order?” . . . So somebody thought it was clear when they
                 wrote it in an email. So somebody in your side knows what it means.



                                                   98
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25     Page 99 of 112




insisting that the term is so vague, no one – not even the Acting Director of the agency – knows

what it means.

                 2.   The plaintiffs are likely to succeed on the merits of their APA claims.

       The same evidence that underlies Count One also establishes a likelihood of success on the

merits of the APA claims alleging at least one discrete, final action taken in violation of law and

without a rational basis to support it: the February 10 order. The stop work order stopped all

work, including statutorily mandated work, and the flurry of emails circulated on the eve of the

hearing on the motion were little more than a transparent effort to pretend otherwise. And as the

documents and the witnesses’ testimony revealed, there was little or no analysis undertaken before

the employees were ordered to put their pencils down, before all of the agency’s contracts were

cancelled, see, e.g., Martinez Testimony, Mar. 10 Tr. at 70–71, before the probationary employees




                                                99
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25      Page 100 of 112




were fired, or before the effort to accomplish a complete reduction in force by the end of the week

was initiated. 32

        More importantly, even if some employees did prevail on their management and obtain

permission to perform some of their mandated duties on some of the days between February 8 and

today, the implementation of the President’s unlawful decision to close the agency has simply been

slowed, not reversed. As the defendants are chomping at the bit to wrap things up, it will take

nothing less than a court order to maintain the status quo pending the resolution of this case. As




32      It is important to note that, generally, the defendants did not assert in their opposition to
the motion that any of this was the product of thoughtful analysis. They did not suggest that DOGE
or the new leadership had uncovered fraud or wasteful spending; instead, they tried to persuade
the Court that agency was open for business and the employees had been encouraged and
authorized to perform their statutory duties all along.

        Counsel did try to tell the Court that when Vought made his decision to stop the flow of
funding from the Federal Reserve on Saturday, February 8, his very first day on the job, he
reviewed information provided by the Chief Financial Officer reflecting the funds available to the
agency, and he made a decision, “given his expertise in budgetary matters and looking at the
necessary documents,” and “consistent with his view that he wanted to . . . make a more
streamlined and efficient Bureau,” that he had more than enough on hand for the next quarter. Tr.
of Proceedings (Mar. 3, 2025) [Dkt. # 58] at 53–54. Counsel advised the Court that “the materials
[Vought] considered in making that decision” had been provided to the District Court in Maryland
in opposition to a preliminary injunction motion there. Id. at 55. A review of that docket revealed,
though, that the Maryland court had been provided with a single piece of paper listing the amount
of money in the Civil Penalty Fund, which is not available to be used for day-to-day operations,
and the total of the obligated and unobligated funds on hand comprising the “Bureau Fund.” See
Mayor & City Counsel of Balt. v. Consumer Fin. Prot. Bureau, Civ. Action No. 25-00458-MJM
[Dkt. # 29-1]. As of February 8, 2025, the Bureau Fund had a balance of $412,346,065.32 in
unobligated funds, of which $220,000,000 was internally earmarked for a “reserve fund” for
financial contingencies, which the Acting Director decided on day one to discontinue. Id. The
submission did not include any documents concerning expenses or potential contingencies that
were relied upon in connection to Vought’s decision that the reserve was superfluous and that the
cash on hand was sufficient. On Sunday, employees were informed that the building was closed,
and on Monday, the first working day of Vought’s tenure, the RIF meetings began and the stop
work email was issued. One could draw a reasonable inference that Vought’s analysis that no
additional funds were required was more likely based on his understanding when he assumed the
position that soon, the agency would not be operating at all.

                                                100
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 101 of 112




Martinez explained, “I now realize how much damage can be done . . . just within a couple of

days.” Id. at 74.

        B.     Plaintiffs will suffer irreparable harm.

       The second element to be established is that plaintiffs are likely to suffer irreparable harm

in the absence of preliminary relief. Winter, 555 U.S. at 20. The D.C. Circuit “has set a high

standard for irreparable injury” – it “must be both certain and great; it must be actual and not

theoretical” and it must be “beyond remediation.” Chaplaincy of Full Gospel Churches v.

Eng., 454 F.3d 290, 297 (D.C. Cir. 2006), quoting Wisc. Gas Co. v. FERC, 758 F.2d 669, 674

(D.C. Cir. 1985) (per curiam). It explains:

               The key word in this consideration is irreparable. Mere injuries, however
               substantial, in terms of money, time and energy necessarily expended in the
               absence of a stay are not enough. The possibility that adequate
               compensatory or other corrective relief will be available at a later date, in
               the ordinary course of litigation weighs heavily against a claim of
               irreparable harm.

Id. at 297–98 (emphasis in original), quoting Va. Petroleum Jobbers Ass’n v. FPC, 259 F.2d 921,

925 (D.C. Cir. 1958).

       Plaintiffs in this case will face irreparable harm without preliminary relief. The shutdown

will take little more than a month, if that. The record reflects that the RIF notices giving employees

thirty days’ notice are ready and waiting. The decision to place employees on administrative leave

during those thirty days has been made, with the understanding that they can be called back not to

serve consumers, but “to fulfill close out duties.” Pls.’ Ex. KK. The CFPB building is already

closed, arrangements to cancel the lease and move out in thirty days were made five weeks ago,

and the technology to work remotely has been cancelled. Once the agency is gone, there will be

no opportunity to afford relief at a later point in the litigation. There will be no opportunity to be




                                                 101
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25       Page 102 of 112




reinstated or rejoin a healthcare plan because there will be no jobs left to compete for after the RIF.

There will be no hotline to call and no one to assist at the other end of the line.

        Before the instant motion was filed, the agency was already in “wind-down mode,”

Martinez Testimony, Mar. 10 Tr. at 54, firing term and probationary employees and putting most

of the other employees on administrative leave. Martinez Testimony, Mar. 10 Tr. at 128. They

also terminated most of its contracts before walking back a “very narrow” set of those terminations

in the face of this litigation. Defs.’ Ex. 38 [Dkt. # 56-1] at Page 96 of 116, CFPB_00096. The

record shows that reactivating work after just a few weeks of “stop work” has proven difficult; the

Consumer Response function is experiencing “a large and unprecedented backlog” of more than

16,000 consumer complaints that will take weeks, if not months, to work through. First Pfaff Decl.

¶ 16; Pfaff Testimony, Mar. 11 Tr. at 90–92. As it stands in its “current state,” defendants’

challenged actions have the Bureau and its functions “hobbl[ing] along.” Pfaff Testimony, Mar. 11

Tr. at 91.

        Defendants remain poised to fire “most of [the] remaining staff, leaving a Bureau that

[can’t] actually perform any functions, or no Bureau at all.” Alex Doe Decl. ¶ 3; see Pls.’ Ex. OO

[Dkt. # 66-1] (OPM approval of exception to the 60-day notice period for a RIF). If its contracts

are finally terminated, the Consumer Response system will “collapse,” as will other functions of

the Bureau. Pfaff Testimony, Mar. 11 Tr. at 91. See also Drew Doe Decl. [Dkt. # 38-5] ¶ 6 (stating

that “[t]he hasty termination of almost all of the Bureau’s contracts resulted in systems and services

being turned off”); Martinez Testimony, Mar. 10 Tr. at 194–96 (explaining that the contract

terminations disrupted the CFPB’s statutorily required Home Mortgage Disclosure Act work).

And if those and other CFPB contracts are fully terminated, they cannot just be turned back on.

See Charlie Doe Decl. ¶ 10. It will take “six months to a year or more” to enter new contracts. Id.



                                                 102
     Case 1:25-cv-00381-ABJ          Document 87         Filed 03/28/25      Page 103 of 112




Allowing defendants to execute their plans without preliminary relief will cause irreparable harm

to the Bureau, the plaintiffs in this case, and plaintiffs’ members and constituents.

       The NAACP, National Consumer Law Center, and Virginia Poverty Law Center will no

longer be able to serve their members and constituents with consumer protection services and

advocacy. VPLC routinely relies on the Consumer Response system to carry out is mission. See

Speer Decl. ¶¶ 10, 15–16, 24. But the Vought stop work order and contract cancellations has put

it in peril. See Pls.’ Ex. Z (stating the CCDB has not had been refreshed with new data since

February 22); Pfaff Testimony, Mar. 11 Tr. at 91. The VPLC’s Chief Executive Officer avers that

it would be “difficult if not impossible” for VPLC to replicate the Consumer Response complaint

tool – “sending the complaint to the company, backed by a federal agency and with a deadline to

respond, while also sending it to other state and federal agencies that may be able to help” – and

would strain VPLC’s limited resources. Speer Decl. ¶ 16.

       Moreover, both VPLC and NCLC rely on CFPB data and reports to carry out their mission

and face irreparable harm if that data disappears. VPLC uses CFPB information “about trends or

widespread illegal activities that they have discovered through their consumer complaint process”

to support its education work, which would be impossible to replicate without access to the

consumer complaint database. Speer Decl. ¶ 23. NCLC uses CFPB data in its comprehensive

digital treatise series, which “is intertwined with CFPB website materials” and “link extensively

to CFPB materials on the CFPB’s website.” Dubois Decl. ¶ 9. It that data were allowed to

disappear, “this material will go out of date and not be replaced by updated CFPB resources.” Id.

¶¶ 9–10; see also id. ¶¶ 4–5.

       Defendants’ efforts to terminate the Bureau’s contracts and other actions that risk

destroying CFPB’s data would harm these plaintiffs. See Pls.’ Ex. EE [Dkt. # 60-1] at Page 95 of



                                                103
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 104 of 112




107 (March 4, 2025 email warning “we will lose all historical data on our Google Analytics

platform if we don’t pay the bill”); Defs.’ Ex. 6 [Dkt. # 56-1] at Page 9 of 116, CFPB_0009 (Feb.

21, 2025 email from Christopher Chilbert to Adam Martinez stating, “We are doing our best effort

to support the data collection, but it is at risk due to several contracts being terminated.”); Defs.’

Ex. 18 (Feb. 27, 2025) [Dkt. # 56-1] at Page 37 of 116, CFPB_00037 (email directing recipients

“to identify if CFPB data or records are at risk of being deleted due to contract cancellations”).

And this harm is irreparable because, as one contracting officer explained, without the parties’

March 3 agreement, “many of the CFPB’s contracts would have been fully and irrevocably

terminated by the end of this week” and “the Bureau has not taken any efforts to preserve CFPB

data that is possessed by vendors whose contracts are terminated. Charlie Doe Decl. [Dkt. # 38-4]

¶¶ 10, 12.

       Shutting down the CFPB would “unquestionably make it more difficult” for VPLC and

NCLC to accomplish their primary missions, and this harm “provide[s] injury for purposes both

of standing and irreparable harm.” League of Women Voters, 838 F.3d at 9.

       Further, plaintiffs’ members face irreparable harm. NAACP member Junita West-Tillman

has already suffered devastating losses from the Los Angeles wildfires. West-Tillman Decl. ¶ 2.

Now she and other NAACP members are being targeted by mortgage scammers, and she has “had

a difficult time determining what assistance was legitimate and what was fraudulent.” Id. ¶ 3.

Without the CFPB, which West-Tillman planned to reach out to for assistance, she and others like

her face the “the financial scams that were rampant post-fire” on their own, Bross Decl. ¶ 3, and

risk being “unable to recover money lost to financial predators.” West-Tillman Decl. ¶ 4. Further,

a CFPB Employee Association member who defendants terminated will not have health coverage

if she remains terminated as she seeks to deal with a possible auto-immune condition, see Coll



                                                 104
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25      Page 105 of 112




Decl. ¶ 6, and another employee who is the insured member of her family and faces termination if

defendants execute their planned RIF risks losing health coverage for her spouse who has an

ongoing serious medical condition. See id. ¶ 7. These harms go beyond mere financial losses that

can be paid for later. Association members and their family members with serious health

conditions face “great” harm if those conditions are left untreated. Chaplaincy of Full Gospel

Churches, 454 F.3d at 297; see Risteen v. Youth for Understanding, 245 F. Supp. 2d 1, 16 (D.D.C.

2002) (“The loss of health insurance benefits – particularly for those who are unemployed –

constitutes irreparable harm[.]”). 33 These are irreparable harms to the organizational plaintiffs’

members.

       Finally, plaintiff Pastor Eva Steege has already suffered irreparable harm: she died on

March 15 without resolving her student loans. See Suggestion of Death [Dkt. # 83]; Steege Decl.

¶ 9 (“If I do not receive public service loan forgiveness and the large refund that I am owed before

my death, my family could be forced to pursue a death discharge that will not provide them with

the refund that they are counting on so that they can use the money for basic needs after I pass.”).

The defense argument that Steege faces no irreparable harm “from allegedly not being able to

immediately meet with CFPB staff,” Defs.’ Opp. at 38, ignored both her terminal illness and her

statement that she had “attempted to submit the necessary forms and provide the required

documentation multiple times but . . . encountered issues with miscommunication, conflicting




33      See, e.g., Commc’ns. Workers of Am. District 1, AFL–CIO v. NYNEX Corp., 898 F.2d 887,
891 (2d Cir. 1990) (the threat of termination of medical benefits to striking workers constitutes
irreparable harm); Whelan v. Colgan, 602 F.2d 1060, 1062 (2d Cir. 1979) (“[T]he threatened
termination of benefits such as medical coverage for workers and their families obviously raised
the specter of irreparable injury.”).


                                                105
     Case 1:25-cv-00381-ABJ          Document 87        Filed 03/28/25      Page 106 of 112




guidance, delays, and errors in processing.” Steege Decl. ¶ 2. 34 It also ignored that “all prior

Ombudsmen serving during the Obama, Trump, and Biden Administrations dealt with federal

student loan issues regularly.” Barnard Decl. ¶ 5. The irreparable harm that has already come to

pass for Pastor Eva Steege is enough to grant preliminary relief. See Obergefell v. Kasich, No.

13-CV-501, 2013 WL 3814262, at *7 (S.D. Ohio July 22, 2013) (“Dying with an incorrect death

certificate that prohibits Mr. Arthur from being buried with dignity constitutes irreparable harm.

. . . A later decision allowing an amendment to the death certificate cannot remediate the harm to

Mr. Arthur, as he will have passed away.”).

        C.     The balance of the equities and the public interest weigh in favor of
               preliminary relief.

       The remaining two requirements to be assessed before the issuance of a preliminary

injunction are whether the balance of equities tilts in the plaintiffs’ favor and whether the

injunction would be in the public interest. See Winter, 555 U.S. at 20. Generally, when one party

is the government, these factors tend to merge and are considered together. Nken v. Holder, 556

U.S. 418, 435 (2009).

       Defendants devote less than a page to this issue in their brief, and they have only identified

one public interest that is at stake: the public’s interest in the democratically-elected President’s

prerogative to pursue his policy objectives. See Opp. at 39–40 (“The public has an interest in

permitting the President to take decisive action when it comes to setting his policy priorities for

the CFPB.”), citing Heckler v. Chaney, 470 U.S. 821, 831–32 (1985). See also May 3 Tr. at 111




34     The Court also notes that half of the staff of the Department of Education have recently
been terminated, which undermines defendants’ argument. See U.S. Dep’t of Ed. Press
Release, (Mar. 11, 2025) https://www.ed.gov/about/news/press-release/us-department-of-
education-initiates-reduction-force.


                                                106
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 107 of 112




– 114. 35 This is a significant interest in connection with any executive agency, and if the Court

were being asked to enjoin a decision on how vigorously the CFPB will enforce particular

provisions within the statute, or concerning whether agency resources should be allocated to

facilitate more robust supervision of non-traditional, non-depository lenders, as opposed to more

active monitoring of larger, depository banking institutions, it would bear heavily on the analysis.

       But this case is not about how the executive exercises his discretion, and the defendants’

citation of Heckler is misplaced. What happened in February was not merely a realignment of

priorities. The Court has found after an evidentiary hearing and the review of an extensive record,

that the plaintiffs are likely to establish that the defendants stopped all work, and that they took,

and plan to take, additional concrete steps to dismantle and shut down the agency entirely, in

violation of statutory mandates. Plaintiffs are likely to prove that even if some statutorily required

work resumed when the stop work order was relaxed, defendants have already made a decision to

abandon their statutory obligations to the many members of the public who are consumers. And

it is likely to be shown that in doing so, the defendants overstepped their statutory and

constitutional authority and usurped the power of the members of Congress, who were

democratically elected by the people in every state in the union. Finally, the Court has also found

that defendants are poised to complete that process if the motion for an injunction is denied, and




35      While this was the only governmental or public interest identified, defense counsel
declined to provide any further information as to what the administration’s policy with respect to
the CFPB might be, maintaining that whether there is a public interest in ensuring that the agency
carries out its statutory duties to help people goes to the merits, not the public interest factor.
Mar. 3 Tr. at 111–14.


                                                 107
     Case 1:25-cv-00381-ABJ           Document 87         Filed 03/28/25      Page 108 of 112




that the closure of the agency will be swift, complete, and irreversible. In those extraordinary

circumstances, an injunction advances the public interest. 36

       It is notable that when the Supreme Court found the Dodd-Frank Act’s restrictions on the

removal of the Director to be unconstitutional, it insisted that those provisions were severable from

the rest of the statute, in part because eliminating the agency and sending its functions back to

whence they came would be entirely unworkable.

               Petitioner assumes that, if we eliminate the CFPB, regulatory and
               enforcement authority over the statutes it administers would simply revert
               back to the handful of independent agencies previously responsible for
               them. But, as the Solicitor General and House of Representatives explain,
               that shift would trigger a major regulatory disruption and would leave
               appreciable damage to Congress’s work in the consumer-finance
               arena. One of the agencies whose regulatory authority was transferred to
               the CFPB no longer exists . . . (Office of Thrift Supervision). The others do
               not have the staff or appropriations to absorb the CFPB’s 1,500-employee,
               500-million-dollar operations. And none has the authority to administer the
               Dodd-Frank Act’s new prohibition on unfair and deceptive practices in the
               consumer-finance sector.

Seila L., 591 U.S. at 236–37 (citations omitted).

        The amicus briefs filed by public officials and governmental entities include information

that bears on the balance of the equities and the public interest in an injunction. While defense

counsel declined to weigh in on the public interest in the agency’s mission, the amici did. Like



36      While this case pits private parties against a governmental entity, it is relevant to the public
interest and balance of the equities analysis that it is likely that the challenged action exceeded the
executive’s authority under the Constitution. See Pursuing Am.’s Greatness v. Fed. Election
Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016), quoting Gordon v. Holder, 721 F.3d 638, 653 (D.C.
Cir. 2013) (“[E]nforcement of an unconstitutional law is always contrary to the public interest.”).
See also Centro Tepeyac v. Montgomery Cnty, 722 F.3d 184 (4th Cir. 2013). While that case arose
in a different context, that is, a state’s alleged violation of the First Amendment, the court cited
“precedent that counsels that ‘a state is in no way harmed by issuance of a preliminary injunction
which prevents the state from enforcing restrictions likely to be found unconstitutional. If
anything, the system is improved by such an injunction.’ . . . It also teaches that ‘upholding
constitutional rights surely serves the public interest.’” Id. at 191, quoting Giovani Carandola,
Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002).

                                                 108
     Case 1:25-cv-00381-ABJ          Document 87           Filed 03/28/25    Page 109 of 112




the Supreme Court, they highlight the singular role played by the CFPB and the costly vacuum

that would be created by its absence.

       The Court received a brief from 203 Members of Congress, a group that includes “members

who sponsored Dodd-Frank, participated in drafting it, serve or served on committees with

jurisdiction over the federal financial regulatory agencies and the banking industry, and currently

serve in the leadership or served in the leadership when Dodd-Frank was passed.” Members’ Br.

at 1 . Based on that experience:

               They are thus familiar with the essential role that the Consumer Financial
               Protection Bureau (CFPB or the Bureau) plays in Dodd-Frank’s framework.
               Significantly, based on their experiences, amici know that Congress created
               the CFPB as a new agency with consolidated consumer financial protection
               authority and gave the Bureau extensive—and in many cases exclusive—
               mandatory responsibilities and obligations to regulate the very financial
               institutions whose conduct led to the 2008 financial crisis.

Id. They warn the Court:

               Defendants’ stop-work order will have severe consequences for the
               American people. The CFPB has been a resounding success. It has delivered
               more than $21 billion back to consumers who have been defrauded by
               entities like large banks, loan servicers, debt collectors, and payday lenders,
               some of which were previously not subject to federal supervision. Among
               the many ways the CFPB has protected consumers, it has confronted the
               unlawful practices of some of the country’s largest financial institutions in
               lawsuits and enforcement actions, provided certainty and guidance to
               financial institutions of all sizes, enforced protections against
               discrimination in consumer financial markets, and halted predatory
               targeting of servicemembers and their families.

                                             *         *       *
               If Defendants are successful in their attacks on the CFPB, they will have
               destroyed the framework Congress created for safeguarding the finances of
               millions of consumers. As a result, entire swaths of the market will go
               unprotected from the type of predatory conduct that caused the 2008 crisis
               because no other federal or state agency has the necessary authority to fill
               many of the regulatory gaps the Bureau’s absence would leave.




                                                 109
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 110 of 112




Members’ Br. at 3 and 4. See also id. at 13 (“A sudden halt to the CFPB’s important—and

mandatory—work would also be devastating for consumers, small businesses, and the country’s

overall financial stability. . . . [S]upervision would cease, leaving many financial institutions

unmonitored and unchecked; and enforcement of many consumer financial protection laws would

be limited, leaving millions of consumers with little recourse for the money they lose to unlawful

financial practices.).

        The Members of Congress also emphasize the importance of the statutorily mandated

offices that support service members and seniors who are particularly vulnerable to predatory

practices. Id. at 6, 18. They also emphasize the key role the agency plays in helping to manage

and reduce managing lenders’ legal risks, so that consumers can continue to have the access to the

credit they need for such things as mortgages, credit cards, and auto loans. Id. at 16.

        The brief filed by the twenty-two states and the District of Columbia warns of a distinct

harm to the public interest given the particular role that states play in our federal system. They

make it clear that they cannot fulfill the enormous role of monitoring lenders and responding to

consumer complaints on their own.

                The loss of CFPB’s partnership has concrete and far-reaching implications:
                from collaborating on supervisory examinations, to sharing of complaints
                and trend data, to providing training, to partnering on joint investigations
                and litigations, the CFPB has been a force multiplier for States’ consumer-
                protection efforts. Absent a preliminary injunction to prevent the sudden
                loss of these significant contributions, the States will be unexpectedly
                stretched.

States’ Br. at 12.

                While the CFPB has supervisory authority over approximately 200 of the
                largest financial institutions in the country, it shares supervisory authority
                with States and augments States’ own supervisory efforts in a number of
                important ways. First, States rely on the CFPB to supervise compliance with
                federal consumer-protection laws by very large national banks, over which
                the CFPB has “exclusive authority,” 12 U.S.C. § 5515(b)(1). Information


                                                 110
     Case 1:25-cv-00381-ABJ           Document 87        Filed 03/28/25      Page 111 of 112




               gleaned from this supervision is regularly shared with the States and can
               inform States’ decisions on how to supervise and identify risk within the
               financial institutions under their direct supervision. Second, the CFPB and
               States each have supervisory authority over the largest state-chartered
               banks, nonbank entities offering consumer financial products such as
               nonbank mortgage lenders and payday lenders, and emerging markets such
               as digital payments. Because many States’ decisions about how best to
               allocate resources have relied on the CFPB’s role in these areas, the CFPB’s
               sudden absence will create gaps in supervision that will be difficult to fill at
               all, let alone promptly. The resulting vacuum will uniquely burden States.

Id. at 13.

        The states explain that there would be no substitute for the CFPB’s statutorily mandated

consumer complaint system and its intake process that identifies and prioritizes complaints

involving imminent foreclosures, referring them to local counselors who can assist with timely

resolution. Id. at 7–8. They also emphasize that the CFPB is the only federal regulator with

supervisory authority over nonbank mortgage lenders. Id. at 7. These observations all point to the

need to preserve the status quo while the case is decided.

        Finally, when weighing this factor, the Court finds that a preliminary injunction that leaves

the agency standing during the pendency of this case will not harm the only public interest

identified by the defendants: the public interest in the President’s exercise of his Article II powers

to accomplish his policy objectives. See Defs.’ Opp. at 38–40. That is because Article II explicitly

requires him to “take care that the laws be faithfully executed.” U.S. Const. art. II, § 3. If the

President finds the Consumer Financial Protection Act to be unsatisfactory, the administration will

remain completely free to advance his agenda by proposing legislation that reconfigures the agency

in a manner that is consistent with his policy preferences. It will then be up to Congress to weigh

the advantages of any specific proposal aimed at streamlining the agency against the benefits of

sustaining the CFPB, which has been fulfilling its mission to return billions of dollars to consumers

at no cost to the taxpayers since 2010.


                                                 111
     Case 1:25-cv-00381-ABJ           Document 87       Filed 03/28/25      Page 112 of 112




                                         CONCLUSION

       In sum, the Court cannot look away or the CFPB will be dissolved and dismantled

completely in approximately thirty days, well before this lawsuit has come to its conclusion. For

all of the reasons set forth above, the Court will GRANT [Dkt. # 10] plaintiffs’ motion and issue

a preliminary injunction that maintains the agency’s existence until this case has been resolved on

the merits, reinstating and preserving the agency’s contracts, work force, data, and operational

capacity, and protecting and facilitating the employees’ ability to perform statutorily required

activities. The Court is aware of the modifications the plaintiffs have made to their proposed order,

as well as the objections lodged by the defendants to previous iterations of the proposed order, and

it is mindful that its order must be sufficiently specific to be enforceable, while also broad enough

to afford the agency and its leadership the discretion they are accorded under the statute when

carrying out their regulatory, enforcement, and supervisory responsibilities.

       A separate order will issue.



                                                      AMY BERMAN JACKSON
                                                      United States District Judge

DATE: March 28, 2025




                                                112
